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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

 State Farm Mutual Automobile Insurance Company
 and State Farm Fire and Casualty Company,

                                      Plaintiffs,
 v.

 Metro Pain Specialists P.C., Leonid Shapiro, M.D.,
 Mohamed Sayed Ahmed Hassan, P.T., Nile Rehab Physical
 Therapy, P.C., Mohamed Elsayed Khallaf, P.T., Handy
 Physical Therapy P.C., Irina Kataeva, P.T., Cityworks
 Physical Therapy P.C., Mahmoud Ezz Eldeen Shalaby,
 P.T., Physical Therapy of New York P.C., Amro Mahmoud
 Barakat, P.T., Barakat PT, P.C., Mohamed Mahmoud               Case No.
 Elmandouh, P.T., Protection Physical Therapy P.C., Raouf
 Akl, P.T., Primavera Physical Therapy, P.C., Ahmed
 Mahmoud Abdelshafy Elmansy, P.T., Sky Limit Physical           COMPLAINT
 Therapy, P.C., Geoffrey Allerton Cushman, P.T., PI
 Physical Therapy, P.C., Sherwin Catugda Paller, P.T.,          PLAINTIFFS DEMAND
 Floral Park Physical Therapy, P.C., Alpeshkumar Manughai       TRIAL BY JURY
 Patel, P.T., A. M. Patel Physical Therapy P.C., Leonard
 Luna, D.C., Kings Chiropractic Wellness, P.C., Jongdug
 Park, D.C., All About Chiropractic P.C., J Park Chiropractic
 P.C., Giulio Caruso, D.C., Brook Chiropractic of NY P.C.,
 Integrated Chiropractic of NY P.C., Peter Albis, D.C., PDA
 NY Chiropractic P.C., Paul Victor Scarborough, D.C.,
 A.O.T. Chiropractic P.C., Evolution Chiropractic P.C.,
 Stacy Juyoung Moon, L.Ac., SJM Acupuncture P.C.,
 Lyudmila Krupnova, L.Ac., LK Acupuncturist P.C.,
 Hyeongsock Choi, L.Ac., Choice Acupuncture PLLC,
 Choi-Go Acupuncture PLLC, Peter Kopach, L.Ac., First
 Alternative PLM Acupuncture P.C., Edwin Castillo, L.Ac.,
 Edcas Acupuncture P.C., Longyu Ma, L.Ac., Hidden
 Dragon Acupuncture P.C., Xia Guan, L.Ac., Rebound
 Acupuncture P.C., Reuven Alon (a/k/a Rob Alon),
 Columbus Imaging Center LLC, Medaid Radiology LLC,
 Regina Moshe, M.D., Yan Moshe (a/k/a Yan Leviev),
 Citimedical I, PLLC, Hackensack Specialty ASC LLC
 (f/k/a Dynamic Surgery Center LLC), Integrated Specialty
 ASC LLC (f/k/a HealthPlus Surgery Center LLC), Vladimir
 Nazarov, and Right Aid Medical Supply Corp.,

                                      Defendants.
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       State Farm Mutual Automobile Insurance Company (“State Farm Mutual”) and State Farm

Fire and Casualty Company (“State Farm Fire”) (collectively, the “State Farm Companies”), for

their Complaint against defendants Metro Pain Specialists P.C., Leonid Shapiro, M.D., Mohamed

Sayed Ahmed Hassan, P.T., Nile Rehab Physical Therapy, P.C., Mohamed Elsayed Khallaf, P.T.,

Handy Physical Therapy P.C., Irina Kataeva, P.T., Cityworks Physical Therapy P.C., Mahmoud

Ezz Eldeen Shalaby, P.T., Physical Therapy of New York P.C., Amro Mahmoud Barakat, P.T.,

Barakat PT, P.C., Mohamed Mahmoud Elmandouh, P.T., Protection Physical Therapy P.C., Raouf

Akl, P.T., Primavera Physical Therapy, P.C., Ahmed Mahmoud Abdelshafy Elmansy, P.T., Sky

Limit Physical Therapy, P.C., Geoffrey Allerton Cushman, P.T., PI Physical Therapy, P.C.,

Sherwin Catugda Paller, P.T., Floral Park Physical Therapy, P.C., Alpeshkumar Manughai Patel,

P.T., A. M. Patel Physical Therapy P.C., Leonard Luna, D.C., Kings Chiropractic Wellness, P.C.,

Jongdug Park, D.C., All About Chiropractic P.C., J Park Chiropractic P.C., Giulio Caruso, D.C.,

Brook Chiropractic of NY P.C., Integrated Chiropractic of NY P.C., Peter Albis, D.C., PDA NY

Chiropractic P.C., Paul Victor Scarborough, D.C., A.O.T. Chiropractic P.C., Evolution

Chiropractic P.C., Stacy Juyoung Moon, L.Ac., SJM Acupuncture P.C., Lyudmila Krupnova,

L.Ac., LK Acupuncturist P.C., Hyeongsock Choi, L.Ac., Choice Acupuncture PLLC, Choi-Go

Acupuncture PLLC, Peter Kopach, L.Ac., First Alternative PLM Acupuncture P.C., Edwin

Castillo, L.Ac., Edcas Acupuncture P.C., Longyu Ma, L.Ac., Hidden Dragon Acupuncture P.C.,

Xia Guan, L.Ac., Rebound Acupuncture P.C., Reuven Alon (a/k/a Rob Alon), Columbus Imaging

Center LLC, Medaid Radiology LLC, Regina Moshe, M.D., Yan Moshe (a/k/a Yan Leviev),

Citimedical I, PLLC, Hackensack Specialty ASC LLC (f/k/a Dynamic Surgery Center LLC),

Integrated Specialty ASC LLC (f/k/a HealthPlus Surgery Center LLC), Vladimir Nazarov, and

Right Aid Medical Supply Corp. (collectively, “Defendants”), allege as follows:




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I.     NATURE OF THE ACTION

       1.      This action seeks to recover money fraudulently obtained from State Farm Mutual

and State Farm Fire through the submission of fraudulent bills and supporting documentation for

examinations, treatment, medical imaging (“MRIs”), testing, orthotic devices and durable medical

equipment (“DME,” and together with orthotics, “Supplies”), and pain management and

orthopedic procedures and related services provided to individuals involved in motor vehicle

accidents and eligible for No-Fault benefits under State Farm Mutual or State Farm Fire insurance

policies (“No-Fault Benefits”). The bills and supporting documentation Defendants submitted or

caused to be submitted to State Farm Mutual and State Farm Fire were fraudulent because the

services were ineligible for reimbursement and/or medically unnecessary.

       2.      The bills and supporting documentation are the product of a fraudulent scheme

orchestrated by Dr. Leonid Shapiro (“Shapiro”), Reuven Alon (a/k/a Rob Alon) (“Alon”), and Yan

Moshe (a/k/a Yan Leviev) (“Moshe”). Shapiro is an anesthesiologist who purports to own and

control Metro Pain Specialists P.C. (“Metro Pain”), a medical practice that operates at as many as

30 multidisciplinary clinics in the New York area that cater to individuals who have been in

automobile accidents, and other businesses including anesthesia providers Premier Anesthesia

Associates P.A. (“Premier Anesthesia”) and PMR Medical P.C. (“PMR Medical”). Alon is a

layperson businessman who owns Beshert Corp. (“Beshert”), a purported “advertising” and

“marketing” company directed at No-Fault medical providers, attorneys, and individuals who have

been in automobile accidents, other purported marketing and consulting companies, and at least

two MRI companies, Columbus Imaging Center LLC (“Columbus Imaging”) and Medaid

Radiology LLC (“Medaid Radiology”). Moshe is Alon’s cousin and also a layperson businessman

who secretly owns and controls, among other things, treatment and MRI providers Citimedical I,

PLLC (“Citimedical I”), Citimedical Services P.C. (“Citimedical Services”), and Citimed


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Complete Medical Care P.C. (“Citimed Complete,” and together with Citimedical I and

Citimedical Services, “Citimedical”), and an anesthesia provider, Citimed Services P.A. (“Citimed

Services”). Each of these entities was owned on paper by Moshe’s sister, Dr. Regina Moshe (“Dr.

Moshe”), and because Dr. Moshe is not qualified to perform services they render, including MRIs,

they employ independent contractors to do so. Moshe also owns and controls a purported medical

receivables financing company, Med Capital LLC (“Med Capital”), a billing company Star

Solution Services Inc, and a series of ambulatory surgery centers (“ASCs”), including Excel

Surgery Center LLC (“Excel Surgery”), Hackensack Specialty ASC LLC, f/k/a Dynamic Surgery

Center LLC (“Dynamic Surgery”), Integrated Specialty ASC LLC, f/k/a HealthPlus Surgery

Center LLC (“HealthPlus Surgery”), SCOB LLC d/b/a SurgiCare of Brooklyn (“Surgicare”),

NJMHMC LLC d/b/a Hudson Regional Hospital (“Hudson Regional”), and Citimed Surgery

Center, LLC (“Citimed Surgery”) (which was owned on paper by Moshe’s sister Dr. Moshe).

       3.      Shapiro, Alon, and Moshe have a symbiotic relationship in which each fulfills

different but necessary roles, providing benefits to and obtaining benefits from each other.

       4.      Shapiro has purported to serve as medical director of at least three Moshe-owned

ASCs beginning as early as February 2014: Excel Surgery, Dynamic Surgery, and HealthPlus

Surgery. Shapiro became medical director of Excel Surgery in February 2014, after its purported

medical director came under investigation by the New Jersey Department of Health (“NJDOH”)

and the New Jersey State Board of Medical Examiners (the “NJ State Board”) for, among other

things, failing to fulfill his obligations as a medical director. Shapiro also became the medical

director of Dynamic Surgery and HealthPlus Surgery after they commenced operations in 2017.

While Shapiro could not have fulfilled his responsibilities as a medical director at multiple

facilities at the same time, particularly during a time when Metro Pain was expanding, Moshe paid




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Shapiro at least approximately $400,000 in salary. In addition to these payments, Moshe allowed

Shapiro’s Premier Anesthesia to provide anesthesia services at Moshe’s ASCs beginning in

January 2018 and to become the primary, if not exclusive, provider beginning July 2018, and then

allowed Shapiro’s PMR Medical to provide anesthesia services at Surgicare and Citimed Surgery

beginning in November and December 2020. Moreover, in September 2013, Moshe’s receivables

financing company Med Capital agreed to lend Metro Pain and PMR Medical up to $2.5 million.

Pursuant to the revolving loan and security agreement, any borrowed amounts would be secured

against Metro Pain’s accounts receivable and would accrue interest at the rate of 24.99% per

annum. Metro Pain also gave Med Capital and its agents the power of attorney over Metro Pain

assets, including the authority to endorse Metro Pain’s name on “any notes, acceptances, checks,

drafts, money orders, instruments or other evidences of Collateral that may come into [Med

Capital’s] possession.”

       5.      Alon’s entity Beshert, beyond its purported role as a “marketing” and “advertising”

business, functions as a referral network among No-Fault providers and attorneys. As set forth in

its “Participation Agreement,” Beshert requires its members to refer patients to other members of

its network. That network, at a minimum, includes (a) Metro Pain, (b) likely Alon’s two MRI

businesses Columbus Imaging and Medaid Radiology, (c) Moshe’s secretly owned treatment and

MRI business Citimedical, (d) Moshe’s ASCs, and (e) Moshe’s and Shapiro’s anesthesia

businesses, Citimed Services, Premier Anesthesia, and PMR Medical. Shapiro testified at an

examination under oath in November 2018 that Metro Pain paid Beshert $10,000 each month for

marketing to help it secure patients, though Metro Pain’s financial records indicate slightly

different payments of at least $300,000 in 2017, 2018, and 2019. Moshe separately testified that




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Dynamic Surgery and HealthPlus Surgery each also paid Beshert $50,000 a month ($100,000 total

per month) during this period.

       6.      Moshe’s ASCs cater to individuals who have been in automobile accidents and,

although virtually all of Metro Pain’s patients are insured under New York No-Fault insurance

policies, Metro Pain performs almost all procedures at Moshe’s ASCs in New Jersey: Dynamic

Surgery and HealthPlus Surgery. New York patients are transported to New Jersey for these

procedures because the purported treatment could be billed under the New Jersey fee schedule,

thus affording significantly higher reimbursement, avoiding New York fee schedule limitations,

and allowing Moshe’s ASCs to bill tens of thousands of dollars for facility fees per procedure.

       7.      Between August 2013 and January 2020, NJDOH cited Excel Surgery, Dynamic

Surgery, HealthPlus Surgery, and Hudson Regional on multiple occasions for regulatory and

health and safety violations, the most egregious of which occurred in September 2018, when

NJDOH ordered HealthPlus Surgery to temporarily close based on public health violations that

may have exposed patients to hepatitis B, hepatitis C, and human immunodeficiency virus

(“HIV”). The failure of Dynamic Surgery and HealthPlus Surgery to hire a qualified medical

director to perform specific duties enumerated under New Jersey law, and to instead retain

nominal, disengaged medical directors, including Shapiro, constitute licensing violations that

rendered them ineligible to obtain reimbursement.

       8.      Shapiro, Alon, and Moshe together established a scheme to profit from patients’

No-Fault Benefits through the submission of fraudulent claims.

       9.      Shapiro operated numerous multidisciplinary clinics through Metro Pain in and

around Queens, Brooklyn, and Bronx, New York, directed at individuals who have been in

automobile accidents. Among these locations are four at which Metro Pain has operated as the




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“gatekeeper,” rendering predetermined examinations to justify additional treatment and services,

and then deciding what additional care patients receive and who would provide additional care in

exchange for payment:

               (a)     105-10 Flatlands Ave., Brooklyn, NY 11236 (“105-10 Flatlands”);
               (b)     204-12 Hillside Ave., Hollis, NY 11423 (“204-12 Hillside”);
               (c)     717 Southern Blvd., Bronx, NY 10455 (“717 Southern”); and
               (d)     2451 E. Tremont Ave., Bronx, NY 10461 (“2451 E. Tremont”).

       10.     Metro Pain acquired control of office space where patients could be treated, often

through lease agreements, and engaged lay office staff and administrators to run the locations and

direct patient medical treatment. At each location, individuals working for Metro Pain and others

purport to perform initial examinations to diagnose and treat the patients’ conditions. In fact, these

examinations are not legitimately performed to determine the true nature and extent of patient

injuries, but rather are performed as a pretext to justify unnecessary treatment and services. The

examinations virtually always conclude patients require a treatment plan consisting of a

combination of physical therapy, chiropractic care, and acupuncture, as well as other services.

These services are then performed by physical therapists, chiropractors, and acupuncturists in the

clinics, not because they are necessary, but pursuant to “pay to play” financial arrangements with

Metro Pain and others who are working with Metro Pain. In particular, some providers are

permitted to treat patients of Metro Pain because they make payments to Metro Pain in exchange

for patient referrals, typically disguised as “rent” pursuant to a sublease for space in the clinic.

       11.     In addition to physical therapy, chiropractic treatment, and acupuncture, Metro Pain

refers virtually every patient who receives more than one office visit for MRIs. Based on the

financial arrangements and relationships between and among Shapiro, Alon, and Moshe, a

majority of these MRIs, out of at least these four locations, are performed by Alon’s Columbus

Imaging and Medaid Radiology or by Moshe’s lay-controlled Citimedical. Such MRIs, the vast



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majority of which involve at least two regions, are medically unnecessary, expensive (up to

$936.23 per MRI), and do not lead to an alteration in treatment.

       12.     Metro Pain also orders other treatment and services, not because they are necessary

but because they allowed providers to profit from patients’ No-Fault Benefits as part of pay to play

arrangements. Metro Pain orders and allows virtually every patient who receives more than one

office visit to receive unnecessary cervical collars and/or lumbar orthoses and at least five, and

sometimes as many as 21, other Supplies. Metro Pain orders or allows its patients to be subjected

to diagnostic tests performed by various providers, including Metro Pain, and physical therapists

and chiropractors with whom it has financial arrangements. These diagnostic tests include

Outcome Assessment Tests, nerve conduction studies and electromyography tests (“NCV and

EMG Tests”), computerized range of motion (“ROM”) and muscle tests, functional capacity tests,

and pain fiber nerve conduction studies (“Pf-NCS Tests”). These tests are unnecessary, do not

lead to an alteration in treatment, and for some tests are duplicative of information obtained during

the purported examinations.

       13.     Metro Pain also prescribes and allows its patients to receive expensive and

unnecessary prescription gels and patches.       Additionally, some patients undergo medically

unnecessary pain management and orthopedic consultations followed by procedures performed by

Metro Pain at Moshe’s ASCs, where they also receive anesthesia from Citimed Services, Premier

Anesthesia, or PMR Medical.

       14.     Alon advances the scheme by providing Metro Pain with access to patients though

Beshert and is able to profit by, among other things, Metro Pain’s payments to Beshert and referral

of patients for highly profitable MRIs performed at Columbus Imaging and Medaid Radiology.




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       15.    Moshe profits through Metro Pain’s referral of patients for MRIs performed at

Citimedical and for anesthesia performed by Citimed Services, both of which he secretly owns and

controls, as well as procedures performed at his ASCs. He compensates Shapiro through, at least,

payment for Shapiro’s role as medical director of his ASCs, including Dynamic Surgery and

HealthPlus Surgery, granting Shapiro primary, if not exclusive, ability to perform and bill for

anesthesia at Moshe’s ASCs, and a loan against Metro Pain’s receivables of $2.5 million.

       16.    As a result, patients were subjected to a predetermined treatment protocol (the

“Predetermined Treatment Protocol”) at, at least, four locations at which Metro Pain acted as

gatekeeper: 105-10 Flatlands, 204-12 Hillside, 717 Southern, and 2451 E. Tremont. This

Predetermined Treatment Protocol included:

               (a)    initial examinations that are not legitimately performed to determine the
       true nature and extent of patient injuries, but rather are performed as a pretext to justify a
       variety of unnecessary treatment and services;

              (b)    a treatment plan involving physical therapy, chiropractic care, acupuncture,
       and other services rendered by providers who have financial arrangements with Metro
       Pain;

               (c)     physical therapists and their professional corporations who have entered
       into financial arrangements with Metro Pain and who purportedly examine patients and
       provide medically unnecessary physical therapy services and sometimes diagnostic testing
       at:

                      (i)    105-10 Flatlands through Mohamed Sayed Ahmed Hassan, P.T.
                      (“Hassan”), Nile Rehab Physical Therapy, P.C. (“Nile Rehab PT”),
                      Mohamed Elsayed Khallaf, P.T. (“Khallaf”), Handy Physical Therapy P.C.
                      (“Handy PT”), Irina Kataeva, P.T. (“Kataeva”), and Cityworks Physical
                      Therapy P.C. (“Cityworks PT”);

                      (ii)   204-12 Hillside through Mahmoud Ezz Eldeen Shalaby, P.T.
                      (“Shalaby”), Physical Therapy of New York P.C. (“Physical Therapy of
                      NY”), Kataeva, and Cityworks PT;

                      (iii) 717 Southern through Amro Mahmoud Barakat, P.T. (“Barakat”),
                      Barakat PT, P.C. (“Barakat PT”), Mohamed Mahmoud Elmandouh, P.T.
                      (“Elmandouh”), Protection Physical Therapy P.C. (“Protection PT”), Raouf



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                      Akl, P.T. (“Akl”), and Primavera Physical Therapy, P.C. (“Primavera PT”);
                      and

                      (iv)    2451 E. Tremont through Ahmed Mahmoud Abdelshafy Elmansy,
                      P.T. (“Elmansy”), Sky Limit Physical Therapy, P.C. (“Sky Limit PT”),
                      Geoffrey Allerton Cushman, P.T. (“Cushman”), PI Physical Therapy, P.C.
                      (“PI PT”), Sherwin Catugda Paller, P.T. (“Paller”), Floral Park Physical
                      Therapy, P.C. (“Floral Park PT”), Alpeshkumar Manughai Patel, P.T.
                      (“Patel”), and A. M. Patel Physical Therapy P.C. (“AM Patel PT”) (physical
                      therapists identified in Paragraphs 16(c)(i) through 16(c)(iv) collectively
                      referred to as the “Physical Therapy Defendants”);

               (d)    chiropractors and their professional corporations who have entered into
       financial arrangements with Metro Pain and who purportedly examine patients, diagnose
       injuries to support additional treatment, and provide medically unnecessary chiropractic
       care and sometimes diagnostic tests at:

                      (i)    105-10 Flatlands through Leonard Luna, D.C. (“Luna”) and Kings
                      Chiropractic Wellness, P.C. (“Kings Chiropractic”);

                      (ii)   204-12 Hillside through Jongdug Park, D.C. (“Park”), All About
                      Chiropractic P.C. (“All About Chiropractic”), and J Park Chiropractic P.C.
                      (“J Park Chiropractic”);

                      (iii) 717 Southern through Giulio Caruso, D.C. (“Caruso”), Brook
                      Chiropractic of NY P.C. (“Brook Chiropractic”), Integrated Chiropractic of
                      NY P.C. (“Integrated Chiropractic”), Peter Albis, D.C. (“Albis”), and PDA
                      NY Chiropractic P.C. (“PDA Chiropractic”); and

                      (iv)    2451 E. Tremont through Paul Victor Scarborough, D.C.
                      (“Scarborough”), A.O.T. Chiropractic P.C. (“AOT Chiropractic”), and
                      Evolution Chiropractic P.C. (“Evolution Chiropractic”) (chiropractors
                      identified in Paragraphs 16(d)(i) through 16(d)(iv) collectively referred to
                      as the “Chiropractor Defendants”);

               (e)     acupuncturists and their professional corporations who have entered into
       financial arrangements with Metro Pain and who purportedly examine patients, diagnose
       injuries to support treatment, and provide medically unnecessary acupuncture treatment at:

                      (i)   105-10 Flatlands through Stacy Juyoung Moon, L.Ac. (“Moon”),
                      SJM Acupuncture P.C. (“SJM Acupuncture”), Lyudmila Krupnova, L.Ac.
                      (“Krupnova”), and LK Acupuncturist P.C. (“LK Acupuncturist”);

                      (ii)  204-12 Hillside through Hyeongsock Choi, L.Ac. (“Choi”), Choice
                      Acupuncture PLLC (“Choice Acupuncture”), and Choi-Go Acupuncture
                      PLLC (“Choi-Go Acupuncture”);




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                      (iii) 717 Southern through Edwin Castillo, L.Ac. (“Castillo”), Edcas
                      Acupuncture P.C. (“Edcas Acupuncture”), Peter Kopach, L.Ac.
                      (“Kopach”), and First Alternative PLM Acupuncture P.C. (“First
                      Alternative Acupuncture”); and

                      (iv)    2451 E. Tremont through Longyu Ma, L.Ac. (“Ma”), Hidden
                      Dragon Acupuncture P.C. (“Hidden Dragon Acupuncture”), Xia Guan,
                      L.Ac. (“Guan”), and Rebound Acupuncture P.C. (“Rebound Acupuncture”)
                      (acupuncturists identified in Paragraphs 16(e)(i) through 16(e)(iv)
                      collectively referred to as the “Acupuncture Defendants”);

               (f)     unnecessary MRIs by providers either owned by Alon or secretly owned
        and controlled by Moshe, including patients of:

                      (i)   105-10 Flatlands through Citimedical I, owned on paper by Regina
                      Moshe, M.D. (“Dr. Moshe”), who is Moshe’s sister;

                      (ii)   204-12 Hillside through Citimedical I, owned on paper by Dr.
                      Moshe;

                      (iii) 717 Southern through Columbus Imaging and Medaid Radiology,
                      owned by Alon; and

                      (iv)   2451 E. Tremont through Columbus Imaging and Medaid
                      Radiology, owned by Alon (MRI providers identified in Paragraphs 16(f)(i)
                      and 16(f)(iv) collectively referred to as the “MRI Defendants”);

                (g)     medically unnecessary Supplies, including those provided by Vladimir
        Nazarov (“Nazarov”) and Right Aid Medical Supply Corp. (“Right Aid Medical Supply”)
        (collectively, the “DME Defendants”);

                 (h)   medically unnecessary diagnostic tests, including Outcome Assessment
        Tests, NCV and EMG Tests, computerized ROM and muscle tests, functional capacity
        tests, and Pf-NCS Tests;

               (i)    medically unnecessary prescription gels and patches; and

               (j)     for some patients, pain management and orthopedic consultations followed
        by procedures performed by Metro Pain at Dynamic Surgery or HealthPlus Surgery in New
        Jersey (collectively, the “ASC Defendants”), and with anesthesia provided by Citimed
        Services or Premier Anesthesia.

        17.    To further the scheme, Defendants submitted or caused to be submitted to State

 Farm Mutual and State Farm Fire bills and supporting documents falsely representing the

 examinations, treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures



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 and related services purportedly rendered were medically necessary and reimbursable when, in

 fact, they were performed to exploit patients’ No-Fault Benefits and not because they were

 medically necessary or reimbursable.

        18.     In addition, Citimedical I, Dynamic Surgery, and HealthPlus Surgery submitted or

 caused to be submitted to State Farm Mutual and State Farm Fire bills and supporting documents

 falsely representing they were eligible for reimbursement under the No-Fault Laws. In fact,

 Citimedical I’s MRIs services were rendered by independent contractors, and thus were ineligible

 for reimbursement, and Citimedical I was at all times owned and controlled by Moshe, a layperson,

 in violation of New York licensing laws, and thus any charges Citimedical I submitted for any

 services were ineligible for reimbursement. Furthermore, Dynamic Surgery and HealthPlus

 Surgery failed to adhere to licensing requirements governing the operation of ASCs in New Jersey

 during any period Shapiro served as a nominal medical director. As a result, any charges submitted

 for any services when the ASCs did not have true, qualified medical directors fulfilling the duties

 enumerated by law were ineligible for reimbursement.

        19.     As a result of the Predetermined Treatment Protocol and the improper conduct

 described above: (a) patients were not legitimately examined, diagnosed, and/or appropriately

 treated for conditions they may have had; (b) patients were subjected to treatment for conditions

 they may not have had; and (c) patients’ limited No-Fault Benefits were reduced and therefore not

 available for legitimate treatment they may have needed as a result of their automobile accident.

        20.     Defendants’ scheme began at least as early as November 2016 and has continued

 uninterrupted since that time. As a result of their scheme, State Farm Mutual and State Farm Fire

 have incurred damages in amounts paid for (a) examinations by Metro Pain; (b) examinations and

 treatment by the Physical Therapy Defendants; (c) examinations and treatment by the Chiropractor




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 Defendants; (d) examinations and treatment by the Acupuncture Defendants; (e) MRIs by the MRI

 Defendants; (f) Supplies ordered by Metro Pain or dispensed by the DME Defendants; (g)

 diagnostic tests performed by Metro Pain, the Physical Therapy Defendants, and the Chiropractor

 Defendants; (h) professional fees and facility fees for procedures performed by Metro Pain at the

 ASC Defendants; (i) all services rendered by Citimedical I, including MRI services rendered by

 independent contractors; and (j) all services rendered by Dynamic Surgery and HealthPlus Surgery

 during the period when Shapiro served as a nominal medical director. Damages total more than

 $15.4 million.

 II.    JURISDICTION AND VENUE

        21.       Pursuant to 28 U.S.C. § 1331, this Court has jurisdiction over the claims brought

 under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq. (“RICO”),

 because they arise under the laws of the United States. Pursuant to 28 U.S.C. § 1367, this Court

 also has supplemental jurisdiction over the state law and declaratory judgment claims because they

 are so related to the RICO claims as to form part of the same case and controversy.

        22.       In addition, pursuant to 28 U.S.C. § 1332(a)(1), this Court has jurisdiction over

 State Farm Mutual’s and State Farm Fire’s claims based on state law and for declaratory relief

 because the matter is between citizens of different states and the amount in controversy exceeds

 the sum or value of $75,000, exclusive of interest and costs. Defendants who rendered services at

 common locations acted in concert pursuant to a common plan to commit the fraud alleged herein

 and are jointly and severally liable for the damages caused to State Farm Mutual and State Farm

 Fire in the amount of at least $4.21 million. Defendants Moshe, Dr. Moshe, and Citimedical I

 acted in concert pursuant to a common plan to commit the fraud alleged herein and in the Twenty-

 Fourth and Twenty-Fifth Claims for Relief and are jointly and severally liable for the damages

 caused to State Farm Mutual and State Farm Fire in the amount of at least $6.46 million.


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 Defendants Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro acted in concert pursuant

 to a common plan to commit the fraud alleged herein and in the Twenty-First, Twenty-Second,

 and Twenty-Third Claims for Relief and are jointly and severally liable for the damages caused to

 State Farm Mutual and State Farm Fire in the amount of at least $4.74 million.

        23.     Pursuant to 28 U.S.C. § 1391(b), venue is proper in this district because a

 substantial part of the events or omissions giving rise to the claims occurred here.

 III.   PARTIES

        A.      Plaintiffs

        24.     State Farm Mutual is a corporation organized under the laws of Illinois with its

 principal place of business in Illinois, and it issues automobile insurance policies in New York.

        25.     State Farm Fire is a corporation organized under the laws of Illinois with its

 principal place of business in Illinois, and it issues automobile insurance policies in New York.

        B.      Defendants

                1.      Shapiro and Metro Pain

        26.     Shapiro resides in and is a citizen of New Jersey. He is a licensed anesthesiologist

 in New York and New Jersey. Shapiro purportedly owns Metro Pain. Shapiro is also the owner

 of numerous other medical and anesthesia professional corporations closely associated with Metro

 Pain, including Neurological Diagnostics P.C. (“Neurological Diagnostics”), PMR Medical,

 Premier Anesthesia, Hudson Premier Healthcare Partners LLC, and Tri-Borough NY Medical

 Practice P.C. (“Tri-Borough Medical”). Shapiro also incorporated and/or has an ownership

 interest in at least two businesses providing services to attorneys and medical clinics,

 LegalMDConsult.com LLC (“LegalMDConsult”) and Scan to Data LLC (“Scan to Data”).

 LegalMDConsult describes its services as providing no-fault attorneys with medical

 documentation to support their cases. Scan to Data purportedly provides technology services, and


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 its members include Shapiro and Dimitri Ivanovski (“Ivanovski”). Metro Pain has paid substantial

 sums to Scan to Data and at least three other entities Ivanovski purportedly owns, including

 iNJured Magazine LLC (“iNJured Magazine”), which is alleged to have served as a vehicle

 through which Ivanovski and others conducted an illegal kickback scheme for the referral of

 patients for medical treatment and attorney services.

        27.     Shapiro served as medical director of Excel Surgery after Moshe’s initial medical

 director came under investigation and was ultimately suspended from the practice of medicine,

 and Shapiro has since served as medical director of Dynamic Surgery and HealthPlus Surgery and

 Director of Anesthesiology for Hudson Regional. In addition, in November 2017, Shapiro

 incorporated Premier Anesthesia, which was the exclusive provider of anesthesia services for

 procedures performed at Dynamic Surgery and HealthPlus Surgery between July 2018 and August

 2020. Subsequently, Shapiro’s PMR Medical became the primary, if not exclusive, provider of

 anesthesia services at Surgicare and Citimed Surgery. Shapiro thus profited not only from

 procedures Metro Pain performed at these ASCs, but also from anesthesia services Premier

 Anesthesia and PMR Medical performed at these ASCs beginning in at least May 2018.

        28.     Metro Pain is a domestic professional corporation organized under the laws of New

 Jersey with its principal place of business at 790 Bloomfield Avenue, Clifton, NJ. Metro Pain was

 formed on January 2, 2012. Shapiro is the sole original shareholder, director, officer, and

 incorporator of Metro Pain. Metro Pain has submitted bills to State Farm Mutual and State Farm

 Fire for services purportedly performed at 105-10 Flatlands, 204-12 Hillside, 717 Southern, and

 2451 E. Tremont, as well as procedures performed at the ASC Defendants.

        29.     Metro Pain has been involved in soliciting patients through information obtained

 from motor vehicle accident reports in at least New Jersey. In particular, between 2013 and 2019,




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 Ahmed Alkum (“Alkum”) regularly submitted record requests for motor vehicle accident reports

 from various municipalities in New Jersey. The address Alkum identified on many requests, 330-

 332 Palisade Avenue, Jersey City, NJ, is the same address that appears on Metro Pain checks and

 is the office address for numerous entities Shapiro owns or controls, including Neurological

 Diagnostics and Mazal Marketing Inc. (“Mazal Marketing”), a business incorporated by Shapiro’s

 wife in April 2012 (three months after Shapiro formed Metro Pain). Indeed, on some requests for

 police reports, Alkum identifies Mazal Marketing as the entity on whose behalf he is retrieving the

 reports.   During that same period, Alkum’s entity Snokardo LLC received payments from

 Shapiro’s entity Scan to Data, as well as Ivanovski’s entities iNJured Magazine, Benico LLC, and

 Smart Direct LLC.

                2.      The Physical Therapy Defendants

        30.     Hassan resides in and is a citizen of New York. He is a licensed physical therapist

 in New York. Hassan purportedly owns Nile Rehab PT.

        31.     Nile Rehab PT is a domestic professional corporation organized under the laws of

 New York with its principal place of business at 30 Bay 17th Street, Brooklyn, NY 11214. It was

 formed on July 31, 2015. Hassan is the sole original shareholder, director, officer, and incorporator

 of Nile Rehab PT. Nile Rehab PT has submitted bills to State Farm Mutual and State Farm Fire

 for physical therapy services purportedly performed at 105-10 Flatlands.

        32.     Khallaf resides in and is a citizen of New York. He is a licensed physical therapist

 in New York. Khallaf purportedly owns Handy PT.

        33.     Handy PT is a domestic professional corporation organized under the laws of New

 York with its principal place of business at 6768 Clyde Street, Forest Hills, NY 11375. It was

 formed on September 13, 2017. Khallaf is the sole original shareholder, director, officer, and




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 incorporator of Handy PT. Handy PT has submitted bills to State Farm Mutual and State Farm

 Fire for physical therapy services purportedly performed at 105-10 Flatlands.

        34.    Shalaby resides in and is a citizen of New York. He is a licensed physical therapist

 in New York. Shalaby purportedly owns Physical Therapy of NY.

        35.    Physical Therapy of NY is a domestic professional corporation organized under the

 laws of New York with its principal place of business at 815 Gravesend Neck Road, Ste. 1B,

 Brooklyn, NY 11223. It was formed on November 30, 2017. Shalaby is the sole original

 shareholder, director, officer, and incorporator of Physical Therapy of NY. Physical Therapy of

 NY has submitted bills to State Farm Mutual and State Farm Fire for physical therapy services

 purportedly performed at 204-12 Hillside.

        36.    Kataeva resides in and is a citizen of New York. She is a licensed physical therapist

 in New York. Kataeva purportedly owns Cityworks PT.

        37.    Cityworks PT is a domestic professional corporation organized under the laws of

 New York with its principal place of business at 8815 63rd Avenue, Rego Park, NY 11374. It was

 formed on March 12, 2019. Kataeva is the sole original shareholder, director, officer, and

 incorporator of Cityworks PT. Cityworks PT has submitted bills to State Farm Mutual and State

 Farm Fire for physical therapy services purportedly performed at 105-10 Flatlands and 204-12

 Hillside.

        38.    Barakat resides in and is a citizen of New York. He is a licensed physical therapist

 in New York. Barakat purportedly owns Barakat PT.

        39.    Barakat PT is a domestic professional corporation organized under the laws of New

 York with its principal place of business at 3702 Shore Pkwy, Apt. 1, Brooklyn, NY 11235. It

 was formed on February 9, 2016. Barakat is the sole original shareholder, director, officer, and




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 incorporator of Barakat PT. Barakat PT has submitted bills to State Farm Mutual and State Farm

 Fire for physical therapy services purportedly performed at 717 Southern.

        40.     Elmandouh resides in and is a citizen of New York. He is a licensed physical

 therapist in New York. Elmandouh purportedly owns Protection PT.

        41.     Protection PT is a domestic professional corporation organized under the laws of

 New York with its principal place of business at 4226 Third Ave., Bronx, NY 10457. It was

 formed on March 30, 2010. Elmandouh is the sole original shareholder, director, officer, and

 incorporator of Protection PT. Protection PT has submitted bills to State Farm Mutual and State

 Farm Fire for physical therapy services purportedly performed at 717 Southern.

        42.     Akl resides in and is a citizen of New York. He is a licensed physical therapist in

 New York. Akl purportedly owns Primavera PT.

        43.     Primavera PT is a domestic professional corporation organized under the laws of

 New York with its principal place of business at 245 Atlantic Ave., Apt. 182, Long Branch, NJ

 07740. It was formed on December 12, 2016. Akl is the sole original shareholder, director, officer,

 and incorporator of Primavera PT. Primavera PT has submitted bills to State Farm Mutual and

 State Farm Fire for physical therapy services purportedly performed at 717 Southern.

        44.     Elmansy resides in and is a citizen of New York. He is a licensed physical therapist

 in New York. Elmansy purportedly owns Sky Limit PT.

        45.     Sky Limit PT is a domestic professional corporation organized under the laws of

 New York with its principal place of business at 8523 Fort Hamilton Pkwy., Apt. 3F, Brooklyn,

 NY 11209. It was formed on December 18, 2015. Elmansy is the sole original shareholder,

 director, officer, and incorporator of Sky Limit PT. Sky Limit PT has submitted bills to State Farm




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 Mutual and State Farm Fire for physical therapy services purportedly performed at 2451 E.

 Tremont.

        46.     Cushman resides in and is a citizen of New York. He is a licensed physical therapist

 in New York. Cushman purportedly owns PI PT.

        47.     PI PT is a domestic professional corporation organized under the laws of New York

 with its principal place of business at 45-11 158th Street, Flushing, NY 11358. It was formed on

 February 2, 2015. Cushman is the sole original shareholder, director, officer, and incorporator of

 PI PT. PI PT has submitted bills to State Farm Mutual and State Farm Fire for physical therapy

 services purportedly performed at 2451 E. Tremont.

        48.     Paller resides in and is a citizen of New York. He is a licensed physical therapist

 in New York. Paller purportedly owns Floral Park PT.

        49.     Floral Park PT is a domestic professional corporation organized under the laws of

 New York with its principal place of business at 51 Atlantic Ave., 3rd Fl., Ste. 317, Floral Park,

 NY 11001. It was formed on August 19, 2016. Paller is the sole original shareholder, director,

 officer, and incorporator of Floral Park PT. Floral Park PT has submitted bills to State Farm

 Mutual and State Farm Fire for physical therapy services purportedly performed at 2451 E.

 Tremont.

        50.     Patel resides in and is a citizen of New Jersey. He is a licensed physical therapist

 in New York. Patel purportedly owns AM Patel PT.

        51.     AM Patel PT is a domestic professional corporation organized under the laws of

 New York with its principal place of business at 16 Sumner Place, Brooklyn, NY 11206. It was

 formed on December 15, 2014. Patel is the sole original shareholder, director, officer, and




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 incorporator of AM Patel PT. AM Patel PT has submitted bills to State Farm Mutual and State

 Farm Fire for physical therapy services purportedly performed at 2451 E. Tremont.

                3.     The Chiropractor Defendants

         52.    Luna resides in and is a citizen of New York. He is a licensed chiropractor in New

 York. Luna purportedly owns Kings Chiropractic.

         53.    Kings Chiropractic is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 105-10 Flatlands. It was formed on July 13,

 2017.   Luna is the sole original shareholder, director, officer, and incorporator of Kings

 Chiropractic. Kings Chiropractic has submitted bills to State Farm Mutual and State Farm Fire for

 chiropractic services purportedly performed at 105-10 Flatlands.

         54.    Park resides in and is a citizen of New York. He is a licensed chiropractor in New

 York. Park purportedly owns All About Chiropractic and J Park Chiropractic.

         55.    All About Chiropractic is a domestic professional corporation organized under the

 laws of New York with its principal place of business at 204-12 Hillside. It was formed on

 September 14, 2017. Park is the sole original shareholder, director, officer, and incorporator of

 All About Chiropractic. All About Chiropractic has submitted bills to State Farm Mutual and State

 Farm Fire for chiropractic services purportedly performed at 204-12 Hillside.

         56.    J Park Chiropractic is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 204-12 Hillside. It was formed on June 11,

 2016.   Park is the sole original shareholder, director, officer, and incorporator of J Park

 Chiropractic. J Park Chiropractic has submitted bills to State Farm Mutual and State Farm Fire

 for chiropractic services purportedly performed at 204-12 Hillside.

         57.    Caruso resides in and is a citizen of New York. He is a licensed chiropractor in

 New York. Caruso purportedly owns Brook Chiropractic and Integrated Chiropractic.


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        58.     Brook Chiropractic is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 951 Brook Avenue, Ste. 203, Bronx, NY 10451.

 It was formed on December 9, 2016. Caruso is the sole original shareholder, director, officer, and

 incorporator of Brook Chiropractic. Brook Chiropractic has submitted bills to State Farm Mutual

 and State Farm Fire for chiropractic services purportedly performed at 717 Southern.

        59.     Integrated Chiropractic is a domestic professional corporation organized under the

 laws of New York with its principal place of business at 1 Maiden Lane, 5th Fl., New York, NY

 10038. It was formed on June 14, 2017. Caruso is the sole original shareholder, director, officer,

 and incorporator of Integrated Chiropractic. Integrated Chiropractic has submitted bills to State

 Farm Mutual and State Farm Fire for chiropractic services purportedly performed at 717 Southern.

        60.     Albis resides in and is a citizen of New York. He is a licensed chiropractor in New

 York. Albis purportedly owns PDA Chiropractic.

        61.     PDA Chiropractic is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 57 Thistle Lane, Hopewell Junction, NY 12533.

 It was formed on May 3, 2016. Albis is the sole original shareholder, director, officer, and

 incorporator of PDA Chiropractic. PDA Chiropractic has submitted bills to State Farm Mutual

 and State Farm Fire for chiropractic services purportedly performed at 717 Southern.

        62.     Scarborough resides in and is a citizen of New York. He is a licensed chiropractor

 in New York. Scarborough purportedly owns AOT Chiropractic.

        63.     AOT Chiropractic is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 2 Prospect Street, Saugerties, NY 12477. It

 was formed on December 5, 2006. Scarborough is the sole original shareholder, director, officer,

 and incorporator of AOT Chiropractic. AOT Chiropractic has submitted bills to State Farm Mutual




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 and State Farm Fire for chiropractic services purportedly performed at 717 Southern and 2451 E.

 Tremont.

        64.    Evolution Chiropractic is a domestic professional corporation organized under the

 laws of New York with its principal place of business at 2 Prospect Street, Saugerties, NY 12477.

 It was formed on June 28, 2004. Scarborough is the sole original shareholder, director, officer,

 and incorporator of Evolution Chiropractic. Evolution Chiropractic has submitted bills to State

 Farm Mutual and State Farm Fire for chiropractic services purportedly performed at 2451 E.

 Tremont.

               4.      The Acupuncture Defendants

        65.    Moon resides in and is a citizen of New York. She is a licensed acupuncturist in

 New York. Moon purportedly owns SJM Acupuncture.

        66.    SJM Acupuncture is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 149-15 25th Ave., Apt. 1A, Whitestone, NY

 11357. It was formed on March 16, 2017. Moon is the sole original shareholder, director, officer,

 and incorporator of SJM Acupuncture. SJM Acupuncture has submitted bills to State Farm Mutual

 and State Farm Fire for acupuncture services purportedly performed at 105-10 Flatlands.

        67.    Krupnova resides in and is a citizen of New York. She is a licensed acupuncturist

 in New York. Krupnova purportedly owns LK Acupuncturist.

        68.    LK Acupuncturist is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 2621 Brown Street, Apt. 1, Brooklyn, NY

 11235. It was formed on February 5, 2019. Krupnova is the sole original shareholder, director,

 officer, and incorporator of LK Acupuncturist. LK Acupuncturist has submitted bills to State Farm

 Mutual and State Farm Fire for acupuncture services purportedly performed at 105-10 Flatlands.




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        69.     Choi resides in and is a citizen of New Jersey. He is a licensed acupuncturist in

 New York. Choi purportedly owns Choice Acupuncture and Choi-Go Acupuncture, which

 rendered acupuncture services to patients at 204-12 Hillside. Choi also owns nonparty Choi

 Acupuncture P.C. (“Choi Acupuncture”), through which he rendered acupuncture treatment to

 patients at 204-12 Hillside prior to Metro Pain becoming a gatekeeper at that location.

        70.     Choice Acupuncture is a domestic professional limited liability corporation

 organized under the laws of New York with its principal place of business at 105-10 Flatlands. It

 was formed on February 14, 2017. Choi is the sole original shareholder, director, officer, and

 incorporator of Choice Acupuncture. Choice Acupuncture has submitted bills to State Farm

 Mutual and State Farm Fire for acupuncture services purportedly performed at 204-12 Hillside.

        71.     Choi-Go Acupuncture is a domestic professional limited liability corporation

 organized under the laws of New York with its principal place of business at 204-12 Hillside. It

 was formed on August 14, 2019. Choi is the sole original shareholder, director, officer, and

 incorporator of Choi-Go Acupuncture. Choi-Go Acupuncture has submitted bills to State Farm

 Mutual and State Farm Fire for acupuncture services purportedly performed at 204-12 Hillside.

        72.     Kopach resides in and is a citizen of New York. He is a licensed acupuncturist in

 New York. Kopach purportedly owns First Alternative Acupuncture.

        73.     First Alternative Acupuncture is a domestic professional corporation organized

 under the laws of New York with its principal place of business at 379 Kings Highway, Apt. 2A,

 Brooklyn, NY 11223. It was formed on May 29, 2007. Kopach is the sole original shareholder,

 director, officer, and incorporator of First Alternative Acupuncture. First Alternative Acupuncture

 has submitted bills to State Farm Mutual and State Farm Fire for acupuncture services purportedly

 performed at 717 Southern.




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        74.     Castillo resides in and is a citizen of New York. He is a licensed acupuncturist in

 New York. Castillo has submitted bills to State Farm Mutual and State Farm Fire under his

 individual social security number for acupuncture services purportedly performed at 717 Southern.

 Castillo is also the purported owner of Edcas Acupuncture.

        75.     Edcas Acupuncture is a domestic professional corporation organized under the laws

 of New York with its principal place of business at 772 9th Ave., Apt. 2N, New York, NY 10019.

 It was formed on March 13, 2019. Castillo is the sole original shareholder, director, officer, and

 incorporator of Edcas Acupuncture. Edcas Acupuncture has submitted bills to State Farm Mutual

 and State Farm Fire for acupuncture services purportedly performed at 717 Southern.

        76.     Ma resides in and is a citizen of New York. He is a licensed acupuncturist in New

 York. Ma purportedly owns Hidden Dragon Acupuncture.

        77.     Hidden Dragon Acupuncture is a domestic professional corporation organized

 under the laws of New York with its principal place of business at 4532 Smart St., Fl. 1, Flushing,

 NY 11355. It was formed on March 17, 2017. Ma is the sole original shareholder, director, officer,

 and incorporator of Hidden Dragon Acupuncture. Hidden Dragon Acupuncture has submitted bills

 to State Farm Mutual and State Farm Fire for acupuncture services purportedly performed at 2451

 E. Tremont.

        78.     Guan resides in and is a citizen of New York. He is a licensed acupuncturist in

 New York. Guan purportedly owns Rebound Acupuncture.

        79.     Rebound Acupuncture is a domestic professional corporation organized under the

 laws of New York with its principal place of business at 41-05 College Point Blvd., Apt. 7A,

 Flushing, NY 11355. It was formed on October 10, 2017. Guan is the sole original shareholder,

 director, officer, and incorporator of Rebound Acupuncture. Rebound Acupuncture has submitted




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 bills to State Farm Mutual and State Farm Fire for acupuncture services purportedly performed at

 2451 E. Tremont.

               5.      The MRI Defendants

        80.    Alon resides in and is a citizen of New Jersey. He is neither a physician nor a

 radiologist. Alon purportedly owns Columbus Imaging and Medaid Radiology. Alon is a cousin,

 and business associate of Moshe. Alon also owns nonparty Beshert, a purported advertising and

 marketing company to which Metro Pain has made substantial payments.

        81.    Columbus Imaging is a domestic limited liability corporation organized under the

 laws of New Jersey with its principal place of business at 481 N. 13th Street, Newark, NJ 07107.

 When Columbus Imaging was formed on July 23, 2009, Alon and Shoshana Chanimov each held

 a 50% interest in the company. In or about 2014, Alon acquired a 100% ownership interest.

 Columbus Imaging has submitted bills to State Farm Mutual and State Farm Fire for MRI services

 purportedly performed for patients Metro Pain treated at 2451 E. Tremont and 717 Southern.

        82.    Medaid Radiology is a domestic limited liability corporation organized under the

 laws of New Jersey with its principal place of business at 481 N. 13th Street, Newark, NJ 07107.

 Alon formed Medaid Radiology on June 13, 2018. On August 1, 2018, Alon caused Columbus

 Imaging and Medaid Radiology to enter into a Bill of Sale and Assignment Agreement pursuant

 to which Columbus Imaging transferred and assigned all of its assets to Medaid Radiology except

 for its cash and accounts receivable. Columbus Imaging also transferred its facility license to

 Medaid Radiology. Thus, Medaid Radiology and Columbus Imaging (a) are owned by Alon, (b)

 used and/or are using the same MRI equipment, (c) operated and/or operate at the same physical

 address, (d) operated and/or operate under the same facility license issued by NJDOH, and (e)

 performed and/or perform the same MRI services. Medaid Radiology has submitted bills to State




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 Farm Mutual and State Farm Fire for MRI services purportedly performed for patients Metro Pain

 treated at 2451 E. Tremont and 717 Southern.

        83.     Dr. Moshe resides in and is a citizen of New York. She is a physician licensed in

 New Jersey on March 26, 2012, and licensed in New York on September 25, 2012. Dr. Moshe

 purportedly owns Citimedical I, Citimed Services, Citimedical Services, and Citimed Complete.

 She is also Moshe’s sister.

        84.     Moshe resides in and is a citizen of New York. Moshe is not a licensed physician

 or other health care professional. He is Dr. Moshe’s brother. At all relevant times, Moshe

 effectively owned, controlled, and was in a position to derive economic benefit from Citimedical

 I, Citimed Services, Citimedical Services, and Citimed Complete. Moshe also owns ASCs Excel

 Surgery, Dynamic Surgery, HealthPlus Surgery, and Surgicare, as well as Hudson Regional.

        85.     Citimedical I is a domestic professional limited liability corporation organized

 under the laws of New York with its principal places of business at 1963 Grand Concourse, Bronx,

 NY 10453. While Dr. Moshe is the paper owner of Citimedical I, she unlawfully permitted Moshe

 to use her license to submit, or cause to be submitted, bills to State Farm Mutual and State Farm

 Fire for MRI services purportedly performed for patients Metro Pain treated at 105-10 Flatlands

 and 204-12 Hillside. Indeed, Dr. Moshe admitted in an examination under oath (“EUO”) that

 Moshe owned three buildings out of which Citimedical I operated, arranged and paid for

 construction necessary to prepare one location for operation, owned the MRI and CAT equipment

 used by Citimedical I for radiology services, and collected $50,000 each month from Citimedical

 I in purported rent, equipment leasing, and financing payments.

                6.     The ASC Defendants

        86.     Dynamic Surgery is a New Jersey limited liability corporation organized under the

 laws of New Jersey with its principal place of business at 321 Essex Street, Hackensack, NJ 07601.


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 It was formed on or about November 23, 2016. Moshe and his wife Margarita Moshe purportedly

 own Dynamic Surgery. Dynamic Surgery has submitted bills to State Farm Mutual and State Farm

 Fire for services purportedly performed for patients Metro Pain treated at 105-10 Flatlands, 204-

 12 Hillside, 717 Southern, and 2451 E. Tremont.

         87.   HealthPlus Surgery is a New Jersey limited liability corporation organized under

 the laws of New Jersey with its principal place of business at 190 Midland Avenue, Saddle Brook,

 NJ 07026. It was formed on or about August 25, 2016. Moshe and Margarita Moshe purportedly

 own HealthPlus Surgery. HealthPlus Surgery has submitted bills to State Farm Mutual and State

 Farm Fire for services purportedly performed for patients Metro Pain treated at 105-10 Flatlands,

 204-12 Hillside, 717 Southern, and 2451 E. Tremont.

               7.      The DME Defendants

         88.   Nazarov resides in and is a citizen of New York. He is not a licensed physician or

 other health care professional. Nazarov purportedly owns Right Aid Medical Supply.

         89.   Right Aid Medical Supply is a New York corporation organized under the laws of

 New York with its principal place of business at 777 Westchester Ave., Ste. 101, White Plains,

 NY 10604. Right Aid Medical Supply was formed on or about August 20, 2008, and is owned by

 Nazarov. Right Aid Medical Supply has submitted bills to State Farm Mutual and State Farm Fire

 for Supplies purportedly provided to patients Metro Pain treated at 2451 E. Tremont.

 IV.     ALLEGATIONS COMMON TO ALL COUNTS

         A.    The New York No-Fault Laws

               1.      Claims for Payment Under the No-Fault Laws

         90.   State Farm Mutual and State Farm Fire underwrite automobile insurance in New

 York.




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        91.     Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act

 (N.Y. Ins. Law §§ 5101, et seq.) and the regulations promulgated pursuant thereto (11 N.Y.C.R.R.

 §§ 65, et seq.) (collectively, the “No-Fault Laws”), automobile insurers are required to provide

 No-Fault Benefits to insureds.

        92.     No-Fault Benefits include up to $50,000 per insured for necessary expenses

 incurred for healthcare goods and services.

        93.     An insured can assign his or her right to No-Fault Benefits to healthcare providers

 in exchange for those services. Pursuant to a duly executed assignment, providers may submit

 claims directly to insurance companies and receive payment for medically necessary services.

        94.     New York has established fee schedules for reimbursement of healthcare services

 under the No-Fault Laws. 11 N.Y.C.R.R. § 68.1(a). Charges for services may not exceed the

 charges permissible under the schedules prepared and established by the Chair of the New York

 Workers’ Compensation Board for industrial accidents — i.e., the Workers’ Compensation Board

 Fee Schedules. 11 N.Y.C.R.R. § 68.1(b).

        95.     Pursuant to Section 403 of the New York State Insurance Law, the verification of

 treatment form submitted by healthcare providers to State Farm Mutual, State Farm Fire, and all

 other insurers must be signed by the healthcare providers subject to the following warning:

        Any person who knowingly and with intent to defraud any insurance company or
        other person files an application for insurance or statement of claim containing any
        materially false information, or conceals for the purpose of misleading, information
        concerning any fact material thereto, commits a fraudulent insurance act, which is
        a crime.

                2.     The No-Fault Laws Prohibit Ownership of Professional Service
                       Corporations by Unlicensed Laypersons

        96.     The New York Legislature has established a comprehensive statutory framework,

 including the Business Corporation, Education, and Public Health Laws, to ensure professional



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 healthcare services are rendered only by individuals who are duly licensed to practice those

 professions and that such individuals are employed only by entities that are themselves lawfully

 licensed or otherwise legally authorized to provide such services. This legal framework bars

 individuals who are not subject to state professional licensing requirements and ongoing regulatory

 oversight from controlling, exercising undue influence over, or deriving economic benefit from

 the practice of a profession.

        97.     Pursuant to the No-Fault Laws, professional corporations are not eligible to bill for

 or collect No-Fault Benefits if they are fraudulently incorporated. In New York, only a licensed

 healthcare professional may practice an applicable healthcare profession; own and control a

 professional service corporation authorized to practice healthcare services including medicine,

 chiropractic, acupuncture, and physical therapy; employ and supervise other healthcare

 professionals; and, absent statutory exceptions, derive economic benefit from the services.

        98.     Recognizing the fundamental importance of these laws prohibiting the corporate

 practice of medicine in safeguarding the public health, safety, and welfare, the New York

 Legislature has made it a felony offense for anyone to deliberately circumvent these laws, as well

 as an act of professional misconduct for any licensed individual or professional service corporation

 to do so. See N.Y. Bus. Corp. Law §§ 1203(b), 1503(b), 1507, 1508, 1511; N.Y. Educ. Law

 §§ 6507(4)(c), 6512, 6530(1) & (21); 8 N.Y.C.R.R. § 29.1(b)(6); Penal Law Article 175; N.Y. Ltd.

 Liab. Co. Law § 1201 et seq.

        99.     Consistent with the public policies underlying New York’s ban on the corporate

 practice of medicine, the No-Fault Laws also prohibit professional corporations that are secretly

 owned and controlled by laypersons from receiving No-Fault Benefits for professional health

 services. See 11 N.Y.C.R.R. § 65-3.16(a)(12).




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                 3.     The No-Fault Laws Prohibit Kickbacks

        100.     Under New York law, it is unlawful for any physician, chiropractor, acupuncturist,

 or physical therapist, directly or indirectly, to offer, give, solicit, receive, or agree to receive any

 fee or other consideration to or from a third party for the referral of a patient or in connection with

 the performance of professional services.        See N.Y. Educ. Law § 6530(18); 8 N.Y.C.R.R.

 § 29.1(b)(3).

        101.     Under New York law, it is unlawful for a licensed physician, chiropractor,

 acupuncturist, or physical therapist to exercise undue influence on a patient, including the

 promotion or sale of goods or services in such a manner as to exploit the patient for the financial

 gain of the physician or of a third party. See N.Y. Educ. Law § 6530(17); 8 N.Y.C.R.R.

 § 29.1(b)(2).

        102.     Under New York law, it is unlawful for a physician, chiropractor, acupuncturist, or

 physical therapist to share professional fees, including arrangements involving payments for space,

 facilities, equipment, or personal services, where the payment amounts are dependent upon the

 income or receipts of the licensee from such practice.           See N.Y. Educ. Law § 6530(19);

 8 N.Y.C.R.R. § 29.1(b)(4).

                 4.     The No-Fault Laws Prohibit Financial Arrangements and Referrals

        103.     Under New York Public Health Law Section 238-a, a practitioner authorized to

 order physical therapy, MRIs, laboratory services, and prescription drugs may not make a referral

 for such goods or services to a healthcare provider authorized to provide them where such

 practitioner has a financial relationship with such healthcare provider. See N.Y. Pub. Health Law

 § 238(6) (the term “‘Health care provider’ shall mean a practitioner in an individual practice, group

 practice, partnership, professional corporation or other authorized form of association, . . . and any

 other purveyor of health or health related items or services including but not limited to . . . a


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 physiological laboratory, a pharmacy, a purveyor of x-ray or imaging services, a purveyor of

 physical therapy services, [or] a purveyor of health or health related supplies, appliances or

 equipment . . . .”); 10 N.Y.C.R.R. § 34-1.3 (prohibiting referral for pharmacy or radiation therapy

 services pursuant to financial relationship). A prohibited financial relationship includes a rental

 or lease agreement for office space with a healthcare provider that fails to meet any of the following

 criteria: (a) the agreement be in writing, (b) signed by the parties, (c) specifies the space covered

 under the agreement, (d) the space is dedicated for the use of the lessee, (e) for a term of rental or

 lease of at least one year, (f) provides for an amount of aggregate payments that is not in excess of

 fair market value and does not vary directly or indirectly based on the volume or value of any

 referrals or business between the parties, and (g) would be commercially reasonable even if no

 referrals were made between the parties. See N.Y. Pub. Health Law §§ 238(3), 238-a(5)(b).

        104.    Under New York law, it is unlawful for a physician, chiropractor, or physical

 therapist to make a referral for certain services to a healthcare provider where the physician or

 chiropractor has a compensation arrangement with the healthcare provider that either exceeds fair

 market value or that provides compensation that varies directly or indirectly on the value of

 referrals without disclosing the relationship to the patient. See id. § 238-d(1)(b). Any disclosure

 must not only reveal to the patient the existence of the financial relationship, but must also inform

 the patient of her right to use a “specifically identified alternative” healthcare provider. See id.

 § 238-d(2). Any violation of Public Health Law Section 238-d by physicians also constitutes

 professional misconduct under New York Education Law Section 6530(48).

                5.      Services Rendered in Violation of New York Law Are Not
                        Reimbursable

        105.    The implementing regulation adopted by the Superintendent of Insurance,

 11 N.Y.C.R.R. § 65-3.16(a)(12), states in relevant part, as follows:



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        A provider of health care services is not eligible for reimbursement under
        section 5102(a)(1) of the Insurance Law if the provider fails to meet any applicable
        New York State or local licensing requirement necessary to perform such service
        in New York . . . .

        106.    Thus, if any Defendant violated any of the licensing laws described above in

 connection with the services at issue in the claims described herein, then such Defendant would

 be ineligible for reimbursement under the No-Fault Laws, and under the circumstances, it would

 be unlawful and inequitable to allow such Defendant or person who was a party to such

 arrangement to retain any benefits from such arrangement. See 11 N.Y.C.R.R. § 65-3.16(a)(12).

                6.      Reimbursement for Services Rendered in New Jersey

        107.    Prior to January 23, 2018, providers rendering treatment under a New York

 automobile insurance policy outside of New York State were permitted to bill at the prevailing fee

 in the geographic location of the health provider. In May 2017, the New York Department of

 Financial Services (“NYDFS”) announced amendments to the No-Fault Laws to limit out-of-state

 charges for medical treatment rendered pursuant to a New York automobile insurance policy.

 These amendments, which became effective on January 23, 2018, limited such out-of-state

 treatment to the lowest of (a) the amount of the fee in the region in New York State that has the

 highest applicable amount in the fee schedule for that service; (b) the amount charged by the

 provider; or (c) the prevailing fee in the geographic location of the provider. See 11 N.Y.C.R.R.

 68.6(b). The “prevailing fee” is defined as “the amount prescribed in that jurisdiction’s fee

 schedule.” 11 N.Y.C.R.R. 68.6(c).

        108.    As NYDFS explained, these amendments were promulgated to “address the

 ongoing exploitation of New York’s no-fault system by out-of-state providers who, taking

 advantage of current provisions in the regulation, submit grossly inflated bills for services

 rendered, thus quickly depleting the $50,000 no-fault coverage limit available to an eligible injured



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 party.” N.Y. Dep’t of Fin. Servs. Assessment of Public Cmts. to 33rd Amend. to 11 N.Y.C.R.R.

 68.

        B.      Relationships Between and Among Shapiro, Alon, Moshe, and Providers at
                Clinic Locations Further the Scheme to Defraud

                1.     Metro Pain’s Formation and Operation as Gatekeeper at Clinic
                       Locations

                       a.      Metro Pain’s Formation and Method of Operations

        109.    From at least its formation in 2012 until approximately late 2016, Metro Pain

 provided pain management services primarily on a transient basis, treating patients at numerous

 clinics throughout the New York area that catered to individuals injured in automobile accidents.

 Generally, it provided pain management consultations, determined patients would benefit from

 injections, and then performed epidural steroid injections or facet injections on patients at Excel

 Surgery. In order to obtain patients, Metro Pain and Shapiro entered into financial arrangements

 with providers at the clinics and others, including arrangements disguised as rent.

        110.    Shapiro did not treat the patients himself. Rather, Metro Pain and Shapiro hired

 physicians, directed them to travel to specific clinics on specific days to perform consultations,

 and then directed them to perform injections and related procedures on patients at the ASCs. As

 Shapiro testified in an EUO, Metro Pain’s practice “Administrator” coordinated with Metro Pain

 doctors and clinics to determine which days doctors appeared to perform consultations. According

 to Metro Pain, neither its pain management doctors nor its orthopedists performed any procedures

 at the clinic locations — only consultations and evaluations.

        111.    Leveraging the financial and business relationships it developed during its time as

 a transient provider of pain management and orthopedic services in New York, and commensurate

 with Moshe expanding his ASC network to include Dynamic Surgery and HealthPlus Surgery,

 beginning in late 2016, Metro Pain transitioned from providing services on a transient basis to a


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 full-time basis at certain clinic locations. In these instances, Metro Pain typically entered into a

 lease agreement for control of the space and either assumed or entered into subleases with other

 providers for the use of space to treat patients. At these locations, Metro Pain serves as the

 “gatekeeper,” in that it examines patients and has the ability to prescribe and refer those patients

 for additional treatment. Providers who enter into sublease agreements with Metro Pain do so

 because the purported “rent” payments are actually payments made in exchange for the referral of

 patients for treatment to be performed by the subleasing provider.

        112.    Metro Pain admits to operating as a gatekeeper at locations it controls, deciding

 what care is provided and who will provide that care based on financial arrangements with

 providers. Shapiro himself testified in an EUO that Metro Pain staffs its locations with “general

 practitioners who see patients initially and [during] follow-ups, so they provide general medical

 services. They are gatekeepers who refer patients as necessary for conservative treatment, physical

 therapy, acupuncture, [and] chiropractors. They also refer patients. They look at the MRIs, EMG

 results, all tests and studies. Send [the patients] to an orthopedic consultation, pain management

 consultation and so forth and so on.” Shapiro describes the arrangements with other providers at

 the clinics as involving payment for providers’ “use of the premises, the tables, the waiting room,

 everything and anything, but basically they are there to see our patients and to provide services.”

 According to Shapiro, Metro Pain staffs its “gatekeeper” locations with medical doctors three days

 a week and pain management and orthopedists twice a month, which is “pretty much the rule for

 most offices where we cover all services.”

        113.    When sublessees who render conservative care do not renew their sublease with

 Metro Pain or vacate a location for some other reason, Shapiro testified that it is his




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 “responsibility” to find new healthcare providers to fill that space, which he does by consulting his

 contacts at other offices and locations.

                        b.      Metro Pain’s Operations at Four Clinic Locations

        114.    Among the addresses at which Metro Pain operates or has operated as a gatekeeper

 are 105-10 Flatlands, 204-12 Hillside, 2451 E. Tremont, and 717 Southern. Metro Pain purports

 to operate and control each of these locations, render predetermined examinations and testing to

 justify additional treatment and services, and decide what additional care patients require and who

 would provide it. Providers perform those additional services not because they are necessary, but

 pursuant to financial arrangements with Metro Pain and others with whom Metro Pain works

 and/or has financial arrangements

                                i.      105-10 Flatlands

        115.    Since December 2017, Metro Pain has operated as a gatekeeper at 105-10 Flatlands.

        116.    Even before Metro Pain became the gatekeeper at 105-10 Flatlands, patient care at

 the location was determined not by patient need, but by financial relationships and at the direction

 of nonphysician laypersons. Prior to December 2017, medical services were rendered through

 Starrett City Medical P.C. (“Starrett City”), which was owned on paper by Azu Ajudua M.D.

 (“Dr. Ajudua”). The location was in fact secretly owned and controlled by laypersons, including

 Peter Khaim (“Khaim”) and his associates Aleksandr Gulkarov (“Gulkarov”) and Roman Israilov

 (“Israilov”). A Khaim-owned company leased the building from owner 105 Flatlands LLC and

 collected enormous sums from Starrett City as purported “rent.” Starrett City also paid significant

 sums to companies owned by Khaim, Gulkarov, Israilov, their family members, and others, and

 Dr. Ajudua testified in a September 2019 deposition that these payments were made without his

 knowledge or permission. After receiving proceeds from Starrett City, Gulkarov and Israilov

 diverted them to shell companies owned or controlled by Khaim and others. No documents reflect


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 any goods or services these shell companies provided in exchange for the enormous sums they

 received. Dr. Ajudua further testified in deposition that Gulkarov was the office administrator

 who “took care of practically almost everything” at the clinics, including supervising the non-

 healthcare professionals, hiring office staff, working with the accountant, maintaining the ledgers,

 and presenting checks to Dr. Ajudua for his signature. Israilov supervised the front desk and

 “ma[de] sure that everything is being done.” Gulkarov’s and Israilov’s wives, sisters Regina

 (Gulkarov’s wife) and Viktoria (Israilov’s wife) Shakarova, worked the front desk and helped with

 billing at the clinics.    A doctor who worked at 105-10 Flatlands, Dr. Andre Duhamel

 (“Dr. Duhamel”), swore in an affidavit dated March 28, 2017, that he was installed as a physician

 at 105-10 Flatlands by “Peter” [i.e., Khaim], who arranged for him to treat patients at that location.

 Dr. Duhamel stated in his affidavit that the “staff” at 105-10 Flatlands directed him to render

 treatment to patients that he had never prescribed before working at the clinic, including

 prescribing specific medications.

        117.    As early as June 2015, Metro Pain examined patients at 105-10 Flatlands one or

 two days each month for possible pain management procedures. Metro Pain generally referred

 patients for pain management injections performed at Moshe-owned ASCs in New Jersey. Metro

 Pain obtained access to these patients not because they needed pain management consultations,

 but pursuant to financial relationships with those who controlled 105-10 Flatlands at the time.

 Metro Pain executed a “licensing agreement” with Starrett City pursuant to which it purported to

 lease a “portion of the building . . . located at 10510 Flatland Ave, Brooklyn” for $1,000 per month.

 This payment was actually for patient referrals, and any sums paid to Starrett City were not for the

 benefit of Dr. Ajudua, but siphoned to the laypeople who secretly owned and controlled Starrett

 City (i.e., Khaim and his associates).




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        118.    In early 2018, the State of New York charged Dr. Ajudua with two criminal counts

 of grand larceny for submitting claims to New York Medicaid programs for medically unnecessary

 services and for fraudulently referring patients for diagnostic and other services in exchange for

 kickbacks. Dr. Ajudua pleaded guilty to these charges in May 2018, and surrendered his license

 to practice medicine in June 2018.

        119.    On December 1, 2017, Dr. Ajudua ceased practicing medicine and transferred his

 Starrett City medical practice to Metro Pain, including the medical records of all patients who had

 received treatment at Starrett City. Neither Metro Pain nor Shapiro provided any compensation to

 Dr. Ajudua for this acquisition. Metro Pain also assumed control of the physical space at 105-10

 Flatlands. In January 2018, Metro Pain entered into a written lease agreement with 105 Flatlands

 LLC providing for monthly rental payments of approximately $8,700 during the first year,

 approximately $9,000 during the second year, approximately $9,300 during the third year, and

 approximately $9,500 during the fourth year. Starrett City’s front desk personnel, Viktoria

 Shakarova (Israilov’s wife) and David Davidov (“Davidov”), continued working at 105-10

 Flatlands as office managers when Metro Pain acquired Dr. Ajudua’s medical practice.

        120.    When Metro Pain assumed control of the space at 105-10 Flatlands, providers who

 had been operating there either reorganized their corporate existence or moved out and were

 replaced by others. For example, Luna had been rendering chiropractic care at 105-10 Flatlands

 through Flatlands Chiropractic Wellness P.C. That entity treated its last patient at 105-10 Flatlands

 on November 30, 2017, when Luna formed a new entity, Kings Chiropractic, and Luna began

 treating patients at 105-10 Flatlands through Kings Chiropractic. At about the same time, the

 physical therapist who had been treating patients at 105-10 Flatlands stopped treating patients, and

 a new provider, Hassan and his entity Nile Rehab PT, began treating patients on December 4,




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 2017. There was no legitimate reason why Luna would need to form a new corporate entity to

 continue to treat patients or why the physical therapy provider would change simply because a

 new medical provider, Metro Pain, took control of 105-10 Flatlands.

        121.    Rather, the timing of these changes reflects Metro Pain’s transition to gatekeeper

 at the location. In particular, while prior entities may have had financial arrangements with Starrett

 City, new providers could enter into new, different relationships with Metro Pain. Moreover,

 creating new entities through which treatment could be rendered and billed and substituting

 providers was part of the scheme in that it permitted new providers to render treatment free and

 clear of insurers’ challenges to prior providers’ claims submitted before Metro Pain became

 gatekeeper. The changes also reduced the number of claims submitted by any one provider, which

 helped each provider avoid detection and conceal the scheme.

        122.    As part of its control, Metro Pain entered into arrangements with providers who

 sought to treat patients at 105-10 Flatlands whereby providers paid kickbacks for patient referrals.

 Some arrangements were disguised as rent payments pursuant to leases for the purported use of

 space. At least Nile Rehab PT, Kings Chiropractic, Northern Medical Care P.C. (“Northern

 Medical”), and Spine Care of NJ P.C. (“Spine Care”) purported to enter into License Agreements

 with Metro Pain for the use of space at 105-10 Flatlands. The form of each agreement is identical,

 and the forms of these agreements were, in fact, identical to the form of lease Metro Pain entered

 into with Starrett City when the location was directly controlled by Khaim and his associates. That

 this form of lease was simply reused is reflected in the fact the “licensee” or tenant on each lease

 is identified as Metro Pain, even though Metro Pain had become the lessor to Nile Rehab PT, Kings

 Chiropractic, Northern Medical, and Spine Care, and thus should have been identified as the

 “licensor” on these agreements. The License Agreements granted to Nile Rehab PT, Kings




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 Chiropractic, Northern Medical, and Spine Care the “right to license a portion of the Building

 including an examining room located in the Leased Premises and currently occupied by the

 Licensee on an exclusive basis and for those periods delineated on Schedule ‘A’ attached hereto.”

         123.     While providers purportedly paid rent to use the space, licensing agreements reveal

 those payments were actually for patient referrals. Nile Rehab PT’s agreement describes the fee

 explicitly as “$1500 for ROM [range of motion] Testing, $1500 for Functional Capacity [Testing],

 $1500 rent for PT” (i.e., $4,500 total rent each month). King Chiropractic’s agreement provided

 for $1,500 per month, Northern Medical for $1,500 per month, and Spine Care for $500 per

 month. 1 These four License Agreements entitled Metro Pain to payments totaling $8,000 per

 month, but there is no indication these sums represent all amounts these and other providers paid

 to Metro Pain. Rather, billing records reflect 10 other healthcare providers rendered services to

 Metro Pain patients at 105-10 Flatlands in 2018, including defendant SJM Acupuncture. Even if

 the $8,000 per month was the total rent all providers paid to Metro Pain, Metro Pain only paid

 monthly rent of about $8,700 during its first year for the entire space, and thus Metro Pain would

 have received as purported “rent” from providers amounts close to, and almost certainly well in

 excess of, its monthly rental obligations to the property owner. As a result, there can be no question

 that providers’ payments to Metro Pain were not tied to the fair market value of space, but rather

 were for patient referrals.

         124.     Even after Metro Pain became the gatekeeper at 105-10 Flatlands, Khaim and his

 associates continued to play a role and there may have been arrangements between Metro Pain and



 1
  Although Spine Care and Northern Medical utilized the space at 105-10 Flatlands for the approximate same number
 of days each month, Spine Care likely paid less in rent than Northern Medical because it operated for a singular
 purpose: examining and referring patients for manipulation under anesthesia to be performed at Moshe’s Dynamic
 Surgery and HealthPlus Surgery. Northern Medical did not perform any services at Moshe’s ASCs and typically
 charged thousands of dollars for the services it rendered to each Metro Pain patient on a single date.



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 Khaim and his associates concerning activity at 105-10 Flatlands. For example, nine months after

 Metro Pain acquired Dr. Ajudua’s practice, Khaim wired $9,300 to Davidov who was serving as

 Metro Pain’s office manager. Similarly, after Metro Pain became the gatekeeper at 105-10

 Flatlands, Luna’s new chiropractic entity, Kings Chiropractic, not only made payments to Metro

 Pain but also to Khaim, Gulkarov, and Israilov.

                                 ii.   204-12 Hillside

         125.    Since December 2017, Metro Pain has operated as a gatekeeper at 204-12 Hillside.

         126.    Even before Metro Pain became the gatekeeper at 204-12 Hillside, patient care at

 the location was determined not by patient need, but by financial relationships and at the direction

 of nonphysician, laypersons. Prior to December 2017, medical services were rendered through

 Hillcrest Medical Care P.C. (“Hillcrest Medical”), which Dr. Ajudua owned on paper. The

 location was in fact secretly owned and controlled by laypersons, including Khaim and his

 associates Gulkarov, Israilov, and Viktoria Shakarova. Hillcrest Medical paid significant sums to

 companies owned by Khaim, Gulkarov, Israilov, Viktoria Shakarova, their family members, and

 others, and Dr. Ajudua testified in a September 2019 deposition these payments were made without

 his knowledge or permission. After receiving proceeds from Hillcrest Medical, Gulkarov and

 Israilov diverted them to shell companies owned or controlled by Khaim and others.              No

 documents reflect any goods or services these companies provided in exchange for the enormous

 sums they received. As at Starrett City, Gulkarov was the office administrator who took care of

 everything, Israilov supervised the front desk, and Gulkarov’s and Israilov’s wives, sisters Regina

 Shakarova (Gulkarov’s wife) and Viktoria Shakarova (Israilov’s wife), worked the front desk and

 helped with billing at the clinics.

         127.    As early as March 2016, Metro Pain examined patients at 204-12 Hillside one or

 two days each month for possible pain management procedures. Metro Pain generally referred


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 patients for pain management injections that it performed at Moshe-owned ASCs located in New

 Jersey. Metro Pain obtained access to these patients not because they needed pain management

 consultations, but pursuant to financial relationships with those who controlled 204-12 Hillside

 Flatlands at the time. Metro Pain executed a “licensing agreement” with Hillcrest Medical

 pursuant to which it purported to lease a “portion of the building . . . located at 204-12 Hillside

 Ave., Hollis, New York” for $1,000 per month. This payment was actually for patient referrals,

 and any sums paid to Hillcrest Medical were not for the benefit of Dr. Ajudua, but siphoned to the

 laypeople who secretly owned and controlled Hillcrest Medical (i.e., Khaim and his associates).

        128.    On December 1, 2017, Dr. Ajudua ceased practicing medicine and transferred his

 Hillcrest Medical practice to Metro Pain, including the medical records of all patients who received

 treatment at Hillcrest Medical. Neither Metro Pain nor Shapiro provided any compensation to

 Dr. Ajudua for this acquisition. Metro Pain also assumed control of the physical space at 204-12

 Hillside. On November 1, 2017, Metro Pain entered into a written lease agreement with Hillside

 2626 LLC providing for monthly rental payments of approximately $8,500 during the first year,

 approximately $8,800 during the second year, and approximately $9,200 during the third year.

 Hillcrest Medical’s front desk personnel, Viktoria Shakarova and Davidov, continued working at

 204-12 Hillside as office managers when Metro Pain acquired Dr. Ajudua’s medical practice.

        129.    When Metro Pain assumed control of the space at 204-12 Hillside, providers who

 had been operating there either reorganized their corporate existence or moved out and were

 replaced by others. For example, Park had been rendering chiropractic care at 204-12 Hillside

 through Your Choice Chiropractic P.C., and Choi had been rendering acupuncture treatment

 through Choi Acupuncture. In early December 2017, those entities treated their last patients at

 204-12 Hillside, and on December 1, 2017, Park began treating patients through a newly formed




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 entity, All About Chiropractic, and Choi began treating patients exclusively through Choice

 Acupuncture. At about the same time, the physical therapist who had been treating patients at 204-

 12 Hillside stopped treating patients, and a new provider, Shalaby and his entity Physical Therapy

 of NY, began treating patients on December 1, 2017. There was no legitimate reason why Park

 would need to form a new corporate entity or why the physical therapy and acupuncture providers

 would change simply because a new medical provider, Metro Pain, took control of 204-12 Hillside.

        130.    Rather, the timing of these changes reflects Metro Pain’s transition to gatekeeper

 at the location. In particular, while prior entities may have had financial arrangements with

 Hillcrest Medical, new providers could enter into new, different relationships with Metro Pain.

 Moreover, creating new entities through which treatment could be rendered and billed and

 substituting providers was part of the scheme in that it permitted new providers to render treatment

 free and clear of insurers’ challenges to prior providers’ claims submitted before Metro Pain

 became gatekeeper. The changes also reduced the number of claims submitted by any one

 provider, which helped each provider avoid detection and conceal the scheme.

        131.    As part of its control, Metro Pain entered into arrangements with providers who

 sought to treat patients at 204-12 Hillside whereby providers paid kickbacks for patient referrals.

 Some arrangements were disguised as rent payments pursuant to leases for the purported use of

 space. On December 4, 2017, at least All About Chiropractic, Choice Acupuncture, Northern

 Medical, and Physical Therapy of NY purported to enter into License Agreements with Metro Pain

 for the use of space at 204-12 Hillside. Spine Care entered into such a License Agreement on

 November 9, 2018. The form of each agreement is identical, and the forms of these agreements

 were, in fact, identical to the form of lease Metro Pain entered into with Hillcrest Medical when

 the location was directly controlled by Khaim and his associates. That this form of lease was




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 simply reused is reflected in the fact the “licensee” or tenant on each lease is identified as Metro

 Pain, even though Metro Pain had become the lessor to All About Chiropractic, Choice

 Acupuncture, Northern Medical, Physical Therapy of NY, and Spine Care, and thus should have

 been identified as the “licensor” on these agreements. The License Agreements granted to All

 About Chiropractic, Choice Acupuncture, Northern Medical, Physical Therapy of NY, and Spine

 Care the “right to license a portion of the Building including an examining room located in the

 Leased Premises and currently occupied by the Licensee on an exclusive basis and for those

 periods delineated on Schedule ‘A’ attached hereto.”

          132.     While providers purportedly paid rent to use the space, the Licensing Agreements

 demonstrated that those payments were actually for patient referrals. Physical Therapy of NY’s

 agreement describes the fee explicitly as “1500$ [sic] for Functional Capacity Testing, 1500$ [sic]

 for ROM Testing, 1500$ for rent” (i.e., $4,500 total each month). The agreements with All About

 Chiropractic, Choice Acupuncture, and Northern Medical each provided for $1,500 per month,

 and Spine Care’s agreement provided for $500 per month. 2 These five License Agreements

 entitled Metro Pain to payments totaling $9,500 per month, but there is no indication that these

 sums represent all amounts these and other providers paid to Metro Pain. Rather, billing records

 reflect 10 other healthcare providers rendered services to Metro Pain patients at 204-12 Hillside in

 2018. Even if the $9,500 per month was the total rent all providers paid to Metro Pain, Metro Pain

 only paid monthly rent of about $8,500 during its first year for the entire space, and thus Metro

 Pain would have received “rent” from providers totaling more than, and almost certainly well in




 2
  As noted supra n. 2, Spine Care likely paid less in rent because it examined patients at 204-12 Hillside for the sole
 purpose of recommending they receive manipulations under anesthesia to be performed at Moshe’s Dynamic Surgery
 and HealthPlus Surgery, and Northern Medical typically charged thousands of dollars for the services it rendered to
 each Metro Pain patient on a single date.



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 excess of, its rental obligations to the property owner. As a result, there can be no question

 providers’ payments to Metro Pain were not tied to the fair market value of space.

        133.    Even after Metro Pain became the gatekeeper at 204-12 Hillside, Khaim and his

 associates continued to play a role and there may have been arrangements between Metro Pain and

 Khaim and his associates concerning activity at 204-12 Hillside. For example, after Metro Pain

 became the gatekeeper at 204-12 Hillside, Park’s new chiropractic entity, All About Chiropractic,

 and Choi’s acupuncture entity Choice Acupuncture not only made payments to Metro Pain, but

 also to a Khaim-owned shell company. Furthermore, as noted above, Khaim wired $9,300 to

 Metro Pain’s office manager at 204-12 Hillside, Davidov. Indeed, the current chiropractor at 204-

 12 Hillside, Marcelo Quiroga and his entity Comfort Choice Chiropractic P.C., paid substantial

 sums to Gulkarov, Israilov, and companies they own throughout 2020.

                               iii.    717 Southern

        134.    Beginning in at least November 2016, Metro Pain operated as a gatekeeper at 717

 Southern.

        135.    Even before Metro Pain became the gatekeeper at 717 Southern, patient care at the

 location was determined by financial relationships and at the direction of nonphysician,

 laypersons. Prior to November 2016, medical services were rendered through Morris Park Primary

 Medical P.C. (“Morris Park”), which Dr. Duhamel owned on paper. The location was in fact

 secretly owned and controlled by laypersons. According to a sworn affidavit dated March 28,

 2017, Dr. Duhamel did not own or control his medical practice, but worked for “Kate.”

 Dr. Duhamel accepted an arrangement in which Kate paid him $1,000 per day as an employee to

 examine patients two days per week, plus $5,000 per month to open a medical professional

 corporation, Morris Park, that would operate from the location. According to the affidavit,

 Dr. Duhamel had no role in hiring or firing staff for Morris Park and no control over its finances.


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 Rather, Kate was in charge. Dr. Duhamel stated patient care was ordered and performed without

 his knowledge. Morris Park billed insurance companies for many different kinds of testing that

 he never performed, never hired anyone to perform, and of which he was unaware, including

 Outcome Assessment Tests, ROM testing, manual muscle testing, and functional capacity testing.

 Further, examination reports were altered to reflect referrals for other testing, other professional

 services, and Supplies that he did not, in fact, make.

        136.    As early as June 2015, Metro Pain examined patients at 717 Southern one or two

 days each month for possible pain management procedures. Metro Pain generally referred patients

 for pain management injections performed at Moshe-owned ASCs located in New Jersey. Metro

 Pain obtained access to these patients not because they needed pain management consultations,

 but pursuant to financial relationships with those who controlled 717 Southern at the time.

        137.    By November 2016, Metro Pain assumed greater control over 717 Southern and

 became a gatekeeper at the location. Metro Pain assumed control of the physical space. In

 February 2017, Metro Pain entered into a written lease agreement with Semaj LLC providing for

 monthly rental payments of approximately $8,000 during the first year, approximately $8,600

 during the second year, approximately $9,300 during the third year, approximately $10,000 during

 the fourth year, and approximately $10,900 during the fifth year.

        138.    Metro Pain also hired the front desk personnel and office manager who previously

 worked at the location. Shapiro testified in an EUO the front desk manager, Lolita Dasheusky,

 had worked there “[a]s long as I can remember,” but he could not recall who employed her,

 guessing that it was “one of the providers, either chiropractor or acupuncture. I don’t know.”

        139.    When Metro Pain assumed control of the space at 717 Southern, providers who had

 been operating there moved out and were replaced by others. For example, on Friday, January 27,




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 2017, defendant Scarborough, his chiropractic entity AOT Chiropractic, and the physical therapist

 stopped treating patients at 717 Southern. They were replaced the following Monday with newly

 formed Brook Chiropractic owned by Caruso and Barakat PT owned by Barakat. Before arriving

 at 717 Southern, Caruso had been treating patients through Full Spine Chiropractic of NY P.C. at

 another location then coming under Metro Pain control, 2451 E. Tremont. As discussed in the

 next section, Scarborough and AOT Chiropractic moved to 2451 E. Tremont and began treating

 patients in January 2017, essentially swapping chiropractic roles with Caruso. There was no

 legitimate reason why the chiropractor and physical therapist would turn over simply because a

 new medical provider, Metro Pain, took control of 717 Southern.

        140.    Rather, the timing of these changes reflects Metro Pain’s transition to gatekeeper

 at the location. In particular, while prior entities may have had financial arrangements with those

 previously in control, new providers could enter into new, different relationships with Metro Pain.

 Moreover, creating new entities through which treatment could be rendered and billed and

 substituting providers was part of the scheme in that it permitted new providers to render treatment

 free and clear of insurers’ challenges to prior providers’ claims submitted before Metro Pain

 became gatekeeper. The changes also reduced the number of claims submitted by any one

 provider, which helped avoid detection and conceal the scheme.

        141.    As part of its control, Metro Pain entered into arrangements with providers who

 sought to treat patients at 717 Southern whereby providers paid kickbacks for patient referrals.

 Some arrangements were disguised as rent payments pursuant to leases for the purported use of

 space. At least Barakat PT, Brook Chiropractic, Andrew Nicholas Demas, L.Ac., and Classic

 Medical Diagnostic Rehab P.C. (“Classic Medical”) purported to enter into lease agreements with

 Metro Pain for the use of space at 717 Southern. The form of three of these leases is identical to




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 each other and to the forms of lease Metro Pain entered into with providers at 105-10 Flatlands

 and 204-12 Hillside. The Licensing Agreements granted to Barakat PT, Brook Chiropractic, and

 Andrew Nicholas Demas, L.Ac. the “right to license a portion of the Building including an

 examining room located in the Leased Premises and currently occupied by the Licensee on an

 exclusive basis and for those periods delineated on Schedule ‘A’ attached hereto,” whereas the

 agreement with Classic Medical grants “the non-exclusive use of examination rooms and common

 area . . . in the premises.” Moreover, the Classic Medical lease defines the lease as the “Paramount

 Lease,” which appears to be a reference to a healthcare provider with which Metro Pain entered

 into a lease arrangement for the use of space at 332 E. 149th Street in the Bronx.

        142.    While providers purportedly paid rent to use the space, the agreements demonstrate

 that those payments were actually for patient referrals. Brook Chiropractic’s agreement required

 monthly rent payments of $1,000, Andrew Nicholas Demas’s agreement required payments of

 $1,500 per month, and Classic Medical’s agreement provided for $5,000 per month. Barakat PT’s

 agreement did not include a rental amount. These four agreements entitled Metro Pain to payments

 totaling $7,500 per month without consideration of Barakat PT’s rent, and billing records reflect

 that over 20 other healthcare providers rendered services to Metro Pain patients at 717 Southern

 in 2017. Even if the $7,500 per month was the total rent all providers paid to Metro Pain, Metro

 Pain only paid about $8,000 during its first year for the entire space, and thus Metro Pain would

 have received “rent” from providers almost certainly well in excess of its rental obligations to the

 property owner. As a result, there can be no question the providers’ payments to Metro Pain were

 not tied to the fair market value of space, but rather were for patient referrals.

                                iv.     2451 E. Tremont

        143.    Beginning in at least November 2016, Metro Pain operated as a gatekeeper at 2451

 E. Tremont.


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        144.    Shortly after Metro Pain began treating patients at 2451 E. Tremont in October

 2016, it became a gatekeeper at that location and took over control of the physical space. Metro

 Pain did not have a written lease for the space with the property owner, C2 Development Corp.,

 and Shapiro testified “[i]t’s not even oral agreement,” and the property owner “sent me statement

 with the rent and utilities, pay them, and when I tried to negotiate, he said, ‘We don’t negotiate.’”

 According to financial records, Metro Pain’s monthly payments for rent to C2 Development Corp.

 increased year to year; Metro Pain paid $7,900 in rent on February 13, 2017, $8,548.97 in rent on

 May 1, 2018, and $8,890.92 in rent on May 2, 2019.

        145.    Shapiro testified front desk personnel and the office manager who worked at the

 location previously became employees of Metro Pain after it took over the space. Clarissa Tavarez

 (a/k/a Clarissa Felix) served as Metro Pain’s office manager at 2451 E. Tremont.

        146.    At about the time Metro Pain assumed control of the space at 2451 E. Tremont,

 providers operating at the location moved out of the space and were replaced by others. For

 example, Caruso and his entity Full Spine Chiropractic of NY P.C. stopped providing chiropractic

 treatment in January 2017, Friendly Acupuncture P.C. stopped providing acupuncture in April

 2017, and AM Patel PT stopped providing physical therapy in April 2017. In Caruso’s place,

 Scarborough and AOT Chiropractic began rendering chiropractic treatment in January 2017, and

 Caruso moved to the location at which AOT Chiropractic had operated, 717 Southern. On April 3,

 2017, Hidden Dragon Acupuncture began providing acupuncture services and Sky Limit PT began

 providing physical therapy.     Moreover, on the date Metro Pain took over as gatekeeper,

 November 1, 2016, Dr. Michael George Alleyne (“Dr. Alleyne”), who had until that time operated

 as a medical doctor at 2451 E. Tremont, formed Michael George Alleyne MD P.C. and began

 rendering NCV and EMG Tests to Metro Pain patients at 2451 E. Tremont and 717 Southern. On




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 September 7, 2017, Dr. Alleyne also began rendering examinations and Outcome Assessment

 Tests as a medical doctor through Metro Pain at 2451 E. Tremont and 2940 Grand Concourse in

 the Bronx.

        147.    There was no legitimate reason why these providers would need to form new

 entities or move locations simply because a new medical provider, Metro Pain, took control of

 2451 E. Tremont. Rather, the timing of these changes reflects Metro Pain’s transition to gatekeeper

 at the location. In particular, while prior entities may have had financial arrangements with those

 previously in control, new providers could enter into new, different relationships with Metro Pain.

 Moreover, creating new entities through which treatment could be rendered and billed and

 substituting providers was part of the scheme in that it permitted new providers to render treatment

 free and clear of insurers’ challenges to prior providers’ claims submitted before Metro Pain

 became gatekeeper. The changes also reduced the number of claims submitted by any one

 provider, which helped each provider avoid detection and conceal the scheme.

        148.    As part of its control, Metro Pain entered into arrangements with providers who

 sought to treat patients at 2451 E. Tremont whereby providers paid kickbacks for patient referrals.

 Some arrangements were disguised as rent payments pursuant to leases for the purported use of

 space. At least AOT Chiropractic, Hidden Dragon Acupuncture, and Sky Limit PT purported to

 enter into lease agreements with Metro Pain for the use of space at 2451 E. Tremont. The form of

 lease with AOT Chiropractic is identical to the forms of lease Metro Pain entered into with

 providers at 105-10 Flatlands, 204-12 Hillside, and 717 Southern. The January 17, 2017 Licensing

 Agreement granted to AOT Chiropractic the “right to license a portion of the Building including

 an examining room located in the Leased Premises and currently occupied by the Licensee on an

 exclusive basis and for those periods delineated on Schedule ‘A’ attached hereto.” The other two




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 agreements were executed in April 2017 and utilized different forms. The lease with Hidden

 Dragon Acupuncture defines the leased space only as “the portion of the demised premises on the

 2451 E Tremont Ave, Bronx, NY 10461,” whereas the lease with Sky Limit PT provided for “the

 non-exclusive use of examination rooms and common area . . . in the premises.” Like Metro Pain’s

 lease with Classic Medical at 717 Southern, the Sky Limit PT sublease defines the lease as the

 “Paramount Lease,” which appears to be a reference to a healthcare provider with which Metro

 Pain entered into a lease arrangement for the use of space at 332 E. 149th Street in the Bronx.

        149.    While providers purportedly paid rent to use the space, the agreements demonstrate

 that those payments were actually for patient referrals. AOT Chiropractic’s agreement required

 monthly rent payments of $1,000, while the Sky Limit PT agreements required a “net minimum

 rent” of $24,000 each year paid in monthly installments of $2,000, and the Hidden Dragon

 Acupuncture agreement required monthly payments of $1,500. These three agreements entitled

 Metro Pain to monthly payments totaling $4,500, but there is no indication these sums represent

 all amounts paid to Metro Pain for the use of space at 2451 E. Tremont, including amounts Dr.

 Alleyne paid to Metro Pain. Indeed, billing records reflect over 15 other healthcare providers

 rendered services to Metro Pain patients at 2451 E. Tremont in 2017. Metro Pain only paid about

 $7,900 during its first year for the entire space, and thus Metro Pain would have received “rent”

 from providers close to, and almost certainly well in excess of, its rental obligations to the property

 owner. As a result, there can be no question providers’ payments to Metro Pain were not tied to

 the fair market value of space, but rather were for patient referrals.

                        c.      Metro Pain Referred            Patients    Pursuant     to   Financial
                                Arrangements

        150.    During the period Metro Pain operated as the gatekeeper at 105-10 Flatlands, 204-

 12 Hillside, 717 Southern, and 2451 E. Tremont, its patients received care from providers who



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 paid for the referrals of such patients. The documented existence of such arrangements makes

 clear that no provider would have been granted access to these patients without paying to play.

 While some providers rendered treatment at these locations based on purported “rent” agreements,

 such as chiropractic, acupuncture, and physical therapy treatment, others rendered treatment based

 on referrals, orders, justifications, and/or access obtained through Metro Pain at other locations

 and/or based on other arrangements. Based on arrangements with Metro Pain, the Physical

 Therapy Defendants, Chiropractor Defendants, and Acupuncture Defendants, among others,

 obtained patient referrals from Metro Pain to provide examinations, treatment, MRIs, Supplies,

 tests, and other services that were not medically necessary or eligible for reimbursement. These

 Defendants rendered such treatment at the following locations:

        (a)     at 105-10 Flatlands, (i) chiropractor Luna and Kings Chiropractic;
                (ii) acupuncturists Moon, SJM Acupuncture, Krupnova, and LK Acupuncturist;
                and (iii) physical therapists Hassan, Nile Rehab PT, Khallaf, Handy PT, Kataeva,
                and Cityworks PT;

        (b)     at 204-12 Hillside, (i) chiropractors Park, All About Chiropractic, and J Park
                Chiropractic; (ii) acupuncturists Choi, Choice Acupuncture, and Choi-Go
                Acupuncture; and (iii) physical therapists Shalaby, Physical Therapy of NY,
                Kataeva, and Cityworks PT;

        (c)     at 717 Southern, (i) chiropractors Caruso, Brook Chiropractic, and Integrated
                Chiropractic; (ii) acupuncturists Kopach, First Alternative Acupuncture, Castillo,
                and Edcas Acupuncture; and (iii) physical therapists Barakat, Barakat PT,
                Elmandouh, Protection PT, Akl, and Primavera PT;

        (d)     at 2451 E. Treatment, (i) chiropractor Scarborough and AOT Chiropractic;
                (ii) acupuncturists Ma, Hidden Dragon Acupuncture, Guan, and Rebound
                Acupuncture; and (iii) physical therapists Elmansy, Sky Limit PT, Cushman, PI PT,
                Paller, and Floral Park PT.

                       d.      Shapiro Forms and Begins Billing Through Tri-Borough
                               Medical to Further the Scheme

        151.    Beginning in May 2021, Shapiro began submitting bills to the State Farm

 Companies for services purportedly rendered through Tri-Borough Medical.            The services



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 purportedly rendered through Tri-Borough Medical are the same or similar to those rendered

 through Metro Pain, are rendered at the same locations at which Metro Pain treats patients,

 including at 105-10 Flatlands and 204-12 Hillside, rendered through the same employees of Metro

 Pain, and involve the same Metro Pain patients. Shapiro appears to operate Tri-Borough Medical

 as a successor entity to Metro Pain to induce insurance carriers, such as the State Farm Companies,

 to remit payment for fraudulent services they would not otherwise pay to Metro Pain. Shapiro

 thus devised Tri-Borough Medical to extend the scheme to defraud insurance companies alleged

 herein as to Metro Pain.

                2.      Alon and the Beshert Network

        152.    Alon’s entity Beshert is a purported “marketing” and “advertising” business, but it

 functions as a referral network among No-Fault providers and attorneys and a source of patients.

        153.    Beshert’s website states its “unique and far-reaching network enables assistance to

 patients of varying medical needs from all geographic locations throughout the New York and

 New Jersey area.” It includes a link titled, “Beshert providers network sign up” that directs visitors

 to its “Membership Application.”        The “application” is titled “Beshert Corp. Participation

 Agreement,” and prominently states Beshert’s slogan at the top: “Your Network Is Your Net

 Worth.” The agreement includes numerous provisions governing patient referrals and requires

 provider-members to exclusively use participant ASCs (i.e., Dynamic Surgery and HealthPlus

 Surgery). For example, the agreement states that, “[i]f a consulting doctor recommends services

 or goods that other Beshert participants provide, Participant agrees to provide the patient with the

 option of obtaining such services or goods first from other Beshert participants.” It also requires

 provider members “to utilize the Beshert preferred providers of goods and services that are part of

 the Beshert Network as the first source for the goods and services needed for their practice.” The

 agreement further governs how providers may refer patients of other Beshert providers, including


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 that the participant “recommend that the patient return to such [referring] participant if they require

 continued care in such specialty, and not recommend or refer such patient to another health care

 provider in such specialty unless the patient requests same in writing.” Member providers who

 perform surgical or special procedures must use “an ambulatory surgical center that is also part of

 the Beshert network,” and if the member provider “subleases any practice office space to other

 providers that are qualified to perform surgical or special procedures, to require such sublessee as

 a term of the sublease to utilize the ambulatory surgical centers in the Beshert network.”

        154.    Based on bills and data available to the State Farm Companies, Beshert members

 have adhered to these provisions in the participation agreement. In particular, numerous Beshert

 providers appear to exclusively perform pain management, orthopedic, and/or chiropractic

 procedures at Excel Surgery, Dynamic Surgery, and HealthPlus Surgery. Those providers also

 referred patients as a matter of course for MRIs at Citimedical, Columbus Imaging, and Medaid

 Radiology. Notably, Shapiro and Metro Pain, Albis and his company Advanced Spinal and

 Rehabilitation Center P.A., and Diana Beynin and her company Spine Care all paid Beshert

 monthly dues as high as $10,000, exclusively used Moshe’s ASCs for their procedures, and

 routinely referred patients for MRIs at other member facilities, including Citimedical, Columbus

 Imaging, and Medaid Radiology.

        155.    Shapiro testified in an EUO on November 5, 2018, that Metro Pain has engaged

 Beshert for purported marketing, advertising, and networking services for the last five years, and

 paid Beshert $10,000 per month for these services. Financial records reflect Metro Pain paid

 Beshert at least $300,000 for purported marketing services rendered in 2017, 2018, and 2019.

        156.    Moshe similarly admitted Dynamic Surgery and HealthPlus Surgery engaged

 Beshert and paid it $100,000 each month for its services ($50,000 per month for each ASC).




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 Moshe also testified there was no written agreement between his ASCs and Beshert, but Beshert

 was prohibited from working with any ASC other than Dynamic Surgery and HealthPlus Surgery

 during the period he engaged its services. Moshe testified: “So, of course, if I’m the client, I would

 not want to use a marketing entity that mark[et]s for more than one surgery center. That defeats

 the purpose.    So I always ask for exclusively [i.e., exclusivity].”        Beshert’s Participation

 Agreement provisions regarding “ambulatory surgical centers in the Beshert network” could thus

 only refer to Dynamic Surgery and HealthPlus Surgery.

        157.    Moreover, Beshert openly advertises on behalf of Dynamic Surgery, HealthPlus

 Surgery, and Citimedical, among others, and lists them as “advertisers” on its website. The Beshert

 website also includes a page called “Meet Our Doctors” that lists physicians who are or were

 Citimedical and Metro Pain employees. It offers for download applications for privileges to

 perform procedures at Dynamic Surgery and HealthPlus Surgery, surgery booking forms, and

 promotes Citimedical’s services, physicians, and brand through its website and at various industry

 events. Beshert also lists Metro Pain physicians under the “Find a Specialist” webpage, including

 Shapiro

        158.    Alon and Beshert collected substantial amounts, provided a source of patients, and

 established a cross-referral arrangement within the network.

                3.      Moshe’s Ownership and Control of Citimedical and the ASC
                        Defendants

        159.    In early 2011, Moshe bought the assets of a two-operating room ASC at 321 Essex

 Street, Hackensack, New Jersey and formed Excel Surgery. As required under New Jersey

 licensing regulations, an ASC must hire a medical director to develop policies and protocols and

 to supervise patient care, and so he hired Dr. Navrajan Kukreja, M.D. (“Kukreja”) to serve as Excel




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 Surgery’s purported medical director. From October 2011 through December 2016, Excel Surgery

 billed for facility fees and anesthesia services for procedures performed at the surgery center.

        160.    By late 2012, Moshe was ready to expand and decided to enlist his sister Dr. Moshe.

 Dr. Moshe obtained a license to practice medicine in New Jersey and New York in March and

 September 2012, respectively. Dr. Moshe completed a residency in internal medicine, but had no

 other specialty, and as of the fall of 2012 never operated a medical practice of any kind on her

 own.   Nevertheless, Dr. Moshe supposedly formed Citimedical I on November 30, 2012.

 Dr. Moshe testified Citimedical I was her first job out of medical school and she had never

 previously worked in a private medical practice. While Dr. Moshe purported to own Citimedical

 I on paper, she admitted her brother Moshe owned three buildings out of which Citimedical

 operated, arranged and paid for construction necessary to prepare one location for operation,

 owned the MRI and CAT equipment used for radiology services, and collected $50,000 each

 month from Citimedical I for rent, equipment leasing, and financing charges. Although Dr. Moshe

 had no experience or certification as a radiologist or in pain management or orthopedics, Dr.

 Moshe created a Citimedical I radiology department, which performed MRIs using the equipment

 owned by Moshe, and hired pain management and orthopedic physicians who began performing

 procedures at Excel Surgery. Moshe and Excel Surgery also arranged and paid for transportation

 of Citimedical patients from New York to New Jersey for their pain management and orthopedic

 procedures.

        161.    Between August 2013 and May 2015, NJDOH investigated a series of complaints

 against Excel Surgery. These investigations concluded Excel Surgery was “not in substantial

 compliance with [New Jersey] Licensing Standards for Ambulatory Care Facilities.” Among other

 things, NJDOH cited Excel Surgery for violations based on Kukreja’s failure to comply with his




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 medical director obligations. Based on these violations, among other things, by late 2015, the NJ

 State Board ordered Kukreja to cease and desist from the practice of medicine. While Kukreja and

 Excel Surgery were under investigation, Moshe replaced Kukreja with Shapiro. At the time,

 Shapiro was also supposedly operating numerous other medical clinics in many different locations

 throughout New York and New Jersey. Nevertheless, beginning in February 2014, Moshe paid

 Shapiro at least approximately $400,000 in salary. NJDOH continued to cite Excel Surgery for

 regulatory violations while under Shapiro’s “direction.”

        162.    While Excel Surgery faced increasing regulatory scrutiny, Moshe reaped

 substantial financial benefits from the procedures performed there. In fact, Excel Surgery’s gross

 charges increased over 100% in two years: from approximately $42,000,000 in 2014 to over

 $86,000,000 in 2016.

        163.    To avoid further regulatory scrutiny, Moshe sought to rebrand Excel Surgery under

 a new name. In particular, Moshe formed Dynamic Surgery in November 2016 as a new legal

 entity, which was at the same 321 Essex Street location. By January 2017, Excel Surgery had

 ceased billing for services and Dynamic Surgery had taken over all billings in its place. Moreover,

 despite Kukreja’s suspension from the practice of medicine, Dynamic Surgery initially identified

 him as its medical director on its website, though by mid-2017, he was replaced by Shapiro.

 Although the name had changed, prior practices continued. Shapiro was still in no position to

 perform his regulatory duties as a medical director because his own professional corporations were

 significantly expanding, and Dynamic Surgery, like Excel Surgery before it, received numerous

 regulatory violations.

        164.    Nevertheless, with demand increasing, in mid-2016 Moshe acquired a second ASC

 located at 190 Midland Avenue in Saddle Brook, New Jersey that would operate as HealthPlus




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 Surgery. Despite the burdens of his growing practice, and his simultaneous role as the purported

 medical director of Dynamic Surgery, Shapiro was again identified as the purported medical

 director of HealthPlus Surgery.

        165.   Shortly thereafter, in late 2016, Moshe also changed his business model for

 administering anesthesia at his surgery centers because payors began to question whether an ASC

 owned by a layperson could bill directly for anesthesia. Rather than employ anesthesiologists to

 administer anesthesia, Moshe shifted the anesthesia services to a new medical entity, Citimed

 Services, which was purportedly owned on paper by his sister, Dr. Moshe. Although Dr. Moshe

 had no specialty or certification in anesthesia, she supposedly formed Citimed Services on

 October 13, 2016 to render anesthesia services at the two ASCs owned and controlled by her

 brother — Dynamic Surgery and HealthPlus Surgery. Citimed Services listed 321 Essex Street on

 its incorporation papers as the address for its Board of Directors — the same address as Dynamic

 Surgery — and 190 Midland Avenue on its bills as the address to which payment should be

 directed — the same address as HealthPlus Surgery. Between January 2017 and mid-July 2018,

 Citimed Services billed for anesthesia services rendered at Dynamic Surgery and HealthPlus

 Surgery.

        166.   In approximately January 2018, Premier Anesthesia began to provide services at

 Hudson Regional. Then, in approximately May 2018, anesthesia services at Dynamic and

 HealthPlus were shifted to Premier Anesthesia, owned at the time by Shapiro. Beginning in

 approximately July 2018, Premier Anesthesia became the exclusive provider of anesthesia services

 at Dynamic Surgery and HealthPlus Surgery.

        167.   Serious and potentially life-threatening conditions continued to plague operations

 at Moshe’s rebranded surgery center, Dynamic Surgery, and the new facility, HealthPlus Surgery.




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 For example, on September 7, 2018, NJDOH ordered HealthPlus Surgery to immediately cease

 operations after an investigation into the facility found that patients treated at HealthPlus Surgery

 may have been exposed to blood-borne pathogens, including hepatitis B, hepatitis C, and HIV as

 a result of the facility’s failure to properly sterilize surgical instruments between procedures. In

 January 2019, a class action was filed against HealthPlus Surgery and Moshe for alleged injuries

 relating to their exposure to the pathogens. In June 2019, Moshe changed the names of the surgery

 centers — thus, Dynamic Surgery became Hackensack Specialty ASC, LLC, and HealthPlus

 Surgery became Integrated Specialty ASC, LLC.

                4.      Moshe’s Financing Arrangements with Shapiro

        168.    Between at least April 2013 and February 2019, Metro Pain entered into a series of

 financing arrangements in which it purported to borrow money secured by its receivables. Among

 these funding arrangements was an agreement dated September 15, 2013, with Moshe’s company

 Med Capital, pursuant to which Med Capital agreed to lend Metro Pain and another Shapiro entity,

 PMR Medical, up to $2.5 million. Pursuant to the revolving loan and security agreement, any

 borrowed amounts would be secured against Metro Pain’s accounts receivable and would accrue

 interest at the rate of 24.99% per annum. Similarly, in December 2017, Metro Pain entered into a

 financing arrangement with Moshe’s long-time friend and business associate Vadim Dolsky and

 his company All Star Services, Inc. Pursuant to that arrangement, Metro Pain could borrow up to

 $5 million secured against Metro Pain’s accounts receivables for NCV and EMG Tests at a

 financing fee of 50% of the borrowed amount. Financing documents contemplated that during the

 pendency of the agreement Metro Pain’s receipts would be deposited into an escrow account under

 the control of a third party who would disburse repayments of the principal and substantial interest

 to All Star Services, Inc. The agreement with All Star Services, Inc. even dictates Metro Pain’s

 cooperation in standard claims handling procedures, including requiring Metro Pain’s appearance,


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 retention of counsel, and designation of specific witnesses to testify at EUOs. Metro Pain’s

 financial records reflect it borrowed from All Star Services, Inc. over $51,000 in 2017, over

 $517,000 in 2018, and over $2,488,014 in 2019.

        169.    As a result of financing arrangements, Shapiro and Metro Pain obtained a financial

 benefit from Moshe and/or Moshe secured significant portions of Metro Pain proceeds providing

 the ability to control and direct Metro Pain’s affairs.

        C.      The Legitimate Treatment of Patients with Strains and Sprains

        170.    Defendants purport to examine, diagnose, and treat patients who have been in motor

 vehicle accidents and complain of neck and back pain.

        171.    For patients who have been in motor vehicle accidents and have complaints of neck

 and back pain, a detailed patient history and a legitimate examination must be performed to arrive

 at a legitimate diagnosis.

        172.    Based upon a legitimate diagnosis, a licensed professional must engage in medical

 decision-making to design a legitimate treatment plan tailored to the unique circumstances of each

 patient. During the course of treatment, treatment plans should be modified based upon the unique

 circumstances of each patient and their response (or lack thereof) to treatment.

        173.    Legitimate treatment plans for patients with strains and sprains may involve no

 treatment at all because many of these kinds of injuries heal without any intervention, or a variety

 of interventions including medications to reduce inflammation and relieve pain, passive

 modalities, and active modalities.

        174.    Passive modalities do not require any affirmative effort or movement by patients.

 There are many kinds of passive modalities including hot and cold packs, ultrasound, diathermy,

 manual therapy, massage, and traction.        Active modalities require patients to affirmatively




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 participate in their treatment and include many different kinds of stretching, exercising, and

 strengthening therapies.

        175.    In legitimate treatment plans, active modalities are necessary to rehabilitate and

 heal soft-tissue injuries, while passive modalities are typically used only to the extent necessary to

 reduce pain and to facilitate the patient’s ability to perform active modalities, which should be

 introduced into a patient’s treatment plan as soon as practicable.

        176.    While one or more passive modalities may be appropriate on any particular visit to

 reduce pain and facilitate the patient’s ability to perform active modalities, the same combination

 of passive modalities on nearly every visit regardless of whether the patient improved would rarely

 be appropriate for one patient, let alone almost every patient, on almost every visit.

        177.    The decision of which, if any, types of treatment are appropriate for each patient,

 as well as the level, frequency, and duration of the various treatments, should vary depending on

 the unique circumstances of each patient, including: (a) the patient’s age, social, family, and

 medical history; (b) the patient’s physical condition, limitations, and abilities; (c) the location,

 nature, and severity of the patient’s injury and symptoms; and (d) the patient’s response to

 treatment.

        178.    Treatment plans should be periodically reassessed and modified based upon the

 progress of the patient, or the lack thereof.

        179.    Patients should be discharged from treatment when they have reached maximum

 medical improvement, such that no further treatment is likely to benefit the patient.

        180.    The above-described process of examination, diagnosis, and treatment must be

 documented for the benefit of: (a) the licensed professionals involved in the patient’s care;

 (b) other licensed professionals who may treat the patient contemporaneously or subsequently;




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 (c) the patients themselves whose care and condition necessarily depends on the documentation of

 this information; and (d) payers such as State Farm Mutual and State Farm Fire so that they can

 pay for reasonable and necessary treatment.

        D.       Defendants’ Predetermined Treatment Protocol

        181.     At each of the locations at which Metro Pain became the gatekeeper, including 105-

 10 Flatlands, 204-12 Hillside, 717 Southern, and 2451 E. Tremont, Metro Pain controlled not only

 the space, but the patients. Metro Pain determined what care patients would receive and who

 would provide it based on payments from the providers. As a result, patients were subjected to a

 Predetermined Treatment Protocol designed to exploit patients’ No-Fault Benefits and enrich

 Defendants, not to legitimately treat patients according to their true needs. As detailed below, the

 Predetermined     Treatment    Protocol   includes   medically    unnecessary     and   fraudulent:

 (1) examinations performed by Metro Pain purportedly to determine patient conditions, but that

 in fact report similar findings to justify unnecessary services and treatment; (2) treatment plans

 including physical therapy, chiropractic care, and acupuncture rendered by providers who have

 financial arrangements with Metro Pain; (3) physical therapy examinations and treatment;

 (4) chiropractic examinations and treatment; (5) acupuncture examinations and treatment;

 (6) MRIs by providers either owned by Alon or secretly owned and controlled by Moshe;

 (7) Supplies; (8) diagnostic tests, including Outcome Assessment Tests, NCV and EMG Tests,

 ROM tests, muscle tests, functional capacity tests, and Pf-NCS Tests; (9) prescription gels and

 patches; and (10) for some patients, pain management and orthopedic consultations followed by

 procedures performed by Metro Pain at the ASC Defendants in New Jersey.

        182.     The medically unnecessary treatment often continues for months without

 improvement or resolution. In instances in which records for patients treated at 105-10 Flatlands,

 204-12 Hillside, 717 Southern, and 2451 E. Tremont contain references to discharges they indicate


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 at least one of the following: (a) patients decided to stop treating; (b) patients exhausted their No-

 Fault Benefits; (c) patients purportedly reached maximum medical improvement based on findings

 that were inconsistent with other, contemporaneously generated medical reports regarding those

 patients’ conditions; (d) patients continuing to undergo treatment even after the date of the

 purported discharge; or (e) patients whose treatment ended after one of the State Farm Companies

 requested an EUO or attempted in some other way to verify the medical necessity of the patient’s

 treatment.

        183.    Treatment and the number and selection of modalities reflect an intention to

 maximize the amount that can be collected and to exploit the New York fee schedule governing

 No-Fault claims. The New York fee schedule imposes limits on the amount of physical therapy,

 chiropractic, and acupuncture treatment that can be provided to a patient on any single date of

 service. Under the New York fee schedule, certain medical services are assigned “relative values.”

 During the period in effect prior to October 1, 2020, a provider could not bill for more than eight

 “relative units” of identified physical therapy modalities and chiropractic manipulations for an

 individual patient on a single date of service. Beginning October 1, 2020, changes to the No-Fault

 fee schedule became effective that (a) raised the maximum relative value units that could be billed

 for an individual patient on a single date for specific services to 12 (excluding office visits);

 (b) added acupuncture services to the 12-unit cap on any single date; and (c) explicitly provided

 the 12-unit cap applied to covered services rendered by all providers combined on any single date

 (i.e., physicians, physical therapists, chiropractors, and acupuncturists). The modalities provided

 by Defendants allowed them to bill for the permissible relative units per day, bill for additional

 services not subject to those limitations, and simultaneously exploit patients’ No-Fault Benefits.




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         184.     In a legitimate medical setting, healthcare providers rendering treatment to the same

 patient would coordinate patient care according to each patient’s response to treatment and unique

 circumstances. Although Metro Pain patients receive physical therapy, chiropractic care, and

 acupuncture from different Defendants in the same location on the same visit, there is no record

 provided to the State Farm Companies of communications among the professionals rendering these

 services or an attempt to coordinate their treatment.

                  1.       Metro Pain’s Examinations and Treatment Plans

         185.     As the gatekeeper who granted access to patients in exchange for payments, Metro

 Pain’s initial step in treating patients was to conduct examinations and formulate treatment plans

 that could be used to justify additional treatment and services from providers who had paid Metro

 Pain for access to patients. Metro Pain performed these services at 105-10 Flatlands from

 approximately December 1, 2017 through the present; 204-12 Hillside from approximately

 December 1, 2017 through the present; 717 Southern from approximately November 1, 2016

 through October 31, 2019; and 2451 E. Tremont from approximately November 1, 2016 through

 July 19, 2019. 3 Metro Pain’s services were billed to State Farm Mutual or State Farm Fire.

         186.     Metro Pain and the physicians and physician assistants with whom it is associated

 purport to conduct legitimate examinations. These examinations diagnose patients with sprains or

 strains in the cervical and/or lumbar regions of the spine as well as other conditions. Based on

 these predetermined diagnoses, Metro Pain usually concludes patients require the Predetermined

 Treatment Protocol — a treatment plan that includes at least physical therapy, chiropractic care,




 3
   Beginning in May 2021, Shapiro began to submit bills through Tri-Borough Medical. Patients whose treatment
 transitioned from Metro Pain to Tri-Borough Medical testified to having no knowledge of the change in professional
 corporations rendering their care.



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 acupuncture, MRIs, Supplies, diagnostic tests, prescription drugs, as well as referrals for pain

 management and orthopedic consultations.

        187.    Metro Pain’s documentation of examinations, diagnoses, and treatment plans is not

 credible and is fraudulent. While initial examination reports and related documentation vary

 slightly among Metro Pain locations, there are significant similarities among the reports. Initial

 examination reports (the “Initial Examination Reports”) are template preprinted forms in which an

 examining physician can underline or circle preprinted items or enter information in a blank space

 to record a specific finding or conclusion. Recorded information is cursory and includes template

 histories and general nonspecific diagnoses. The Initial Examination Reports generally find

 patients present with the following complaints: (a) neck pain; (b) low back pain; (c) pain in an

 upper or lower extremity, such as the shoulder or knee; and (d) pain of “7” or higher on a scale of

 1 to 10. See Ex. 1 (patient survey).

        188.    Based on findings and diagnoses in the Initial Examination Reports, Metro Pain

 subjects its patients to identical treatment plans. These treatment plans are sometimes described

 in the Initial Examination Reports themselves. For example, Metro Pain physicians at 105-10

 Flatlands generally handwrite on Initial Examination Reports the treatment plan, “Start

 Conservative Management” of “3 to 4 times a wk x 4 wks,” and place checkmarks next to

 preprinted Supplies and medications prescribed. See, e.g., Ex. 2A. At 204-12 Hillside, Metro Pain

 uses Initial Examination Reports that include a checklist “Diagnostic and Treatment Plan” with

 listings that physicians can and do check for MRIs, “Start/Continue physical therapy,”

 “Chiropractic Evaluation Recommended,” “Acupuncture evaluation recommended,” “Range of

 Motion and Muscle strength test to determine and monitor progress or dysfunction,” “FCE

 [functional capacity evaluation test] to determine patient’s degree of disability and readiness to




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 return to work,” “CPT tests,” and “VSNCT tests.” See, e.g., Ex. 2B. Metro Pain’s Initial

 Examination Reports for 2451 E. Tremont include a list of up to 16 items physicians can and do

 check to formulate a treatment plan, including a physical therapy and rehabilitation program with

 specific modalities, MRIs, ROM and muscle tests, acupuncture, chiropractic, functional capacity

 tests, and a list of Supplies that can be ordered. See, e.g., Ex. 2C. At 717 Southern, Metro Pain

 uses Initial Examination Reports that include a similar checklist involving physical therapy, pain

 consultation, neurological consultation, chiropractic, acupuncture, MRI, ROM and muscle tests,

 functional capacity test, and a list of Supplies that can be ordered. See, e.g., Ex. 2D.

        189.    On other occasions, Metro Pain prepares separate documents ordering specific

 services, such as physical therapy referral forms, orders for Supplies or medications, or referrals

 for additional testing such as computerized ROM and muscle strength testing. See, e.g., Exs. 3–6.

 On some occasions, Metro Pain documentation may not specify or refer to a particular service or

 treatment, but the patient still receives the same services from providers located at the address at

 which Metro Pain performed its examination.

        190.    Regardless of the form of the documentation, Metro Pain’s patients are generally

 subjected to a treatment plan that includes at least physical therapy, chiropractic care, acupuncture,

 MRIs of at least two or more regions, and Supplies, and very often diagnostic testing, including

 NCV and EMG Tests, computerized ROM and muscle tests, functional capacity tests, and Pf-NCS

 Tests; commonly prescribed medications; as well as consultations for pain management and

 orthopedic treatment. See Ex. 1.

        191.    As Shapiro admits, “I think most patients receive the same treatment plan because

 most of these patients have the same problems and the same diagnosis . . . . All these patients you

 see the same treatment for the same diagnosis.”




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        192.    Approximately four weeks after initial examinations, Metro Pain purportedly

 performs follow-up examinations.      Like initial examinations, these follow-up examinations

 involve, at most, cursory examinations of patients — the purpose of which appears to be supporting

 the continuation of the Predetermined Treatment Protocol — and are documented using preprinted

 forms (the “Follow-Up Reports”). While some Follow-Up Reports purport to comment on MRI

 results, there is no reported indication of a change in treatment based on these studies or that

 findings are communicated to other providers involved in the treatment.

        193.    The Follow-Up Reports, regardless of the patient’s documented clinical status at

 the time of the follow-up examination, regularly order the continuation of physical therapy,

 chiropractic care, acupuncture, and often additional services, including additional diagnostic

 testing, additional Supplies, and pain management and orthopedic consultations. See, e.g., Ex. 7.

 Follow-Up Reports for three of the four locations include lists of Supplies and medications that

 can be and are ordered, as well as identical typed language to describe the continuation of a

 treatment plan:

        Given the extent of the continued symptoms and physical therapy finding, I have
        advised patient to continue Physical Therapy at the frequency of ____ times per
        week with goals to decrease muscle spasm/hypertonicity/pain and soft tissue
        inflammation, and to improve mobility and function.

 See, e.g., Exs. 7.A, 7.C., 7.D.

                2.      Physical Therapy Treatment

        194.    Metro Pain orders physical therapy as part of its treatment plan, which the Physical

 Therapy Defendants then perform and bill to the State Farm Companies.

        195.    Metro Pain refers patients for physical therapy treatment on the date of the initial

 examination using the Initial Examination Report and/or through a preprinted physical therapy

 referral form (“Physical Therapy Referral Forms”). See, e.g., Exs. 2–3. Although the Physical



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 Therapy Referral Forms used at 105-10 Flatlands, 204-12 Hillside, 717 Southern, and 2451 E.

 Tremont differ slightly, they share significant characteristics. All such forms state “Metro Pain

 Specialists PC” in the header, identify the address at which a patient is receiving care, and list

 physical therapy modalities the physician may recommend by checking or circling entries on the

 form. See, e.g., Ex. 3. Depending on the form used, the list of treatments includes between 15 and

 24 options. See, e.g., id. Metro Pain physicians or physician assistants choose a significant number

 of treatment options, sometimes as many as 17, and recommend patients receive such treatment

 three or more times per week for between four and six weeks. See, e.g., id. In Follow-Up Reports,

 regardless of the patient’s documented complaints, symptoms, or noted improvement, Metro Pain

 recommends physical therapy continue for at least another three to four weeks. See, e.g., Ex. 7.

        196.    The physical therapy treatment patients purportedly receive at 105-10 Flatlands,

 204-12 Hillside, 717 Southern, and 2451 E. Tremont follows a predetermined plan. Nearly every

 patient is subjected to the same physical therapy services purportedly performed on nearly every

 visit: application of hot and cold packs, electronic muscle stimulation, and either therapeutic

 massage or manual therapy. See Exs. 8-11. Some patients sometimes also receive therapeutic

 exercise either in addition to or in lieu of other physical therapy treatment. These modalities

 generally do not change regardless of whether patients purportedly improve or get worse.

 Performing physical therapy in this way is not intended to benefit the patients but to maximize the

 amount charged. While any one of these treatments may conceivably be medically necessary for

 a particular patient on a particular day, the aggregate combination of treatments is seldom, if ever,

 medically necessary for any patient on any day, let alone for every patient on almost every visit.

 At a minimum, in a legitimate setting, treatment should vary among patients or vary for particular

 patients over the course of care depending on how particular patients improve or worsen.




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        197.    Moreover, the physical therapy treatment provided to Metro Pain patients consists

 of predominately passive modalities. In a legitimate treatment plan, passive modalities are

 typically used only to the extent necessary to reduce pain and to facilitate the patient’s ability to

 perform active therapies, which should be introduced into a patient’s treatment as soon as

 practicable. But three of the four therapies provided to Metro Pain patients are passive, with the

 only active therapy consisting of therapeutic exercise provided to some patients on some visits.

 Even when therapeutic exercise is purportedly provided, records do not indicate what exercises

 are provided, how long the exercises are performed, or the patients’ response in any meaningful

 way.

        198.    As discussed above in Paragraph 183, the New York fee schedule imposes limits

 on the amount of physical therapy and chiropractic treatment that can be provided to a patient on

 any single date of service. To exploit patients’ No-Fault Benefits to the greatest extent possible,

 while seeking to avoid the limitations imposed by the fee schedule, the Physical Therapy

 Defendants provided particular physical therapy modalities because that combination of modalities

 allowed each provider to bill for close to eight relative units per day. For example, the total relative

 value of the hot and cold packs, electronic muscle stimulation, and therapeutic massage the

 Physical Therapy Defendants provided is 7.65. When manual therapy is substituted for therapeutic

 massage, the relative value increases to 9.26. During the period prior to October 1, 2020, the total

 relative value units a provider could bill was 8; on and after October 1, 2020, the cap was 12, but

 new rules explicitly provided the 12-unit cap applied to covered services rendered by all providers

 on any single date, including both physical therapists and chiropractors. Modalities were provided

 to maximize the amount that could be billed to any one patient on any one day. Prior to October

 1, 2020, the Physical Therapy Defendants billed close to the 8 relative value units allowed. After




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 October 1, 2020, the Physical Therapy Defendants continued to provide the same pre-determined

 physical therapy protocol, but because all services rendered on the same day including chiropractic

 services now counted towards the cap, chiropractors reduced the treatment they provided in some

 cases to between 4 and 6 relative value units per day, and in other cases chiropractors no longer

 billed. While treatment records contain no indication care was coordinated or discussed among

 professionals, or that a reduction or even elimination of chiropractic care was medically

 appropriate, after October 1, 2020, physical therapy and chiropractic services appear to have

 provided a pre-determined protocol representing less than the 12 relative value units allowed per

 day. In other words, treatment was dictated by providers’ financial interest in what they could bill,

 rather than the needs of any patient.

        199.    To support the physical therapy provided and billed, physical therapists working

 for the Physical Therapy Defendants create reports of purported examinations and purport to

 document daily notes. Both examination reports and daily notes are form documents that are not

 credible and reflect patient complaints and treatment manufactured to support further treatment.

 The documents consist of preprinted forms with checkboxes that lack any meaningful description

 of treatment, such as the location of the body where hot packs were applied or massages provided.

 For example, Defendant Handy PT and Physical Therapy of NY PT operated at 105-10 Flatlands

 and 204-12 Hillside, respectively.       However, the forms each used to document patient

 examinations are entirely typewritten and contain the same fields to be completed, including

 “Problem List,” “Short Term Goals,” “Long Term Goals,” and “Plan of Care.” The purported

 “problem list” and “goals” identified on these forms generally remain unchanged during a patient’s

 course of treatment and, in some instances, the forms state at the end the “Note has not been

 signed.”




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                3.      Chiropractic Treatment

        200.    Chiropractic care is provided to every Metro Pain patient as part of the

 Predetermined Treatment Protocol.

        201.    The predetermined chiropractic treatment patients purportedly receive is virtually

 identical. Patients receive chiropractic manipulations of the spine, most frequently for three to

 four spinal regions, but sometimes five spinal regions, and often either manual therapy or

 therapeutic massage. See Exs. 8–11. This combination of treatments is identical and does not

 change regardless of whether the patient improves or gets worse. Metro Pain patients receive these

 chiropractic manipulations three to four times per week.

        202.    Among other things, the number and selection of modalities reflects an intention to

 maximize the amount collected and exploit the applicable fee schedule governing No-Fault claims.

 As discussed above in Paragraph 183, the New York fee schedule imposes limits on the amount

 of physical therapy and chiropractic treatment that can be provided to a patient on any single date

 of service. To exploit patients’ No-Fault Benefits to the greatest extent possible, while seeking to

 avoid the limitations imposed by the fee schedule, prior to October 1, 2020, the Chiropractor

 Defendants provided modalities with a total relative value of either 8.62 or 8.89, depending on

 whether manual therapy or therapeutic massage was rendered in combination with three-to-four

 region chiropractic manipulation. Thus the modalities represented slightly more than could be

 billed for any one patient on any one day. Patients were often subjected on the same day to physical

 therapy services and to chiropractic manipulations, and although all such treatment should have

 been limited to a total of eight units per day, Defendants billed the physical therapy and

 chiropractic care separately to maximize the amount billed while hiding the fact excessive

 treatment was provided. As discussed above, on and after October 1, 2020, the cap on relative

 value units was increased to 12, but new rules explicitly applied that cap to all covered services


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 rendered by all providers on any single date and the Physical Therapy Defendants were continuing

 to provide close to 8 relative value units of treatment to patients. Accordingly, on and after October

 1, 2020, at the two addresses which continued to operate, chiropractors at 105-10 Flatlands stopped

 treating patients, and chiropractors at 204-12 Hillside rendered only one-to-two region or three-to-

 four region chiropractic manipulations with a total relative value of either 4.57 or 6. Thus,

 chiropractic treatment changed not because of any individualized health care decision about what

 would be in the best interests of the patients, but because Defendants designed a protocol to deliver

 under the 12 relative value units allowed and between them maximize the amount charged per

 patient.

            203.   To support the chiropractic treatment provided and billed, the Chiropractor

 Defendants create initial examination reports, purportedly documenting initial examinations

 (“Chiropractic Initial Reports”), and daily chiropractic progress or treatment notes (“Chiropractic

 Daily Notes”). Both the Chiropractic Initial Reports and Chiropractic Daily Notes are form

 documents that are not credible and reflect patient complaints and treatment manufactured to

 support further treatment.

            204.   Chiropractic Initial Reports reflect: (a) complaints of pain in the cervical, thoracic,

 and lumber spine; (b) pain levels that are either not recorded or reported as 6 or higher on a scale

 of 1 to 10; (c) positive findings on at least one of a variety of orthopedic tests; and (d) patients’

 prognosis as guarded. See, e.g., Ex. 12. Based upon these purported histories, examinations, and

 findings, Chiropractic Initial Reports record diagnoses of multiple spinal conditions, including

 sprains in the cervical, thoracic, and/or lumbar regions of the spine, muscle spasms, and/or

 segmented joint dysfunction in one or more spinal regions. See, e.g., id. These findings that




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 patients purportedly suffer from conditions in so many regions serve to justify more extensive

 manipulations for which Defendants can submit a higher charge under the applicable fee schedule.

         205.     Chiropractic Initial Reports also contain a preprinted treatment plan with either a

 boilerplate narrative description of the treatment plan or a limited number of treatment “options”

 that can be checked. Notably, although Chiropractor Defendants Kings Wellness Chiropractic,

 All About Chiropractic, J Park Chiropractic, and AOT Chiropractic treat patients at different

 locations (i.e., 105-10 Flatlands, 204-12 Hillside, and 2451 E. Tremont), their Chiropractic Initial

 Reports include the identical boilerplate treatment plan, which states verbatim:

         Chiropractic Manipulation (CMT) is a form of manual treatment that influences
         joints and neurological function. This treatment may be accomplished using a
         variety of techniques. Treatment will be consisted [sic] of gentle chiropractic
         manipulation to the appropriate parts of the spine. Various soft tissue techniques
         such as ischemic compression to myofascial trigger point, stretching and manual
         release therapy will be utilized. The frequency of treatment will be modified as
         appropriate. Chiropractic manipulative therapy places emphasis on a correction of
         the joint segmental dysfunction of vertebra, which are resistant to normal segmental
         joint motion. This treatment protocol has been proven to be effective in eventual
         correction of intercasesus disrelationships to remove nerve interference and restore
         function. No other discipline renders this treatment.

 See, e.g., id.

         206.     Chiropractic Daily Notes purport to reflect chiropractic manipulations provided to

 each patient and assessments of the patients’ conditions; but, at most, they reflect cursory

 evaluations of patients. Chiropractic Daily Notes consist of pre-typed worksheets with spaces to

 circle findings and treatment rendered. See Ex. 13. Most of the Chiropractor Defendants’

 Chiropractic Daily Notes report on each visit patients’ complaints of neck pain, upper or mid back

 pain, and low back pain and that the patients present with purported objective findings, including

 misalignment, tenderness, and/or spasms in multiple regions of the spine. AOT Chiropractic’s

 notes do not even document patient complaints or other findings, recording only the treatment




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 rendered and the spinal segments treated. See Ex. 13C. While a variety of potential chiropractic

 manipulation options and techniques are potentially available in a legitimate setting, the

 Chiropractor Defendants’ documentation does not describe the kind of chiropractic manipulations

 purportedly provided, and thus does not indicate there is any variation in the time, frequency, or

 type of chiropractic manipulations regardless of whether the patients improve or get worse.

                  4.       Acupuncture Treatment

        207.      The Acupuncture Defendants purport to perform acupuncture treatment on most

 Metro Pain patients on the same days the patients also receive physical therapy and chiropractic

 manipulations.        This acupuncture treatment is medically unnecessary and not legitimately

 provided.

        208.      Acupuncture services are premised upon the theory there are 12 primary meridians

 with matching sinew channels and 10 extraordinary meridians (“the Meridians”) in the human

 body through which energy flows. Under the principles of acupuncture or Chinese medicine, every

 individual has a unique energy flow, also referred to as “Chi.” When that Chi becomes disrupted

 or imbalanced for any reason (such as trauma), needles can be inserted or pressure can be applied

 to very specific points (“Acupuncture Points”) along the Meridians to remove the disruption or

 imbalance and thereby restore the patient’s Chi.

        209.      Legitimate acupuncture treatment begins with an examination of the patient. In

 addition to taking a detailed patient history and general medical history, a physical examination is

 also performed. Two critical components of this examination are the appearance of the patient’s

 tongue (i.e., color, shape, texture, etc.) including the veins underneath the tongue, and various

 measurements of the patient’s pulse (i.e., rate, rhythm, strength, etc.). The information gleaned

 from the physical examination is necessary to accurately diagnose the patient and determine an




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 individualized acupuncture treatment plan designed to benefit the patient by restoring their unique

 Chi.

         210.    Next, a patient-specific acupuncture treatment plan is developed. This generally

 requires the insertion of needles into particular Acupuncture Points along the Meridians. There

 are over 360 Meridian Acupuncture Points, numerous “extra” points, and countless “Ah Shi”

 points from which an acupuncturist may choose. Ah Shi points can only be detected by touch and

 palpation, often feel like a pea-size nodule under the skin, and are treated similarly to an

 Acupuncture Point. The location of Ah Shi points will necessarily vary from patient to patient and

 can often vary in a single patient over the course of multiple visits. This requires the practitioner

 to conduct a thorough examination and to properly document the location of the Ah Shi points in

 the particular patient. Any legitimate acupuncture treatment plan should typically include local

 points at the injury sites, proximal points (i.e., near the affected areas of the involved Meridian(s)),

 distal Acupuncture Points (i.e., distant from the affected areas of the involved Meridian(s)), and

 also address any Ah Shi points.

         211.    Finally, an acupuncture treatment plan is implemented.            Treatment involves

 insertion of generally 10, but more typically 20 or more acupuncture needles, for a minimum of

 approximately 20 minutes into each of the selected Acupuncture Points. The number and location

 of the Acupuncture Points generally varies based on each patient’s unique circumstances and the

 patient’s documented therapeutic response to each prior acupuncture treatment. Generally, more

 severe conditions are treated with greater frequency and more Acupuncture Points. As patients

 improve, treatment frequency and the number of points used should decrease.

         212.    The goal of legitimate acupuncture treatment is to effectively treat and benefit

 patients by restoring their unique Chi, relieving symptoms, and returning them to normal activity.




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 Legitimate acupuncture therapy requires continuous assessment of the patient’s condition and

 energy flow, as well as the therapeutic effect of previous treatments. Acupuncture treatment plans,

 like most treatments, are fluid and should evolve over time as a patient responds to care. The goal

 of any legitimate acupuncture treatment plan is to return the patient to maximum health by

 restoring his or her unique Chi.

        213.      The Acupuncture Defendants’ protocol treatment does not comport with any of the

 above basic tenets of legitimate acupuncture treatment. Rather, it consists of inserting needles and

 cupping in an assembly line fashion and is not designed to effectively treat or otherwise benefit

 patients. As such, the acupuncture services are not medically necessary, but rather are designed

 to enrich the Acupuncture Defendants through the submission of fraudulent charges.

        214.      Patients receive the same acupuncture treatment regardless of their condition or

 complaints. On virtually every visit, charges include two units of acupuncture, plus codes

 reflecting cupping. Patients treated at 2451 E. Tremont also typically receive infrared therapy.

 See Exs. 8-11.

        215.      Acupuncture involving the insertion of needles is typically billed under a

 combination of CPT Codes that include either 97810 and 97811 (treatment without electronic

 stimulation) or 97813 and 97814 (treatment with electronic stimulation). The New York fee

 schedule limits reimbursement for this treatment to one charge for the first 15 minutes of treatment

 and a second charge for the next 15 minutes of treatment, respectively, regardless of the number

 of needles inserted. Charges for two units of acupuncture therapy on virtually every visit indicate

 the areas into which needles were inserted could not both be done during a single 15-minute

 interval and that a second 15-minute interval is required to insert new needles. However,




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 examination reports and treatment notes provide no explanation for needing to reinsert needles,

 and it is improbable that virtually every patient would require reinsertion.

         216.     Another component of the Acupuncture Defendants’ fraudulent acupuncture

 treatment is “cupping.” Cupping involves the application of suction to the skin using a small,

 open-mouth vacuum, jar, “cup,” or pneumatic device to create a vacuum over the skin. Cupping

 is premised on the theory that suction at appropriate locations removes pain-inducing stagnant

 blood by bringing it to the surface. During cupping, the cup is usually applied to the lower back,

 shoulders and neck, and then left on the skin for about 10 minutes. While cupping may be

 appropriate for some patients in some circumstances, in a legitimate acupuncture setting it is

 performed infrequently as it usually produces noticeably visible bruises or welts on the skin. Also,

 due to the high likelihood of bruising, cupping is generally contraindicated for people who bruise

 easily or are obese. Moreover, even when cupping is indicated, it should not be repeated on the

 same patient regularly and it would be highly unusual to include cupping as part of each

 acupuncture session.      Contrary to legitimate uses of cupping, however, the Acupuncture

 Defendants performed cupping for most acupuncture patients on most dates acupuncture is

 provided. See Exs. 8–11. In some cases, cupping was the only acupuncture service provided. See,

 e.g., Ex. 14.

         217.     The Acupuncture Defendants’ documentation provides no justification for cupping

 or any explanation as to why it is being used as opposed to, or in addition to, routine acupuncture.

 There is also no indication anyone inquires whether a patient would bruise easily or considers

 whether patients’ weight or body characteristics might render them inappropriate candidates for

 the procedure.




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        218.    Among the reasons the Acupuncture Defendants administered cupping and did so

 with such frequency is because they know cupping is not a listed treatment modality under the fee

 schedule applicable to New York No-Fault claims. The Acupuncture Defendants billed for

 cupping under CPT Code 97799 as an unlisted physical medicine or rehabilitation service or

 procedure, which enables the Acupuncture Defendants to set their own reimbursement charges,

 increase the amount they charge on a daily visit, and circumvent the fee schedules applicable to

 more common acupuncture treatments.

        219.    Contrary to legitimate treatment, the frequency with which the Acupuncture

 Defendants render acupuncture treatment does not change or diminish over the course of care, with

 patients consistently receiving treatment two to three days per week. Acupuncture treatment is

 also consistently provided on the same dates as physical therapy and chiropractic care.

        220.    To support the acupuncture treatment provided and billed, the Acupuncture

 Defendants create initial examination reports, purportedly documenting initial examinations, and

 daily treatment or SOAP notes, purportedly documenting treatment provided. Both the initial

 examination reports and daily notes are form documents, are not credible, and reflect patient

 complaints manufactured to support treatment. Initial examination reports indicate: (a) patients

 present with neck and/or back pain and pain in another region of the body; (b) patients diagnosed

 with Qi-blood stagnation or obstruction, and in some instances the diagnosis is preprinted on the

 boilerplate form, even though this diagnosis is so general as to be of almost no clinical value; and,

 in some instances, (c) in preprinted, boilerplate language that the injuries reported during the

 examination, including Qi-blood stagnation, were caused by the motor vehicle accident. See, e.g.,

 Ex. 15. Daily treatment notes indicate: (a) patients presenting with pain, tenderness, stiffness,

 and/or spasms in their cervical and/or lumbar spine; (b) despite the importance of tongue




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 characteristics and pulse in evaluating a patient’s condition and Qi, no mention of the condition of

 the tongue or pulse; and, (c) when recorded, patients’ response to treatment is designated by no

 more than a checked box with no discussion of patients’ conditions or responses. See, e.g., Ex. 16.

        221.    Amendments to the New York fee schedule effective October 1, 2020, substantially

 limited the services for which acupuncturists were entitled to reimbursement. First, the amended

 fee schedule eliminated acupuncturists’ ability to receive reimbursement for any services other

 than patient examinations and needle treatment with or without electronic stimulation.

 Acupuncturists could therefore bill for only four services after October 1, 2020. Moreover, the

 amendments expressly included acupuncture services within the daily limitation on relative values

 billable for a patient on a single date of service, further restricting the scope and extent to which

 physical therapists, chiropractors, and acupuncturists could treat the same patient on the same date.

 So while acupuncture was claimed to be a necessary component of treatment when it did not count

 against the daily limitation on relative value units, by October 2020, Metro Pain patients ceased

 receiving acupuncture services altogether.

                5.      MRI Testing

        222.    Another component of Defendants’ scheme is that Metro Pain refers virtually every

 patient who receives more than one office visit for MRIs. Based on the financial arrangements

 and relationships between and among Shapiro, Alon, and Moshe, a majority of the MRIs for

 patients of 105-10 Flatlands, 204-12 Hillside, 717 Southern, and 2451 E. Tremont are performed

 by Alon’s Columbus Imaging and Medaid Radiology or Moshe’s lay-controlled Citimedical I.

 Such MRIs are medically unnecessary, almost always involve two or more regions, do not lead to

 an alteration in treatment, and are expensive, typically from $631.02 to $936.23 per MRI.

        223.    MRI is an imaging technique that can produce high-quality images of the muscle,

 bone, tissue, and nerves inside the human body. MRIs can be used following automobile accidents


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 to diagnose abnormalities in the peripheral nerves and nerve roots through images of the nerves,

 nerve roots, and surrounding areas. MRIs should only be performed after an individualized

 determination is made on each patient that it is medically necessary. For example, MRIs may be

 ordered when a patient’s diagnostic picture is particularly unclear, response to treatment is atypical

 or not significant, or there are legitimate concerns about structural damage or internal injuries to

 the patient. Additionally, one primary purpose of obtaining an MRI is to guide treatment decisions.

 When MRIs are ordered, they should be limited to the targeted body part or area of interest, as the

 findings would affect treatment decisions. It is thus typically inappropriate to order MRIs on

 multiple regions of the spine, particularly for injuries sustained in automobile accidents.

        224.    When MRIs are clinically indicated and ordered, the prescribing provider should

 evaluate the significance of the MRI interpretations and incorporate those findings into ongoing

 diagnoses and future treatment plans. Prescribing providers should seek clinical corroboration as

 to whether any of the identified abnormalities in the MRI interpretations are symptomatic and/or

 present any clinical significance to the patient.       For instance, it is well-established most

 abnormalities identified by MRIs have no clinical significance, result in no identified symptoms

 for the patient, and are related to patients’ normal aging process or are of a historical nature and

 have no correlation with any acute injury. As a result, it is important for the health care

 professional treating a patient for an acute injury to differentially determine which, if any,

 abnormalities identified by MRIs may be related to the presenting symptoms and/or any acute

 injury, and then to factor that information into the differential diagnosis and future treatment plan.

        225.    Metro Pain’s patients routinely received MRIs within 60 days of their motor vehicle

 accidents. The only Metro Pain patients who do not receive MRI testing had either (a) already




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 been referred for MRI testing by a provider prior to treating with Metro Pain; (b) were aged 14 or

 younger; or (c) received only a single office visit with Metro Pain.

        226.    The MRI Defendants perform MRIs on at least two regions for virtually every

 patient. See Ex. 17. Regardless of the MRI findings, Defendants’ treatment of patients does not

 change. After receiving MRIs, patients continue with the same Predetermined Treatment Protocol

 in place before the MRIs were ordered.

        227.    The MRIs are not medically necessary because (a) Defendants do not alter

 treatment based on the MRI findings; (b) it is improbable so many patients required an MRI; and

 (c) even if every patient required an MRI, it is improbable virtually every MRI patient required an

 MRI of at least two regions of the spine and/or extremities.

        228.    The MRIs performed by the MRI Defendants are not only unnecessary, but the

 result of improper relationships and arrangements between and among Shapiro, Alon, and Moshe.

 Metro Pain and Shapiro were members of Alon’s “Beshert network,” pursuant to which providers

 sent patients to other members and would have obtained patients through Beshert’s “marketing”

 and “advertising,” which amounted to solicitation of No-Fault patients.          As discussed in

 Paragraphs 152 to 158, Metro Pain paid Beshert $10,000 each month presumably to acquire

 patients and, while Metro Pain financial records indicate it paid Beshert different amounts in

 different years, the records reflect payments of at least $300,000 over three years from 2017 to

 2019. Participation in the “network” and access to patients almost certainly required Metro Pain

 to send patients to the MRI Defendants. Shapiro and Metro Pain were similarly incentivized to

 send patients to Moshe’s Citimedical I. Moshe paid Shapiro at least $400,000 in salary for a job

 at Excel Surgery, paid Shapiro for similar medical directorships at Dynamic Surgery and

 HealthPlus Surgery, gave Shapiro’s Premier Anesthesia and PMR Medical primary, if not




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 exclusive, rights to perform and bill for anesthesia at Moshe’s ASCs, paid Shapiro through Citimed

 Services at least $74,000, and loaned Metro Pain $2.5 million against its receivables.

        229.    Metro Pain’s referrals of patients to the MRI Defendants were thus the result of

 (a) a kickback relationship between Moshe, Alon, Beshert, and Shapiro pursuant to which Metro

 Pain obtained access to patients in exchange for an agreement to refer patients to the MRI

 Defendants; and (b) a kickback relationship pursuant to which Moshe compensated Shapiro in

 exchange for patient referrals to the MRI Defendants. Based on such financial arrangements, the

 MRI Defendants were not eligible to collect No-Fault Benefits in New York, and it is inequitable

 and contrary to the public policy of New York to allow the MRI Defendants to retain any benefits

 obtained.

                6.     Durable Medical Equipment and Orthotics

        230.    Metro Pain orders and allows most patients treated at 105-10 Flatlands, 204-12

 Hillside, 717 Southern, and 2451 E. Tremont to receive unnecessary Supplies. Physicians and

 physician assistants treating through Metro Pain order for most patients who have more than one

 office visit unnecessary cervical and/or lumbar collars and at least five, and as many as 21, other

 Supplies. See Exs. 1, 8-11. Supplies are purposely prescribed in a way that allows suppliers of

 DME and orthotics (“DME Suppliers”) to circumvent applicable fee-schedule limitations and

 inflate their charges. Nazarov and Right Aid Medical Supply were among the DME Suppliers to

 Metro Pain’s patients, providing Supplies to the majority of Metro Pain patients at 2451 E.

 Tremont. Ex. 18.

        231.    DME generally consists of items that can withstand repeated use and are primarily

 used for medical purposes by individuals in their homes. Orthotic devices generally consist of

 supports for the neck, back, and other body parts, such as cervical collars and lumbar supports

 (“LSOs”).


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         232.   Since October 2004, the fee schedule applicable to New York No-Fault claims for

 DME and orthotic devices has provided, in pertinent part, “the maximum permissible charge for

 the purchase of [DME], . . . and orthotic . . . appliances shall be the fee payable . . . under the New

 York State Medicaid program at the time such equipment and supplies are provided. . . [I]f the

 New York State Medicaid program has not established a fee payable for the specific item, then the

 fee payable shall be the lesser of: (1) the acquisition cost (i.e., the line item costs from a

 manufacturer or wholesaler, net of any rebates, discounts, or other valuable consideration, mailing,

 shipping, handling, insurance costs, or any sales tax) to the provider plus 50%, or (2) the usual and

 customary price charged to the public.” 12 N.Y.C.R.R. § 442.2.

         233.   Metro Pain’s Initial Examination Reports and/or Follow-Up Examination Reports

 include predetermined lists of Supplies physicians can check to prescribe and order particular

 items. See, e.g., Exs. 2, 7. Metro Pain also has separate form documents with lists of Supplies

 physicians can check to order. See, e.g., Ex. 4. None of these documents contain an option for

 “other” or a blank for the physician to prescribe any Supplies not on the list.

         234.   Metro Pain’s prescriptions were written in a way that helped to conceal the true

 volume and nature of Supplies prescribed and provided, and allowed DME Suppliers to charge

 substantial amounts. Orders for Supplies were sometimes separated between initial and follow-up

 visits. Spreading prescriptions over time served to hide the significant volume.

         235.   Metro Pain’s documentation also described Supplies in generic terms. The use of

 generic descriptions helped DME Suppliers hide what they were actually providing and allowed

 DME Suppliers to claim the physician had ordered expensive items they purported to provide and

 bill.




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        236.    Moreover, the particular items Metro Pain prescribed were items it knew DME

 Suppliers routinely provided to patients and could use to exploit the No-Fault Laws and charge

 substantial amounts. In particular, Metro Pain prescribed items on the fee schedule (for which

 there was a “fee payable . . . under the New York State Medicaid program”) reimbursable at very

 high rates depending on how the item was described and coded.

        237.    Among the expensive Supplies Metro Pain regularly prescribed were cervical

 collars, often describing them in prescriptions as “Cervical Collar 2 pc.” Cervical collars are

 among the most common orthotic devices. They are worn around the neck to restrict movement

 and relieve muscle tension. Various types of cervical collars are available depending on the unique

 circumstances of each patient. During the relevant period, the applicable fee schedule established

 prices ranging from $6.80 to $357 for specific types of cervical collars, each of which is described

 by a particular HCPCS Code ranging from L0120 to L0180. Absent some express indication in a

 prescription form or other documentation that a more sophisticated cervical collar is necessary,

 prescriptions for a cervical collar should be filled with a flexible, nonadjustable foam cervical

 collar and billed under HCPCS Code L0120 at $6.80 (a “basic cervical collar”). Metro Pain’s

 ordering of cervical collars and generic descriptions of them allowed DME Suppliers to purport to

 provide cervical collars under HCPCS Code L0130 and bill $183.99 and also under HCPCS Code

 L0180 and bill $233. The use of the applicable HCPCS Code L0130 indicated the device was

 purportedly “molded to patient[s].” Charges for these cervical collars, which Metro Pain’s

 prescriptions supported, were fraudulent because: (a) the devices were not medically necessary;

 (b) the charges are substantially more than the amount to which the DME Supplies would have

 been entitled under the No-Fault Laws for the basic orthotics; and (c) it is unlikely any molding




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 was medically necessary because there is little, if any, indication anyone performed the necessary

 fitting or adjustments for molding or had the expertise to do so.

        238.    Metro Pain also prescribed LSOs, often ordering that they be “custom” LSOs or

 “custom fit.” LSOs are a common orthotic device worn around the torso that extend below and

 above the waist to restrict movement and relieve muscle tension in the lower back. Various types

 of LSOs are available depending on each patient’s unique circumstances. During the relevant

 period, the fee schedule established prices ranging from $43 to $1,150 for specific types of LSOs,

 each of which is described by a particular HCPCS Code ranging from L0625 to L0650. Absent

 some express indication in a prescription form or other documentation that a more sophisticated

 LSO is necessary, prescriptions for an LSO should be filled with a flexible LSO and billed under

 HCPCS Code L0625 at $43 (a “basic LSO”). Metro Pain’s ordering of LSOs and generic

 descriptions of them allowed DME Suppliers to purport to provide LSOs under various HCPCS

 Codes for amounts ranging from $322.98 to $1,150. Again, some of these HCPCS codes indicated

 the device was “customized to fit a specific patient by an individual with expertise.” Other HCPCS

 codes indicated the device was “custom fabricated.” Charges for these LSOs, which Metro Pain’s

 prescriptions supported, were fraudulent because: (a) the devices were not medically necessary;

 (b) the charges are substantially more than the amount the DME Suppliers would have been

 entitled under the No-Fault Laws for the basic orthotics; (c) it is unlikely any custom fitted LSOs

 were medically necessary because there is little, if any, indication anyone performed the necessary

 fitting or adjustments for custom fittings or had the expertise to do so; and (d) it is unlikely any

 LSOs were custom fabricated from scratch.




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        239.    Moreover, many patients received two expensive LSOs, including patients of Right

 Aid Medical Supply. It is unlikely any one patient would need two such expensive devices, and

 improbable that so many would.

        240.    Metro Pain also prescribed items that were not on the fee schedule it knew DME

 Suppliers could obtain very cheaply and falsely claim they purchased at a high cost to justify a

 high markup under the reimbursement rules. Patients typically received a package of Supplies that

 included foam rubber mattresses, lumbar cushions, bed boards, heat pads, water circulating pumps,

 and cervical traction units. Charges for these Supplies were typically at least $1,100.

        241.    Metro Pain’s patients typically receive five or more Supplies, with some patients

 prescribed as many as 21 Supplies. Many patients receive at least one cervical collar and one LSO,

 along with the other items.

        242.    It is improbable so many patients would need so many Supplies and would need

 the same types of Supplies.      Metro Pain’s patient population consists of fully ambulatory

 individuals who purportedly suffered relatively minor soft-tissue injuries and are sent by their

 healthcare providers for, among other things, physical therapy, acupuncture, and chiropractic

 manipulations. Among the purposes of lower back supports, LSOs, cervical collars, and knee,

 wrist, elbow, and shoulder orthoses is to restrict and limit movement. Physicians typically

 prescribe such devices to restrict movement when a patient is in intense pain aggravated by

 movement or there is a concern about stability. Appropriate treatment for patients trying to heal

 and rehabilitate soft-tissue injuries, however, requires movement of the injured tissues, and even

 the Predetermined Treatment Protocol purports to include treatment for precisely that purpose,

 including physical therapy and chiropractic manipulations. Under such circumstances, it should




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 be unnecessary, and in fact contraindicated, to provide restrictive orthotics for any region of the

 body, yet Metro Pain routinely prescribes multiple orthotics for multiple regions.

        243.    Based on the prescriptions issued by Metro Pain, DME Suppliers were in a position

 to (1) purport to deliver and bill for expensive Supplies on the New York fee schedule and (2)

 fraudulently inflate certain charges for items not identified under the fee schedule. There is no

 legitimate reason for Metro Pain’s patients to receive the Supplies they did or for Metro Pain to

 write prescriptions in the way it did. Given the existence of improper financial arrangements

 between Metro Pain and providers of services at the locations at which it operated, it is almost

 certain such arrangements existed between Metro Pain and DME Suppliers, including the DME

 Defendants. The DME Suppliers would not have been eligible to collect No-Fault Benefits in New

 York, and it would be inequitable and contrary to the public policy of New York to allow the DME

 Suppliers or Metro Pain to retain any benefits obtained from such arrangements.

        244.    Metro Pain’s prescription of these Supplies caused them to be provided and

 fraudulent claims for them to be submitted.

                7.     Diagnostic Testing

        245.    Metro Pain and some of the Physical Therapy Defendants and Chiropractor

 Defendants often prescribed, referred, and in some instances preformed medically unnecessary

 diagnostic tests on patients of 105-10 Flatlands, 204-12 Hillside, 717 Southern, and 2451 E.

 Tremont, including Outcome Assessment Tests, NCV and EMG Tests, computerized ROM and

 muscle tests, functional capacity tests, and Pf-NCS Tests that are unnecessary, do not lead to an

 alteration in treatment, and, for some tests, are duplicative of information obtained during the

 purported examinations. Such tests are ordered because they allowed providers to profit from

 patients’ No-Fault Benefits as part of pay to play arrangements with Metro Pain.




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                        a.     Fraudulent Outcome Assessment Tests

        246.    Metro Pain almost always conducts one or more rounds of medically unnecessary

 Outcome Assessment Tests on its patients. These tests are generally performed on the same dates

 Metro Pain performs follow-up examinations, are separately billed to State Farm Mutual or State

 Farm Fire, and are medically useless. Indeed, those patients who do not consistently receive

 Outcome Assessment Tests are typically patients who have only an initial exam and one date of

 service with Metro Pain.

        247.    Outcome Assessment Tests involve multiple-choice questionnaires patients

 complete by reporting their complaints and the impact of those complaints on their lives. Metro

 Pain administers up to six different questionnaires, each of which corresponds to a body part or

 condition and are titled (1) Headache Disability Index; (2) Roland Morris Disability Questionnaire

 (to measure spinal disability); (3) Subjective Knee Score Questionnaire; (4) Shoulder Pain and

 Disability Index; (5) Neck Disability Index; and (6) Oswestry Low Back Pain Disability

 Questionnaire. According to Metro Pain’s documentation, each questionnaire can involve at least

 13 and as many as 25 questions, thus totaling more than 100 questions. Patients complete the

 questionnaires on iPads in Metro Pain’s waiting room, and Metro Pain then uses a software

 program to convert patients’ answers to a single numeric score for each questionnaire representing

 a level of disability for the body part at issue, along with a graph. Indeed, when asked whether

 patients complete the questionnaires in front of a doctor or in the waiting room, Shapiro testified,

 “It’s done in the waiting room.” Thus, the tests require virtually no effort from any health care

 professional or interaction between healthcare professionals and patients.

        248.    While Outcome Assessment Tests can have value in clinical studies or in

 circumstances in which a provider seeks to track patients’ subjective reports of their conditions

 over time, the manner and method in which Metro Pain employs the tests does not provide any


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 benefit. Metro Pain subjects its patients to multiple tests, and in many cases all six tests, regardless

 of whether patients present with conditions covered by the separate tests.

         249.    In support of the Outcome Assessment Tests, Metro Pain submits boilerplate letters

 of medical necessity attached to the computer generated results. These letters state the tests “are

 invaluable for documenting the response of patients to the medical care they are receiving” and

 “significantly help in clinical decision making by focusing the physician on issues, which influence

 the choice of therapy for our patients.” Ex. 19. There is no indication any Metro Pain physician

 reviews or administers the test, discusses the results with the patient, or considered the results in

 developing or modifying the patient’s treatment plan. In fact, Shapiro testified, “[t]he answers

 don’t matter that much.”

         250.    Metro Pain’s Outcome Assessment Tests generally report patients suffer from some

 level of disability in one or more tested body parts. Although tests performed over the course of

 treatment should reflect patient improvement, subsequent tests of Metro Pain’s patients continue

 to reflect disabilities and, in some instances, worsening of disabilities.

         251.    Even assuming a physician reviewed the test results, and there is no indication this

 occurred, Metro Pain inappropriately billed for the tests under CPT Code 99358. CPT Code 99358

 indicates “Prolonged Provider Services without Direct (Face-to-Face) Patient Contact” and “may

 include review of extensive records and tests.” This code is to be used “to report the first hour” of

 services and is reimbursable at a rate of $204.41. Given patients complete these questionnaires

 outside the examining physician’s presence and each patient’s responses are tracked and charted

 through a computer program, any Metro Pain physician who reviews the results could not

 reasonably spend 30 minutes doing so, much less an hour. Moreover, information reported in the

 Outcome Assessment Tests is duplicative of that gathered during initial and follow-up




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 examinations. Metro Pain thus improperly double billed for patient evaluations during the office

 visit, and then again for contemporaneously provided “outcome assessment tests.”

        252.    The Outcome Assessment Tests were thus not performed for any legitimate

 purpose. Rather, they were conducted to financially enrich Metro Pain and to create additional

 documentation that could be used to justify the Predetermined Treatment Protocol and services by

 providers who paid for access to patients at the locations Metro Pain controlled.

                        b.     EDX Testing

        253.    Metro Pain patients were also frequently subjected to NCV and EMG Tests. At

 least some of these NCV and EMG Tests were performed by providers with whom Metro Pain had

 financial arrangements disguised as leases, but were, in fact, kickbacks in exchange for access to

 patients, including Northern Medical and Classic Medical.

        254.    Both Northern Medical and Classic Medical had leases with Metro Pain. In

 virtually identical language, the agreements purported to grant to Northern Medical at 105-10

 Flatlands and 204-12 Hillside and to Classic Medical at 717 Southern the “right to license a portion

 of the Building including an examining room located in the Leased Premises and currently

 occupied by the Licensee on an exclusive basis and for those periods delineated on Schedule ‘A’

 attached hereto.” While rent payments were purportedly for the use of space, the agreements

 themselves revealed that payments were for access to patients and based on the value of the

 services rendered. For example, although Northern Medical treated patients at 105-10 Flatlands

 and 204-12 Hillside only three or four days each month, it paid $1,500 per month to Metro Pain

 pursuant to its written licensing agreements, while chiropractors who rendered services at those

 same locations five days per week, four weeks per month purportedly paid the same $1,500 per

 month rent. Similarly, Classic Medical paid $5,000 per month at 717 Southern and only rendered

 treatment one to two days each month, while chiropractors treating patients at that location five


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 days per week, four weeks per month purportedly paid the same amount. Northern Medical’s and

 Classic Medical’s “rent” payments to Metro Pain were thus substantially higher and did not reflect

 market value for the use of space, but the higher dollar value they could earn for EDX Tests

 compared to what chiropractors and other conservative care providers could earn for such

 treatment. Moreover, total payments from all providers to Metro Pain for purported rent at each

 location were more than its rental obligations to the property owner. There can thus be no question

 providers’ payments to Metro Pain were not tied to the fair market value of space, but rather were

 for access to patients on whom Northern Medical and Classic Medical could perform NCV and

 EMG Tests.

        255.    Legitimate electrodiagnostic tests can be performed on patients who report

 symptoms that may suggest neurological pathology, such as pain in the neck and/or lower back

 region that radiates to the arms or legs, abnormal weakness in limbs, or significant changes in

 sensation in limbs. If properly performed and interpreted, NCV and EMG Tests can be used to

 diagnose the existence, nature, extent, and specific location of nerve abnormalities that may be

 causing the purported symptoms, including peripheral nerve injuries (e.g., injuries to the nerves in

 the arms and legs) and radiculopathies (pinched nerve roots that run along both sides of the spine

 at each vertebra level). According to the recommended policy of the American Association of

 Neuromuscular & Electrodiagnostic Medicine (the “Recommended Policy”), “EDX studies are

 individually designed by the EDX consultant for each Patient,” and “[t]he examination design is

 dynamic and often changes during the course of the study in response to new information

 obtained.” Therefore, the decision of which nerves and muscles should be tested with NCV and

 EMG Tests should be individually tailored to address each patient’s unique circumstances based

 on a history and examination of the patient, as well as the real-time results as the NCV and EMG




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 Tests are performed. Under the Recommended Policy, the maximum number of EDX tests that

 should be required to diagnose radiculopathy in more than 90% of patients is: (a) NCVs of three

 motor nerves and two sensory nerves, and (b) EMGs of two limbs. These maximum numbers “are

 to be used as a tool to detect outliers so as to prevent abuse and overutilization.” It is often

 appropriate for providers to perform fewer tests.

        256.    The majority of Metro Pain’s patients were subjected to NCV and EMG Tests. See

 Ex. 1. However, it is exceedingly unlikely so many patients required NCV and EMG Tests.

 Indeed, NCV and EMG Tests were purportedly provided to Metro Pain patients to diagnose or rule

 out radiculopathy. In a legitimate setting, a patient suspected of suffering from radiculopathy

 would show signs of neck or back pain accompanied by numbness, tingling, weakness, and/or pain

 radiating to an extremity. However, Metro Pain’s Initial Evaluation Reports do not identify these

 complaints for many patients who received NCV and EMG Tests. Rather, it appears the transient

 provider performs the NCV and EMG Tests on whatever patients are present, willing, and able on

 the particular day the provider is performing those tests at the clinic pursuant to the “lease”

 agreement with Metro Pain.

                       c.      Computerized ROM and Muscle Testing

        257.    The majority of Metro Pain’s patients is also subjected to medically unnecessary

 computerized ROM and muscle tests ordered by Metro Pain and performed by the Physical

 Therapy Defendants Nile Rehab PT, Handy PT, Physical Therapy of NY, and AM Patel PT or

 transient providers with whom Metro Pain has entered into financial arrangements. See Ex. 1.

        258.    As discussed above, Metro Pain ordered computerized ROM and muscle tests by

 checking boxes on its Initial Examination Reports and through separate Metro Pain referral forms.

        259.    The measurement of a particular joint’s full mobility is that joint’s range of motion.

 Charts listing generally agreed upon full ranges of motion for each joint are available in many


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 standard textbooks.    A traditional, manually performed range of motion test consists of a

 non-electronic measurement of a joint’s ability to move through its arc of motion, which is then

 compared to an unimpaired or ideal joint. Active range of motion testing is effectuated by a doctor

 asking the person to move a joint to its full extent, and measuring the movement by a manual

 inclinometer or goniometer (devices used to measure angles) or by visual estimation. Active range

 of motion can be inaccurate if the patient does not provide full effort. Passive range of motion

 testing is performed by the clinician moving a patient’s joints to identify anatomic restrictions of

 movement.

        260.    A traditional, manually performed muscle strength test consists of a non-electronic

 measurement of muscle strength using a generally accepted scale of 0 to 5, accomplished by having

 the person move a joint against resistance applied by a physician or clinician. For example, if a

 physician were to measure knee flexion strength, the physician would apply resistance against the

 patient’s posterior foreleg while the patient flexes the knee.

        261.    A physical examination performed on a patient with soft-tissue trauma will

 typically require manual range of motion testing and muscle strength testing to assess and diagnose

 an injury and develop a program to address limitations in motion and strength. Doctors document

 range of motion and strength impairment to provide an objective frame of reference as it pertains

 to functional tasks, which allows the doctor to monitor progress. Manual range of motion and

 strength tests are regularly done as part of patient initial and follow-up evaluations and are billed

 as part of the overall evaluation charge; they are not billed separately.

        262.    The computerized ROM test is purportedly performed through the placement of a

 digital inclinometer (typically affixed by Velcro straps) on various parts of a patient’s body while

 the patient is asked to move the related joint through its available motion. The ROM test is almost




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 identical to the manual range of motion testing, except that a digital reading is gained rather than

 a manual one. This test is also dependent upon patient cooperation and effort, as well as the skill

 of the examiner.

         263.    The computerized muscle test is purportedly performed through the placement of a

 device against a stationary object, against which the patient contracts a particular muscle three to

 four separate times. The muscle test is almost identical to the manual muscle strength testing

 performed by physicians during an examination, except that a digital reading is gained identifying

 the pounds of pressure the patient exerts as opposed to a 0 to 5 scale. The electronic data gathered

 does not account for whether the patient is applying full effort, and its accuracy is therefore

 dependent upon patient cooperation, effort, and the skill of the examiner. Providers performing

 manual muscle testing, as opposed to computerized testing, are better able to detect whether a

 patient is exerting full effort in performing the test.

         264.    When the computerized ROM and muscle tests are performed, the decision of

 which joints to test in a ROM test and which muscles to test in the muscle test should be tailored

 to each patient’s unique injury and the clinical findings of that individual patient. As a result, the

 particular joints and muscles tested should be individualized for each patient.

         265.    While the ROM and muscle tests could be useful tools in some circumstances, for

 example, as part of a medical research study, their use by Metro Pain was unnecessary and part

 and parcel of the fraudulent Predetermined Treatment Protocol designed to maximize profits.

         266.    In particular, patients at the Metro Pain clinics allegedly received traditional,

 manual ROM testing and muscle strength testing as part of their initial and follow-up examinations

 with, at least, Metro Pain, the Chiropractor Defendants, and the Physical Therapy Defendants.

 Nevertheless, patients were also subjected to computerized ROM and muscle tests.                 The




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 computerized ROM and muscle tests were not tailored to patients’ individual needs, did not

 provide any meaningful data over the manual ROM and muscle strength tests allegedly performed,

 and were irrelevant to the monitoring of the restoration of function for purposes of treatment. In

 the relatively minor soft-tissue injuries allegedly sustained by the patients, the difference of a few

 degrees in the patients’ range of motion reading or pounds of resistance in the patients’ muscle

 strength testing is unimportant to the diagnosis or treatment of such patients.

        267.    Finally, many bills for computerized muscle tests submitted by the Physical

 Therapy Defendants and others include multiple charges of CPT Code 95831 with a separate

 charge for each purported measurement, as well as a separate charge for CPT Code 95833. In

 some cases, the rendering providers, including the Physical Therapy Defendants, claim to have

 taken as many as six separate measurements, resulting in total charges of $332.32 per patient.

 According to the applicable fee schedule, however, a healthcare provider seeking reimbursement

 for muscle tests may only use CPT Code 95831 and bill 5.16 relative value units (translating into

 $43.60) for each “extremity” or “trunk section” tested, but should use CPT Code 95833 and bill a

 maximum of 14.88 relative value units ($125.73) if the entire body is tested. As a result, even if

 the muscle tests had value and were reimbursable, rendering providers improperly inflated the

 charges on each bill seeking payment for the testing of more than three separate muscles.

        268.    Moreover, rendering providers routinely unbundled computerized ROM and

 muscle tests performed on the same date, when the fee schedule requires providers who perform

 these two tests on the same date to bill under the time-based code CPT Code 97750, which allows

 for a single charge of $45.71 for every 15 minutes of testing performed.

        269.    Amendments to the New York fee schedule effective October 1, 2020, eliminated

 providers’ ability to receive any reimbursement for computerized ROM and muscle testing.




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 Although Metro Pain found such testing necessary to the treatment and care of its patients prior to

 October 1, 2020, as soon as providers could no longer bill separately for it, Metro Pain stopped

 recommending it and providers stopped performing it beginning October 1, 2020.

                        d.      Functional Capacity Tests

        270.    Some Metro Pain patients, principally those treated at 717 Southern or 2451 E.

 Tremont, are also subjected to one or more rounds of medically unnecessary functional capacity

 tests. See Ex. 1. Documentation for these tests refer to them interchangeably as functional capacity

 tests and physical capacity tests, though only one test is involved. Most Metro Pain Initial

 Examination Reports include treatment plans with a list of services that can be checked to order

 them, including “Functional Capacity Test” or         “FCE [Functional Capacity Evaluation] to

 determine patient’s degree of disability and readiness to return to work.” See, e.g., Exs. 2B, 2C,

 2D. The tests were typically performed by Physical Therapy Defendant AM Patel PT or transient

 providers with whom Metro Pain has entered into financial arrangements.

        271.    Functional capacity tests are meant to gauge whether a patient has sufficient

 strength, endurance, and ability to perform the patient’s job, to assist in vocational rehabilitation,

 to determine a patient’s maximal functional level at the time they are fully improved, and to assist

 in setting any limits on job tasks a patient can perform. In accordance with the applicable fee

 schedule, functional capacity tests should only be used “at the point of maximal medical

 improvement,” and only when the patient: 1) is preparing to return to a previous job; 2) has been

 offered a new job; or 3) is working with a rehabilitation provider and a vocational objective is

 established. The reasons for the functional capacity tests must be documented and reports must

 include patient demographics including work history, indications for the evaluation, and a

 narrative with recommendations. Because these tests are most often used to evaluate work

 tolerance and the necessity for work restrictions, they should be individually tailored for each


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 patient and geared toward a specific diagnostic goal, such as determining if the patient can go back

 to their specific job or needs work restrictions or even a different job.

        272.    The functional capacity tests performed on Metro Pain patients were medically

 unnecessary, were not individually tailored, and were administered in a formulaic fashion

 involving the same sets of tasks to almost every patient regardless of their unique circumstances,

 response to treatment, work status, or work type. It is not claimed or documented that tested

 patients are “at the point of maximal medical improvement,” but nonetheless tests are administered

 after which the Predetermined Treatment Protocol continues. Records likewise do not include

 indications patients are preparing to return to a previous job, have been offered a new job, are

 working with a rehabilitation provider, or have established a vocational objective.

        273.    Indeed, in certain instances, a physician associated with Metro Pain would execute

 a “Referral for Physical Capacity Evaluation” with preprinted and boilerplate language that makes

 no mention of work or job status:

        My comprehensive medical exam does not give me the specific details needed to measure
        specific function loss. My medical exam includes a complete detailed history, orthopedic,
        neurological, muscle testing, and ranges of motion. The physical capacity evaluation is
        more specific and more detailed than my comprehensive exam in relation to functional
        loss. This specialized objective test incorporates muscle testing and static lift testing. . . .
        The main reason I chose this type of testing is because no other test addresses functionality.
        . . . The patient’s treatment plan will be modified based upon the result of the functional
        evaluation.

 See Ex. 20.

        274.    Documentation of the functional capacity tests submitted to State Farm Mutual and

 State Farm Fire is limited, cursory, and difficult to interpret. Patients purportedly perform six

 types of lifts, wherein the pounds of force they exert are recorded. These measurements are

 imported into a software program that generates the report, bar graphs, and the patients’ rating

 compared to normative averages, but there is no interpretation of their purported meaning. Some



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 purport to reflect patients with measurements below the lowest 10th percentile, and indicate a

 minimum of the 25th percentile is required to return to work. If these do, in fact, indicate a

 performance worse than the lowest 10th percentile, they would reflect a level of impairment that

 would be unusual in one patient with the types of injuries purportedly documented, let alone for a

 large number of patients.

        275.     Tests were performed on most patients treated at 717 Southern or 2451 E. Tremont,

 but rarely on patients treated at 105-10 Flatlands or 204-12 Hillside. It makes little sense Metro

 Pain would determine functional capacity tests were medically appropriate for patients at certain

 locations, but not appropriate for a substantially similar patient population treated at other

 locations.

        276.     Patients’ treatment is never altered as a result of the functional capacity tests.

        277.     Further, Defendants submit charges for the functional capacity tests using CPT

 Code 97750, the code for physical performance testing, not functional capacity tests, which would

 properly be billed using CPT Code 97800. In this way, they fraudulently conceal they are

 performing functional capacity tests and that their tests are ineligible for reimbursement because

 they have not met the reimbursement requirements for functional capacity tests in the applicable

 fee schedule.

        278.     Amendments to the New York fee schedule effective October 1, 2020, eliminated

 providers’ ability to receive any reimbursement for physical capacity evaluations under 97750.

 Although Metro Pain found such testing necessary to the treatment and care of its patients prior to

 October 1, 2020, as soon as providers could no longer bill separately for it, Metro Pain stopped

 recommending it and providers stopped performing it beginning October 1, 2020.




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                                d.      Pf-NCS Tests

        279.    Most patients also receive medically unnecessary Pf-NCS Tests performed either

 by Chiropractor Defendants AOT Chiropractic and Evolution Chiropractic or a transient provider

 who has a financial arrangement with Metro Pain. Ex. 1. Some Metro Pain Initial Examination

 Reports include treatment plans with a list of services that can be checked to order, including “CPT

 tests” and “VSNCT tests,” which are both Pf-NCS Tests. See, e.g., Ex. 2B. These tests are

 performed for the purported purpose of diagnosing the existence, nature, extent, and location of

 abnormalities in a patient’s sensory nerves and nerve roots. However, such tests cannot reliably

 accomplish any such purpose.

        280.    Pf-NCS Tests are noninvasive tests that, according to proponents, purport to

 diagnose abnormalities in the sensory nerves and sensory nerve roots. They do not and cannot

 provide any diagnostic information regarding the motor nerves and motor nerve roots. Pf-NCS

 Tests are performed by administering electrical voltage through specific sites to stimulate sensory

 nerves in the arms, legs, hands, feet, and face. The intensity of the electrical voltage is increased

 until the patient reportedly perceives a sensation from the stimulus caused by the voltage.

 “Findings” are then made by comparing the minimum intensity of electrical voltage at which the

 patient announces he or she perceives some sensation to the purported normal ranges.

        281.    The sensory nerves are comprised of several different kinds of nerve fibers,

 including the A-beta fibers, the A-delta fibers, and the C fibers. According to proponents, Pf-NCS

 Tests allegedly can diagnose the existence, nature, extent, and location of any abnormal condition

 in each of these noted nerve fibers by using three different frequencies of electrical current.

        282.    Defendants know, however, that Pf-NCS Tests are unable to truly diagnose the

 existence, nature, severity, or specific location of any abnormalities in the sensory nerves or any

 of the nerve fibers. Among other things, Defendants know Pf-NCS Tests cannot localize sensory


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 loss to any specific place within the nervous system. Electrical current or voltage must travel

 between two points and complete a circuit. Pf-NCS Tests involve electrical current or voltage

 traveling from a probe placed at the test site through the limb being tested, through the torso to a

 ground electrode placed under the patient’s back. Because the electrical current or voltage can

 affect any nerve in proximity to the electrical path from the probe to the ground electrode, there is

 no way to know the electrical stimuli are producing a sensation in any particular nerve. Moreover,

 even if electrical current or voltage were stimulating a particular nerve, and a patient’s statement

 of diminished sensation were indicative of an injury, there would be no ability to determine where

 along the path of that nerve from the limb to the brain — which includes the peripheral nerve,

 nerve roots, nerves in the spinal cord, and nerves in the brain — an injury existed. As a result, Pf-

 NCS Tests cannot diagnose radiculopathies (injury at the nerve root) as any statement of

 diminished or heightened sensation could just as easily imply nerve injury somewhere along the

 nerve pathway other than at the nerve root. Additionally, no reliable evidence proves valid normal

 ranges of intensity required to evoke a sensation in fact exist to compare with the unique results

 from an individual’s Pf-NCS Tests to arrive at a legitimate finding.

        283.    Moreover, data from Pf-NCS Tests can be manipulated in a number of ways to

 produce any desired result. In particular, “findings” at each site are either plotted by hand on a

 graph or analyzed by computer to draw conclusions and make diagnoses. The data, however, can

 be adjusted by a variety of factors, including a belief (which has no support in medical science)

 that a particular patient is naturally hypoesthetic or hyperesthetic, and a “correction factor.” Even

 if the Pf-NCS Tests had some medical or diagnostic value, no reliable evidence proves any of these

 adjustments is necessary or appropriate or anything more than an opportunity for the individual




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  analyzing the test results to reach a predetermined conclusion and use a manufactured finding of

  an abnormal condition to justify additional treatment that can be billed to insurers.

          284.     Additionally, contrary to documents that rendering providers, including

  Chiropractor Defendants AOT Chiropractic and Evolution Chiropractic, submitted to State Farm

  Mutual and State Farm Fire, (a) even if valid normal ranges of intensity required to evoke a

  sensation existed, no reliable evidence proves a current perception threshold greater than the

  normal range would indicate a hypoesthetic condition (the sensory nerves have decreased function)

  or that a current perception threshold less than the normal range would indicate a hyperesthetic

  condition (the sensory nerves are in a hypersensitive state); (b) even if an abnormal current

  perception threshold indicated either a hypoesthetic or hyperesthetic condition, no reliable

  evidence proves the extent or cause of any such conditions could be identified from the Pf-NCS

  Test; 4 (c) no reliable evidence proves Pf-NCS Tests provide any information beyond what can be

  gleaned from a routine history and physical examination; (d) no reliable evidence proves Pf-NCS

  Tests provide any information that would indicate the nature or extent of any abnormality in the

  sensory nerves or sensory nerve roots; (e) the Pf-NCS Tests do not provide any information

  regarding the motor nerves or motor nerve roots which are at least as likely as the sensory nerves

  or sensory nerve roots to be injured in an automobile accident; and (f) there is no valid basis or

  support for the statements and claims in the reports on the Pf-NCS Tests.

          285.     As a result of these concerns, there is no designated CPT Code for Pf-NCS Tests.

  Further, the Center for Medicare and Medicaid Services (“Medicare”) reviewed the efficacy of

  current perception threshold tests, which are essentially the same as Pf-NCS Tests, and issued a




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    Numerous pathological and physiological conditions other than peripheral nerve damage can cause hyperesthesia
  and hypoesthesia.



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  national coverage determination concluding current perception threshold tests are not medically

  reasonable and necessary for diagnosing sensory neuropathies (i.e., abnormalities in the sensory

  nerves) or radiculopathies, and therefore are not compensable.

         286.    Metro Pain’s patients’ treatment is never altered as a result of Pf-NCS Tests.

         287.    Finally, providers improperly code and bill for the Pf-NCS Tests to maximize

  reimbursement amounts the State Farm Companies and other insurers pay. Rendering providers,

  including certain Chiropractor Defendants, bill State Farm Mutual and State Farm Fire for Pf-NCS

  Tests under CPT Code 95999, which under the New York fee schedule governing No-Fault claims,

  is an “Unlisted neurological or neuromuscular diagnostic procedure.” A separate charge using this

  code is submitted for each nerve purportedly tested. The bills purport to report testing of at least

  one nerve, and often as many as 18 separate nerves, resulting in charges from $72.83 to $1,310.76

  for a single test. However, providers are prohibited from billing an unlisted code for otherwise

  ineligible services, such as the Pf-NCS Tests administered here.

         288.    Amendments to the New York fee schedule effective October 1, 2020, eliminated

  chiropractors’ ability to receive any reimbursement under CPT Code 95999. Although Metro Pain

  and the providers with whom it had financial arrangements found Pf-NCS Tests necessary to the

  treatment and care of Metro Pain patients prior to October 1, 2020, as soon as providers could no

  longer bill separately for it, Metro Pain stopped recommending it and other providers stopped

  performing it beginning October 1, 2020.

                 8.      Prescription Drugs

         289.    Metro Pain also prescribes and allows its patients to receive expensive and

  unnecessary prescription topical diclofenac gel and lidocaine/lidoderm patches. See, e.g., Ex. 21.

         290.    Metro Pain’s Initial Examination Reports and/or Follow-Up Examination Reports

  include form language physicians can check or circle to order medications from a predetermined


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  list.   Among the preprinted medications that can be ordered are diclofenac 3% gel and

  lidocaine/lidoderm 5% patches or ointment. See, e.g., Exs. 2, 7.

          291.    Price should always be a factor considered by a prescribing physician and, if a drug

  price becomes significant when compared to alternatives, a prescriber should weigh the benefits

  of prescribing the drug against the benefits of prescribing a less expensive alternative.

          292.    Diclofenac is a nonsteroidal anti-inflammatory drug, or “NSAID,” available in pill

  and topical form. In topical form, it is available in various strengths, and is most beneficial to treat

  localized inflammation and pain when oral medications are determined to be ineffective.

  Diclofenac gel can be purchased over the counter in 1% concentrations under the name Voltaren

  Gel for about $20 for a 150-gram tube. Despite the availability of an over-the-counter version of

  the medication at a reasonable price, Metro Pain’s Initial Examination Reports and Follow-Up

  Examination Reports do not provide for diclofenac sodium concentrations at less than 3%, but

  rather specify in preprinted text diclofenac 3%. When the medication is ordered in initial exams,

  there would have been no way for the prescriber to determine whether oral medications or other

  alternatives were ineffective before ordering diclofenac 3% gel. Pharmacies providing diclofenac

  3% gel to Metro Pain patients charged between $900 and $1,194 per 100 gram tube.

          293.    Lidocaine is a topical analgesic also commonly available for over-the-counter

  purchase in patch form. Packages including five lidocaine 4% patches can be purchased over-the-

  counter for less than $10. Despite the availability of an over-the-counter version of the medication

  at a reasonable price, Metro Pain’s Initial Examination Reports and Follow-Up Examination

  Reports do not provide for lidocaine patches at 4%, but rather specify in pre-printed text

  lidocaine/lidoderm 5% patches. Pharmacies providing lidocaine/lidoderm 5% patches to Metro

  Pain patients charged between $251 and $680 for 30 patches. Moreover, there is no reliable




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  medical literature or peer-reviewed, randomized clinical studies supporting the prescription or use

  of lidocaine 5% to effectively treat musculoskeletal pain, as lidocaine does not absorb into deep

  muscle tissue.

         294.      There would be no reason to prescribe and provide diclofenac 3% or lidocaine 5%

  at substantial cost when there are alternatives of those medications at lower concentrations as well

  as other medications known to be effective, if not more effective, at a fraction of the cost.

         295.      Given the existence of improper financial arrangements between Metro Pain and

  providers of services at the locations at which it operated, it is highly likely such arrangements

  existed between Metro Pain and the pharmacies that provided medications to its patients. If such

  financial arrangements existed, the pharmacies would not have been eligible to collect No-Fault

  Benefits in New York, and it would be inequitable and contrary to the public policy of New York

  to allow the pharmacies or Metro Pain to retain any benefits obtained from such arrangements.

                   9.     Injections and Orthopedic Surgery Procedures and Related Services
                          Performed Pursuant to Illegal Kickbacks

         296.      Metro Pain also subjects some patients treated at 105-10 Flatlands, 204-12 Hillside,

  717 Southern, and 2451 E. Tremont to pain management and orthopedic consultations,

  recommends procedures, and then performs the procedures at Moshe ASCs where anesthesia is

  provided by Premier Anesthesia and PMR Medical. See Ex. 22.

         297.      During initial and follow-up examinations, Metro Pain refers some patients for pain

  management and orthopedic consultations.           Metro Pain’s pain management doctors and

  orthopedists typically perform these consultations, and Shapiro testified they visit Metro Pain

  clinic locations once every two weeks.         Based on the examinations, Metro Pain typically

  recommends patients receive one or more pain management or orthopedic procedures, including




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  epidural steroid injections or facet injections in the lumbar and/or cervical spinal region, or

  arthroscopy of the shoulders or knees.

          298.     Every pain management and orthopedic procedure Metro Pain performs on patients

  treated at 105-10 Flatlands, 204-12 Hillside, 717 Southern, and 2451 E. Tremont takes place at a

  Moshe-owned facility: Dynamic Surgery, HealthPlus Surgery, Surgicare, or Hudson Regional.

  These facilities bill the State Farm Companies fees associated with each procedure Metro Pain

  performs.

          299.     In addition, Metro Pain patients who receive these procedures also receive

  anesthesia billed to the State Farm Companies. The anesthesia provided to Metro Pain’s patients

  is almost always rendered by one of three anesthesia companies: Premier Anesthesiology, formed

  by Shapiro; PMR Medical, formed by Shapiro; 5 or Citimed Services, owned on paper by Moshe’s

  sister, Dr. Moshe, but actually owned and controlled by Moshe.

          300.     Particularly given the inconvenience for patients who had to travel from New York

  to New Jersey for procedures and the alarming health and safety violations at Dynamic Surgery

  and HealthPlus Surgery, Metro Pain’s performance of these procedures at Dynamic Surgery and

  HealthPlus Surgery and the provision of anesthesia by Premier Anesthesia was the result of

  relationships and arrangements between and among Shapiro, Alon, and Moshe, which are alleged

  in detail in Paragraphs 152 through 169.

          301.     Metro Pain’s performance of these procedures at Dynamic Surgery and HealthPlus

  Surgery was thus the result of (a) a kickback relationship between Moshe, Alon, Beshert, and



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    While PMR Medical was incorporated under New Jersey law on February 13, 2011, it first began rendering
  anesthesia at SCOB and Citimed Surgery in New York in August 2020. PMR Medical did not register as a business
  authorized to perform services in New York until February 25, 2021. PRM Medical was thus neither licensed in New
  York nor authorized to perform services there prior to February 25, 2021, and its services rendered in New York prior
  to that date were not eligible for reimbursement.



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  Shapiro pursuant to which Metro Pain obtained access to patients in exchange for an agreement to

  refer patients to Dynamic Surgery and HealthPlus Surgery; and (b) a kickback relationship

  pursuant to which Moshe compensated Shapiro in exchange for patient referrals to Dynamic

  Surgery and HealthPlus Surgery.

         302.    Based on such financial arrangements, Metro Pain and the ASC Defendants were

  not eligible to collect No-Fault Benefits in New York, and it is inequitable and contrary to the

  public policy of New York to allow them to retain any benefits obtained.

         E.      Citimedical I Operates in Violation of New York Licensing Requirements and
                 Misrepresented the Status of Independent Contractors as Employees

         303.    In addition to rendering medically unnecessary MRIs and obtaining patient referrals

  pursuant to kickback relationships, Citimedical I operates in violation of New York licensing

  requirements and misrepresented its engagement of independent contractors to render MRI

  services.

                 1.     Citimedical I Illegally Operates Under Layperson Control

         304.    In New York, only a licensed physician may (a) practice medicine, (b) own and

  control professional corporations and professional limited liability corporations organized to

  provide physician services, and (c) employ and supervise other physicians. With few exceptions,

  New York law requires a licensed physician to own and operate MRI testing facilities.

         305.    As discussed above in Paragraphs 159 through 165, although Dr. Moshe is

  Citimedical I’s paper owner, it is in fact operated by and for the benefit of Moshe in violation of

  New York licensing laws. The charges Citimedical I submitted for MRIs and any other treatment

  or services were thus ineligible for reimbursement under the No-Fault Laws. 11 N.Y.C.R.R. § 65-

  3.16(a)(12).




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                 2.     Citimedical I Misrepresented the Status of Independent Contractors as
                        Employees

         306.    New York law states that a medical entity, including an MRI facility, is only

  eligible for compensation if its services are provided by an owner or employee of the company.

  See 11 N.Y.C.C.R. § 65-3.11. In fact, the New York State Department of Financial Services

  promulgated a claim form healthcare providers may submit to insurers — the NF-3 Form — that

  requires a healthcare provider to disclose whether the services being billed were rendered by an

  employee or an independent contractor.

         307.    Citimedical I fraudulently submitted bills and supporting documents to the State

  Farm Companies misrepresenting it rendered MRI services through its employees, when in

  actuality it rendered services through independent contractors and, in some instances, through the

  same independent contractors as those engaged by Columbus Imaging and Medaid Radiology.

         308.    As Dr. Moshe had no experience as a radiologist, Citimedical I needed to hire

  radiologists to read them. Citimedical I entered into contracts with separate entities, including

  Complete Radiology Reading Service LLC (“Complete Radiology”) and Contemporary

  Diagnostic Imaging LLC (“Contemporary Diagnostic”) to provide radiologists and other MRI-

  related services.

         309.    Citimedical I’s profit and loss statement for January through December 2016 reflect

  that it paid more than $162,000 to Complete Radiology Reading Services LLC. According to

  Complete Radiology’s website:

         [Complete Radiology Reading Services] provides quality, off-site general and subspecialty
         radiology coverage. By obviating the need for a full-time radiologist salary (with the
         additional costs of vacation, conference, pension and health), as well as professional
         liability insurance, radiology practices and hospitals can maximize their return by limiting
         costs. Our costs are reasonable, our radiologists are compassionate and experienced, and
         our procedures and systems are simple to use.




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         310.    Complete Radiology is owned by Allen Rothpearl, M.D., who is a radiologist

  alleged in numerous federal civil RICO complaints to have operated under Moshe’s control.

         311.    Contemporary Diagnostic is owned by Alkies Lapas, D.O., who has also served as

  the medical director for both Columbus Imaging and Medaid Radiology and is currently the

  Chairman of Radiology at Moshe’s Hudson Regional.              When asked about Contemporary

  Diagnostic, Dr. Moshe claimed Citimedical paid both the entity Contemporary Diagnostic and the

  individual radiologists directly and considered the individual radiologists to be “W-2 employees.”

         312.    In fact, at all times, radiologists performing reads for Citimedical I were

  independent contractors.    Contemporary Diagnostic and Complete Radiology were separate

  entities performing services for which Citimedical I billed, the radiologists were affiliated with

  those entities and did not even work in a Citimedical I location, the radiologists were not under the

  supervision of Citimedical I, Citimedical I did not set the radiologists’ schedules or terms of

  employment, and Citimedical I did not even decide which radiologist performed the reads.

         313.    Furthermore, Citimedical I and numerous other MRI facilities, including Columbus

  Imaging and Medaid Radiology, all identified Brijesh Vangala Reddy, M.D. as a rendering

  physician on imaging bills associated with Metro Pain patients. Citimedical I also identified Dr.

  Reddy as an employee during the same period he was working for numerous other MRI providers.

  For example, Dr. Reddy rendered MRI services for Medaid Radiology on April 22, 2019,

  Citimedical I on April 23, 2019, All County, LLC on April 24, 2019, and Dynamic Medical

  Imaging P.C. on April 25, 2019. Tellingly, Citimedical I and All County, LLC each identified

  Dr. Reddy as an employee, whereas Medaid Radiology identified Dr. Reddy as an independent

  contractor, and Dynamic Medical Imaging P.C. failed to disclose Dr. Reddy’s employment status




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  at all. In addition to the above, Dr. Reddy also rendered imaging services to numerous Metro Pain

  patients during this period through Sky Radiology P.C., of which he is the purported owner.

         314.   Imaging bills from Citimedical I also identify as rendering physicians and purported

  employees John Lyons, M.D., Stephen Toder, M.D., and Priyesh Patel, M.D. Each physician also

  rendered MRI services through Columbus Imaging and/or Medaid Radiology during similar

  periods, and Dr. Patel also renders imaging services to Metro Pain patients through at least two

  other entities: Nexray Medical Imaging P.C. and Contemporary Diagnostic.

         315.   Accordingly, Citimedical I engaged at least one or more of the following physicians

  as independent contractors, and any MRI services these physicians provided on behalf of

  Citimedical I were not eligible for reimbursement under the No-Fault Laws: Drs. Reddy, Lyons,

  Toder, and Patel.

         F.     Dynamic Surgery and HealthPlus Surgery Failed to Operate in Compliance
                with New Jersey Law, and Facility Fees for Metro Pain Procedures Were
                Ineligible for Reimbursement

         316.   Moshe did not operate Dynamic Surgery and HealthPlus Surgery in compliance

  with New Jersey licensing laws, including the requirement that each hire and be supervised by a

  qualified medical director to perform enumerated duties under New Jersey law. See, e.g., N.J.A.C.

  §§ 8:43A-7.2–7.3; N.J.A.C. § 8:43A-3.2. Rather, Moshe hired doctors to serve as nominal

  “medical directors” while Moshe directed and controlled the operations of Dynamic Surgery and

  HealthPlus Surgery.

         317.   As alleged in Paragraphs 159 through 167, Moshe has a demonstrated pattern and

  practice of paying doctors to serve as nominal medical directors of his ASCs. Beginning with

  Excel Surgery, NJDOH investigated and substantiated significant licensing violations. During

  testimony before the NJ State Board, the medical director from 2013 to early 2014 admitted he

  ultimately ended his association with Excel Surgery because Moshe was exercising excessive


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  control over the medical operations. Specifically, he stated Moshe directed the hiring of medical

  staff, Moshe installed his partner’s unqualified ex-wife as the director of nursing over the medical

  director’s objections, and Excel was using office employees who had no formal medical training

  to assist with surgical procedures.

          318.     Moshe’s hiring of nominal medical directors continued with Dynamic Surgery,

  which Moshe formed in late 2016 to operate at 321 Essex Street, Hackensack, New Jersey — the

  same facility where Excel Surgery operated. In 2017, Moshe hired Shapiro to serve as Dynamic

  Surgery’s medical director. NJDOH proceeded to cite Dynamic Surgery for numerous regulatory

  violations, including the failure to ensure implementation of patient grievance policies and

  procedures, ensure patients receiving anesthesia did not drive themselves home following their

  procedures, develop and implement policies and procedures regarding the control of controlled

  dangerous substances (required by N.J.A.C. § 8:43A-9.3(b)(7)), and develop and implement

  policies and procedures regarding infection prevention and control (required by N.J.A.C. §§

  8:43A-14.1–14.3). Furthermore, during the period Shapiro served as medical director of Dynamic

  Surgery, Metro Pain was expanding its operations and Shapiro was operating other medical

  entities, including but not limited to Premier Anesthesia, 6 which began to provide anesthesia

  services at Moshe ASCs, including Dynamic Surgery and HealthPlus Surgery in May 2018.

          319.     Moshe also installed Shapiro as the medical director of HealthPlus Surgery, which

  Moshe acquired in late 2016, and shortly thereafter began to operate at 190 Midland Avenue in

  Saddle Brook, New Jersey. Shapiro thus served as the medical director of HealthPlus Surgery and

  Dynamic Surgery concurrently, while also operating his numerous other businesses. As during




  6
    Shapiro was also purportedly managing Neurological Diagnostics, PMR Medical, Hudson Healthcare Partners P.C.,
  LegalMDConsult.com LLC, Scan to Data, and West Hudson Anesthesia P.A. during this same period.



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  Shapiro’s tenure as medical director of Dynamic Surgery, NJDOH cited HealthPlus Surgery with

  a litany of regulatory violations that resulted in its temporary closure in September 2018.

  Specifically, an NJDOH investigation into HealthPlus Surgery’s operations revealed it may have

  exposed patients to hepatitis B, hepatitis C, and HIV. When closing HealthPlus Surgery, NJDOH

  noted a series of sanitary and regulatory violations at HealthPlus Surgery, including the following:

         (i)     Failure to develop written job descriptions and ensure personnel were assigned
                 duties based upon their education, training, and competencies, and in accordance
                 with their job descriptions, as required by N.J.A.C. § 8:43A-3.5(a);

         (ii)    Failure to ensure the development and implementation of policies regarding the
                 administration, control, and storage of medications, including the preparation and
                 use of parenteral medications, as required by N.J.A.C. §§ 8:43A-9.3(b)(4), 9.5(b);

         (iii)   Failure to develop and implement policies and procedures regarding the control of
                 controlled dangerous substances, as required by N.J.A.C. § 8:43A-9.3(b)(7); and

         (iv)    Failure to develop and implement policies and procedures regarding infection
                 prevention and control, as required by N.J.A.C. §§ 8:43A-12.6(a)(16)(ii), 14.1–
                 14.3.

         320.    Dynamic Surgery and HealthPlus Surgery knowingly and intentionally chose not

  to adhere to licensing requirements governing the proper and safe operation of ASCs in New

  Jersey, including the failure to hire a qualified medical director to carry out the duties enumerated

  under New Jersey law. Thus, the claims of Dynamic Surgery and HealthPlus Surgery submitted

  to the State Farm Companies are ineligible for reimbursement.

         G.      Defendants’ Further Efforts to Advance the Fraudulent Scheme

         321.    Defendants are obligated legally and ethically to act honestly and with integrity.

  Nonetheless, Defendants submitted or caused to be submitted bills and supporting documentation

  that are fraudulent in that they represent services were performed and were medically necessary

  and reimbursable when, in fact, they were not.




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         322.     Defendants submitted or caused to be submitted bills and supporting documentation

  to the State Farm Companies for the examinations, treatment, MRIs, Supplies, tests, prescriptions,

  and pain management and orthopedic procedures and related services detailed above. These bills

  and supporting documentation are fraudulent because the services were not medically necessary

  and/or reimbursable.

         323.     Further, the success of Defendants’ scheme depends on concealing the existence of

  the improper financial arrangements among Defendants and the Predetermined Treatment Protocol

  from the State Farm Companies and other insurers to induce insurers to pay Defendants’ fraudulent

  charges. Defendants take affirmative steps to conceal the scheme by, among other things,

  submitting multiple bills from multiple providers and by changing providers operating at each

  address. Defendants submit bills in this manner because they know insurers like the State Farm

  Companies rely on the contents of each individual bill and related supporting documentation to

  make a payment determination.

         H.       Defendants Failed to Verify Their Claims to the State Farm Companies

         324.     To verify some of the claims they received, State Farm Mutual and State Farm Fire

  requested, on multiple occasions, EUOs and/or documents from Defendants. Each request was

  timely made and based upon the application of objective standards justifying the information and

  documentation sought by the State Farm Companies, including seeking relevant documentation.

  The State Farm Companies had, and continue to have, a reasonable basis to request additional

  verification from Defendants pursuant to 11 N.Y.C.R.R. § 65-3.16(a)(12) and Insurance Law

  § 5102(a)(1).

         325.     The failure or refusal to provide additional verification constitutes a material breach

  of the State Farm Companies’ insurance policies and the No-Fault Laws under which the claims




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  have been made and, as such, relieves the State Farm Companies from any obligation to pay

  Defendants on any of the claims.

         326.    In each instance where Defendants refused to provide proper verification, the State

  Farm Companies issued a timely denial on the prescribed NF-10 form stating in relevant part that

  Defendants failed to comply with their obligations to present proper proofs of claim and their

  claims were denied because they failed to satisfy a condition of coverage.

         327.    All of the State Farm Companies’ denials of Defendants’ bills and charges were

  timely, proper, and consistent with the No-Fault Laws.

         I.      Justifiable Reliance by State Farm Mutual and State Farm Fire

         328.    State Farm Mutual and State Farm Fire are under statutory and contractual

  obligations to promptly and fairly process claims within 30 days. The bills and supporting

  documents Defendants submitted and caused to be submitted to State Farm Mutual and State Farm

  Fire in support of the fraudulent charges at issue, combined with the material misrepresentations

  described above, were designed to and did cause State Farm Mutual and State Farm Fire to

  justifiably and reasonably rely on them.

         329.    As a result, State Farm Mutual and State Farm Fire have incurred damages of at

  least $15.4 million.

         330.    Each bill and its supporting documentation, when viewed in isolation, does not

  reveal its fraudulent nature. Only when the bills and supporting documentation are viewed

  together as a whole do the patterns emerge revealing the fraudulent nature of all the bills and

  supporting documentation.




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  V.     CAUSES OF ACTION

                              FIRST CLAIM FOR RELIEF
                                 COMMON LAW FRAUD
    (Against Metro Pain, Shapiro, Hassan, Nile Rehab PT, Khallaf, Handy PT, Kataeva,
     Cityworks PT, Luna, Kings Chiropractic, Moon, SJM Acupuncture, Krupnova, LK
   Acupuncturist, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                and Alon Concerning Patients Treated at 105-10 Flatlands)

         331.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         332.    Defendants, acting in concert and with a common purpose or plan, intentionally

  and knowingly made false and fraudulent statements of material fact to State Farm Mutual and

  State Farm Fire by submitting or causing to be submitted bills and supporting documentation that

  contained false representations of material fact concerning patients treated at 105-10 Flatlands.

         333.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 8, 17, 18A, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.



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         334.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         335.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         336.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $600,000.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                             SECOND CLAIM FOR RELIEF
                           AIDING AND ABETTING FRAUD
    (Against Metro Pain, Shapiro, Hassan, Nile Rehab PT, Khallaf, Handy PT, Kataeva,
     Cityworks PT, Luna, Kings Chiropractic, Moon, SJM Acupuncture, Krupnova, LK
   Acupuncturist, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                and Alon Concerning Patients Treated at 105-10 Flatlands)

         337.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         338.    Defendants conspired, agreed to, and acted in concert to defraud State Farm Mutual

  and State Farm Fire, and did defraud State Farm Mutual and State Farm Fire, through the

  submission of false and fraudulent statements of material fact to State Farm Mutual and State Farm

  Fire as described above in the First Claim for Relief.

         339.    Defendants substantially assisted in defrauding State Farm Mutual and State Farm

  Fire. Defendants submitted or caused to be submitted bills and supporting documentation that




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  contained false and fraudulent misrepresentations of material fact to State Farm Mutual and State

  Farm Fire.

         340.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 8, 17, 18A, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.

         341.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         342.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         343.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $600,000.




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         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                              THIRD CLAIM FOR RELIEF
                                 UNJUST ENRICHMENT
    (Against Metro Pain, Shapiro, Hassan, Nile Rehab PT, Khallaf, Handy PT, Kataeva,
     Cityworks PT, Luna, Kings Chiropractic, Moon, SJM Acupuncture, Krupnova, LK
   Acupuncturist, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                and Alon Concerning Patients Treated at 105-10 Flatlands)

         344.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         345.    State Farm Mutual and State Farm Fire conferred a benefit upon the Defendants by

  paying Defendants’ claims for services purportedly provided to patients treated at 105-10

  Flatlands, and these Defendants voluntarily accepted and retained the benefit of those payments.

         346.    Because the Defendants knowingly billed for or received money for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable, the circumstances are such

  that it would be inequitable to allow them to retain the benefit of the monies paid.

         347.    As a direct and proximate result of the above-described conduct of Defendants,

  State Farm Mutual and State Farm Fire have been damaged and Defendants have been enriched

  by more than $600,000.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against the

  Defendants for compensatory damages, plus interest and costs, and for such other relief as the

  Court deems equitable, just, and proper.




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                             FOURTH CLAIM FOR RELIEF
                        RICO VIOLATION OF 18 U.S.C. § 1962(c)
    (Against Metro Pain, Shapiro, Hassan, Nile Rehab PT, Khallaf, Handy PT, Kataeva,
     Cityworks PT, Luna, Kings Chiropractic, Moon, SJM Acupuncture, Krupnova, LK
   Acupuncturist, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                and Alon Concerning Patients Treated at 105-10 Flatlands)

         348.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         349.    Defendants constitute an association-in-fact “enterprise” (the “105-10 Flatlands

  Fraudulent Treatment Enterprise”) as that term is defined in 18 U.S.C. § 1961(4), that engages in,

  and the activities of which affect, interstate commerce. The members of the 105-10 Flatlands

  Fraudulent Treatment Enterprise are and have been joined in a common purpose, namely to

  defraud State Farm Mutual, State Farm Fire, and other insurance companies by submitting and

  causing to be submitted bills and supporting documentation that are fraudulent for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable for patients treated at 105-10

  Flatlands.

         350.    Although different members have performed different roles at different times, they

  have operated as a continuing unit with each member fulfilling a specific and necessary role to

  carry out and facilitate its common purpose — to defraud State Farm Mutual and State Farm Fire

  through fraudulent insurance claims — with sufficient longevity to accomplish that common

  purpose. Specifically, Metro Pain and Shapiro, together with others, acquired control of 105-10

  Flatlands where patients could be treated, entered into financial arrangements with providers

  pursuant to which they would provide services to patients, purported to perform initial

  examinations and diagnostic tests as a pretext to justify unnecessary treatment and services, and

  concluded patients require treatment plans consisting of a combination of purported physical



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  therapy, chiropractic care, and acupuncture, as well as other services which could be rendered by

  Metro Pain and providers with whom Metro Pain had financial arrangements, including MRIs,

  Supplies, tests, pain management and orthopedic procedures, and ASC services rendered in

  connection with Metro Pain procedures. Alon provides Metro Pain and other Defendants with

  access to patients through the Beshert “network.” Hassan, Nile Rehab PT, Khallaf, Handy PT,

  Kataeva, and Cityworks PT purported to perform and bill for physical therapy and other services

  rendered to patients treated at 105-10 Flatlands not because it was necessary, but pursuant to

  financial arrangements with Metro Pain and others. Luna and Kings Chiropractic purported to

  provide and bill for chiropractic care rendered to patients treated at 105-10 Flatlands not because

  it was necessary, but pursuant to financial arrangements with Metro Pain and others. Moon, SJM

  Acupuncture, Krupnova, and LK Acupuncturist purported to provide and bill for acupuncture

  treatment rendered to patients treated at 105-10 Flatlands not because it was necessary, but

  pursuant to financial arrangements with Metro Pain and others. Dr. Moshe and Citimedical I

  purported to provide and bill for MRIs rendered to patients treated at 105-10 Flatlands not because

  they were necessary, but pursuant to financial arrangements with Metro Pain and others. Moshe,

  Dynamic Surgery, and HealthPlus Surgery purported to provide and bill for services associated

  with Metro Pain procedures rendered to patients treated at 105-10 Flatlands not because they were

  necessary, but pursuant to financial arrangements with Metro Pain and others.

         351.    Each Defendant’s participation and role was necessary to the success of the scheme.

  No one Defendant was capable of carrying out the scheme without the participation of the other

  Defendants. The Defendants have acted with sufficient longevity to achieve their common goal

  of defrauding State Farm Mutual and State Farm Fire through fraudulent insurance claims.




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         352.    Each Defendant is or has been employed by and associated with the 105-10

  Flatlands Fraudulent Treatment Enterprise.

         353.    Defendants have knowingly conducted and/or participated, directly or indirectly, in

  the conduct of the 105-10 Flatlands Fraudulent Treatment Enterprise’s affairs through a pattern of

  racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

  § 1341, based upon the use of United States mails to submit to State Farm Mutual and State Farm

  Fire bills and supporting documentation that are fraudulent because the records reflect: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons, including but not limited to, all bills and

  supporting documentation submitted to State Farm Mutual and State Farm Fire for claims

  referenced in Exhibits 1, 8, 17, 18A, and 22.

         354.    As part of the scheme, Defendants have sought and continue to seek to collect on

  the fraudulent insurance claims submitted to State Farm Mutual, State Farm Fire, and other

  insurance companies.




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         355.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $600,000 based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(c) for compensatory damages, together with treble

  damages, costs and reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), plus interest, and

  any other relief the Court deems just and proper.

                              FIFTH CLAIM FOR RELIEF
                RICO CONSPIRACY VIOLATION OF 18 U.S.C. § 1962(d)
    (Against Metro Pain, Shapiro, Hassan, Nile Rehab PT, Khallaf, Handy PT, Kataeva,
     Cityworks PT, Luna, Kings Chiropractic, Moon, SJM Acupuncture, Krupnova, LK
   Acupuncturist, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                and Alon Concerning Patients Treated at 105-10 Flatlands)

         356.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 and Paragraphs 349

  through 355 above.

         357.    Defendants knowingly agreed and conspired to conduct and/or participate, directly

  or indirectly, in the conduct of the 105-10 Flatlands Fraudulent Treatment Enterprise’s affairs

  through a pattern of racketeering activity consisting of repeated violations of the federal mail fraud

  statute, 18 U.S.C. § 1341, based upon the use of the United States mail to submit to State Farm

  Mutual, State Farm Fire, and other insurers bills and supporting documentation that are fraudulent

  because the records reflect: (a) patients were legitimately examined to determine the true nature

  and extent of their injuries, when they were not; (b) each patient’s condition was related to an

  automobile accident and no other contributing factors, when no such conclusion was legitimately

  reached; (c) the examinations, treatment, MRIs, Supplies, and tests were performed, provided, and

  medically necessary, when they in fact were not medically necessary; and (d) the examinations,



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  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services were reimbursable, when, in fact, they were not reimbursable, including because they

  were the result of unlawful kickbacks and “pay to play” arrangements, services were rendered

  through independent contractors rather than employees, providers did not comply with licensing

  laws regarding the hiring of and supervision by medical directors, and providers did not comply

  with licensing laws because of secret ownership and control by laypersons, including but not

  limited to, all bills and supporting documentation submitted to State Farm Mutual and State Farm

  Fire for claims referenced in Exhibits 1, 8, 17, 18A, and 22.

         358.    Each Defendant knew of, agreed to, and acted in furtherance of the common and

  overall objectives of the conspiracy by facilitating the submission of bills and supporting

  documentation that are fraudulent for examinations, treatment, MRIs, Supplies, tests, and pain

  management and orthopedic procedures and related services, which were medically unnecessary

  and/or not reimbursable, to State Farm Mutual, State Farm Fire, and other insurers.

         359.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $600,000 based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(d) for compensatory damages, together with treble

  damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), plus interest, and

  any other relief the Court deems just and proper.




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                               SIXTH CLAIM FOR RELIEF
                                  COMMON LAW FRAUD
   (Against Metro Pain, Shapiro, Shalaby, Physical Therapy of NY, Kataeva, Cityworks PT,
    Park, All About Chiropractic, J Park Chiropractic, Choi, Choice Acupuncture, Choi-Go
    Acupuncture, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                  and Alon Concerning Patients Treated at 204-12 Hillside)

         360.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         361.    Defendants, acting in concert and with a common purpose or plan, intentionally

  and knowingly made false and fraudulent statements of material fact to State Farm Mutual and

  State Farm Fire by submitting or causing to be submitted bills and supporting documentation that

  contained false representations of material fact concerning patients treated at 204-12 Hillside.

         362.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 9, 17, 18B, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.




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         363.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         364.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         365.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $850,000.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                             SEVENTH CLAIM FOR RELIEF
                            AIDING AND ABETTING FRAUD
   (Against Metro Pain, Shapiro, Shalaby, Physical Therapy of NY, Kataeva, Cityworks PT,
    Park, All About Chiropractic, J Park Chiropractic, Choi, Choice Acupuncture, Choi-Go
    Acupuncture, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                  and Alon Concerning Patients Treated at 204-12 Hillside)

         366.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         367.    Defendants conspired, agreed to, and acted in concert to defraud State Farm Mutual

  and State Farm Fire, and did defraud State Farm Mutual and State Farm Fire, through the

  submission of false and fraudulent statements of material fact to State Farm Mutual and State Farm

  Fire as described above in the Sixth Claim for Relief.

         368.    Defendants substantially assisted in defrauding State Farm Mutual and State Farm

  Fire. Defendants submitted or caused to be submitted bills and supporting documentation that




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  contained false and fraudulent misrepresentations of material fact to State Farm Mutual and State

  Farm Fire.

         369.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 9, 17, 18B, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.

         370.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         371.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         372.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $850,000.




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         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                              EIGHTH CLAIM FOR RELIEF
                                  UNJUST ENRICHMENT
   (Against Metro Pain, Shapiro, Shalaby, Physical Therapy of NY, Kataeva, Cityworks PT,
    Park, All About Chiropractic, J Park Chiropractic, Choi, Choice Acupuncture, Choi-Go
    Acupuncture, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                  and Alon Concerning Patients Treated at 204-12 Hillside)

         373.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         374.    State Farm Mutual and State Farm Fire conferred a benefit upon the Defendants by

  paying Defendants’ claims for services purportedly provided to patients treated at 204-12 Hillside,

  and these Defendants voluntarily accepted and retained the benefit of those payments.

         375.    Because the Defendants knowingly billed for or received money for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable, the circumstances are such

  that it would be inequitable to allow them to retain the benefit of the monies paid.

         376.    As a direct and proximate result of the above-described conduct of Defendants,

  State Farm Mutual and State Farm Fire have been damaged and Defendants have been enriched

  by more than $850,000.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against the

  Defendants for compensatory damages, plus interest and costs, and for such other relief as the

  Court deems equitable, just, and proper.




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                               NINTH CLAIM FOR RELIEF
                         RICO VIOLATION OF 18 U.S.C. § 1962(c)
   (Against Metro Pain, Shapiro, Shalaby, Physical Therapy of NY, Kataeva, Cityworks PT,
    Park, All About Chiropractic, J Park Chiropractic, Choi, Choice Acupuncture, Choi-Go
    Acupuncture, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                  and Alon Concerning Patients Treated at 204-12 Hillside)

         377.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         378.    Defendants constitute an association-in-fact “enterprise” (the “204-12 Hillside

  Fraudulent Treatment Enterprise”) as that term is defined in 18 U.S.C. § 1961(4), that engages in,

  and the activities of which affect, interstate commerce. The members of the 204-12 Hillside

  Fraudulent Treatment Enterprise are and have been joined in a common purpose, namely to

  defraud State Farm Mutual, State Farm Fire, and other insurance companies by submitting, and

  causing to be submitted, bills and supporting documentation that are fraudulent for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable for patients treated at 204-12

  Hillside.

         379.    Although different members have performed different roles at different times, they

  have operated as a continuing unit with each member fulfilling a specific and necessary role to

  carry out and facilitate its common purpose — to defraud State Farm Mutual and State Farm Fire

  through fraudulent insurance claims — with sufficient longevity to accomplish that common

  purpose. Specifically, Metro Pain and Shapiro, together with others, acquired control of 204-12

  Hillside where patients could be treated, entered into financial arrangements with providers

  pursuant to which they would provide services to patients, purported to perform initial

  examinations and diagnostic tests as a pretext to justify unnecessary treatment and services, and

  concluded patients require treatment plans consisting of a combination of purported physical



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  therapy, chiropractic care, and acupuncture, as well as other services which could be rendered by

  Metro Pain and providers with whom Metro Pain had financial arrangements, including MRIs,

  Supplies, tests, pain management and orthopedic procedures, and ASC services rendered in

  connection with Metro Pain procedures. Alon provides Metro Pain and other Defendants with

  access to patients through the Beshert “network.” Shalaby, Physical Therapy of NY, Kataeva, and

  Cityworks PT purported to perform and bill for physical therapy and other services rendered to

  patients treated at 204-12 Hillside not because it was necessary, but pursuant to financial

  arrangements with Metro Pain and others. Park, All About Chiropractic, and J Park Chiropractic

  purported to provide and bill for chiropractic care rendered to patients treated at 204-12 Hillside

  not because it was necessary, but pursuant to financial arrangements with Metro Pain and others.

  Choi, Choice Acupuncture, and Choi-Go Acupuncture purported to provide and bill for

  acupuncture treatment rendered to patients treated at 204-12 Hillside not because it was necessary,

  but pursuant to financial arrangements with Metro Pain and others. Dr. Moshe and Citimedical I

  purported to provide and bill for MRIs rendered to patients treated at 204-12 Hillside not because

  they were necessary, but pursuant to financial arrangements with Metro Pain and others. Moshe,

  Dynamic Surgery, and HealthPlus Surgery purported to provide and bill for services associated

  with Metro Pain procedures rendered to patients treated at 204-12 Hillside not because they were

  necessary, but pursuant to financial arrangements with Metro Pain and others.

         380.    Each Defendant’s participation and role was necessary to the success of the scheme.

  No one Defendant was capable of carrying out the scheme without the participation of the other

  Defendants. The Defendants have acted with sufficient longevity to achieve their common goal

  of defrauding State Farm Mutual and State Farm Fire through fraudulent insurance claims.




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         381.    Each Defendant is or has been employed by and associated with the 204-12 Hillside

  Fraudulent Treatment Enterprise.

         382.    Defendants have knowingly conducted and/or participated, directly or indirectly, in

  the conduct of the 204-12 Hillside Fraudulent Treatment Enterprise’s affairs through a pattern of

  racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

  § 1341, based upon the use of United States mails to submit to State Farm Mutual and State Farm

  Fire bills and supporting documentation that are fraudulent because the records reflect: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons, including but not limited to, all bills and

  supporting documentation submitted to State Farm Mutual and State Farm Fire for claims

  referenced in Exhibits 1, 9, 17, 18B, and 22.

         383.    As part of the scheme, Defendants have sought and continue to seek to collect on

  the fraudulent insurance claims submitted to State Farm Mutual, State Farm Fire, and other

  insurance companies.




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         384.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $850,000 based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(c) for compensatory damages, together with treble

  damages, costs and reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), plus interest, and

  any other relief the Court deems just and proper.

                               TENTH CLAIM FOR RELIEF
                 RICO CONSPIRACY VIOLATION OF 18 U.S.C. § 1962(d)
   (Against Metro Pain, Shapiro, Shalaby, Physical Therapy of NY, Kataeva, Cityworks PT,
    Park, All About Chiropractic, J Park Chiropractic, Choi, Choice Acupuncture, Choi-Go
    Acupuncture, Dr. Moshe, Citimedical I, Moshe, Dynamic Surgery, HealthPlus Surgery,
                  and Alon Concerning Patients Treated at 204-12 Hillside)

         385.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 and Paragraphs 378

  through 384 above.

         386.    Defendants knowingly agreed and conspired to conduct and/or participate, directly

  or indirectly, in the conduct of the 204-12 Hillside Fraudulent Treatment Enterprise’s affairs

  through a pattern of racketeering activity consisting of repeated violations of the federal mail fraud

  statute, 18 U.S.C. § 1341, based upon the use of the United States mail to submit to State Farm

  Mutual, State Farm Fire, and other insurers bills and supporting documentation that are fraudulent

  because the records reflect: (a) patients were legitimately examined to determine the true nature

  and extent of their injuries, when they were not; (b) each patient’s condition was related to an

  automobile accident and no other contributing factors, when no such conclusion was legitimately

  reached; (c) the examinations, treatment, MRIs, Supplies, and tests were performed, provided, and

  medically necessary, when they in fact were not medically necessary; and (d) the examinations,



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  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services were reimbursable, when, in fact, they were not reimbursable, including because they

  were the result of unlawful kickbacks and “pay to play” arrangements, services were rendered

  through independent contractors rather than employees, providers did not comply with licensing

  laws regarding the hiring of and supervision by medical directors, and providers did not comply

  with licensing laws because of secret ownership and control by laypersons, including but not

  limited to, all bills and supporting documentation submitted to State Farm Mutual and State Farm

  Fire for claims referenced in Exhibits 1, 9, 17, 18B, and 22.

         387.    Each Defendant knew of, agreed to, and acted in furtherance of the common and

  overall objectives of the conspiracy by facilitating the submission of bills and supporting

  documentation that are fraudulent for examinations, treatment, MRIs, Supplies, tests, and pain

  management and orthopedic procedures and related services, which were medically unnecessary

  and/or not reimbursable, to State Farm Mutual, State Farm Fire, and other insurers.

         388.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $850,000 based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(d) for compensatory damages, together with treble

  damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), plus interest, and

  any other relief the Court deems just and proper.




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                             ELEVENTH CLAIM FOR RELIEF
                                  COMMON LAW FRAUD
  (Against Metro Pain, Shapiro, Barakat, Barakat PT, Elmandouh, Protection PT, Akl, and
      Primavera PT, Caruso, Brook Chiropractic, Integrated Chiropractic, Albis, PDA
  Chiropractic, Castillo, Edcas Acupuncture, Kopach, First Alternative Acupuncture, Alon,
  Columbus Imaging, Medaid Radiology, Moshe, Dynamic Surgery, and HealthPlus Surgery
                        Concerning Patients Treated at 717 Southern)

         389.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         390.    Defendants, acting in concert and with a common purpose or plan, intentionally

  and knowingly made false and fraudulent statements of material fact to State Farm Mutual and

  State Farm Fire by submitting or causing to be submitted bills and supporting documentation that

  contained false representations of material fact concerning patients treated at 717 Southern.

         391.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 10, 17, 18D, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.




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         392.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         393.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         394.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $1.37 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                             TWELFTH CLAIM FOR RELIEF
                             AIDING AND ABETTING FRAUD
  (Against Metro Pain, Shapiro, Barakat, Barakat PT, Elmandouh, Protection PT, Akl, and
      Primavera PT, Caruso, Brook Chiropractic, Integrated Chiropractic, Albis, PDA
  Chiropractic, Castillo, Edcas Acupuncture, Kopach, First Alternative Acupuncture, Alon,
  Columbus Imaging, Medaid Radiology, Moshe, Dynamic Surgery, and HealthPlus Surgery
                        Concerning Patients Treated at 717 Southern)

         395.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         396.    Defendants conspired, agreed to, and acted in concert to defraud State Farm Mutual

  and State Farm Fire, and did defraud State Farm Mutual and State Farm Fire, through the

  submission of false and fraudulent statements of material fact to State Farm Mutual and State Farm

  Fire as described above in the Eleventh Claim for Relief.

         397.    Defendants substantially assisted in defrauding State Farm Mutual and State Farm

  Fire. Defendants submitted or caused to be submitted bills and supporting documentation that




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  contained false and fraudulent misrepresentations of material fact to State Farm Mutual and State

  Farm Fire.

         398.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 10, 17, 18D, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.

         399.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         400.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         401.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $1.37 million.




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         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                            THIRTEENTH CLAIM FOR RELIEF
                                  UNJUST ENRICHMENT
  (Against Metro Pain, Shapiro, Barakat, Barakat PT, Elmandouh, Protection PT, Akl, and
      Primavera PT, Caruso, Brook Chiropractic, Integrated Chiropractic, Albis, PDA
  Chiropractic, Castillo, Edcas Acupuncture, Kopach, First Alternative Acupuncture, Alon,
  Columbus Imaging, Medaid Radiology, Moshe, Dynamic Surgery, and HealthPlus Surgery
                        Concerning Patients Treated at 717 Southern)

         402.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         403.    State Farm Mutual and State Farm Fire conferred a benefit upon the Defendants by

  paying Defendants’ claims for services purportedly provided to patients treated at 717 Southern,

  and these Defendants voluntarily accepted and retained the benefit of those payments.

         404.    Because the Defendants knowingly billed for or received money for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable, the circumstances are such

  that it would be inequitable to allow them to retain the benefit of the monies paid.

         405.    As a direct and proximate result of the above-described conduct of Defendants,

  State Farm Mutual and State Farm Fire have been damaged and Defendants have been enriched

  by more than $1.37 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against the

  Defendants for compensatory damages, plus interest and costs, and for such other relief as the

  Court deems equitable, just, and proper.




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                           FOURTEENTH CLAIM FOR RELIEF
                          RICO VIOLATION OF 18 U.S.C. § 1962(c)
  (Against Metro Pain, Shapiro, Barakat, Barakat PT, Elmandouh, Protection PT, Akl, and
      Primavera PT, Caruso, Brook Chiropractic, Integrated Chiropractic, Albis, PDA
  Chiropractic, Castillo, Edcas Acupuncture, Kopach, First Alternative Acupuncture, Alon,
  Columbus Imaging, Medaid Radiology, Moshe, Dynamic Surgery, and HealthPlus Surgery
                        Concerning Patients Treated at 717 Southern)

         406.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         407.    Defendants constitute an association-in-fact “enterprise” (the “717 Southern

  Fraudulent Treatment Enterprise”) as that term is defined in 18 U.S.C. § 1961(4), that engages in,

  and the activities of which affect, interstate commerce. The members of the 717 Southern

  Fraudulent Treatment Enterprise are and have been joined in a common purpose, namely to

  defraud State Farm Mutual, State Farm Fire, and other insurance companies by submitting, and

  causing to be submitted, bills and supporting documentation that are fraudulent for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable for patients treated at 717

  Southern.

         408.    Although different members have performed different roles at different times, they

  operated as a continuing unit with each member fulfilling a specific and necessary role to carry

  out and facilitate its common purpose — to defraud State Farm Mutual and State Farm Fire through

  fraudulent insurance claims — with sufficient longevity to accomplish that common purpose.

  Specifically, Metro Pain and Shapiro, together with others, acquired control of 717 Southern where

  patients could be treated, entered into financial arrangements with providers pursuant to which

  they would provide services to patients, purported to perform initial examinations and diagnostic

  tests as a pretext to justify unnecessary treatment and services, and concluded patients require

  treatment plans consisting of a combination of purported physical therapy, chiropractic care, and


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  acupuncture, as well as other services which could be rendered by Metro Pain and providers with

  whom Metro Pain had financial arrangements, including MRIs, Supplies, tests, pain management

  and orthopedic procedures, and ASC services rendered in connection with Metro Pain procedures.

  Alon provides Metro Pain and other Defendants with access to patients through the Beshert

  “network.” Barakat, Barakat PT, Elmandouh, Protection PT, Akl, and Primavera PT purported to

  perform and bill for physical therapy and other services rendered to patients treated at 717 Southern

  not because it was necessary, but pursuant to financial arrangements with Metro Pain and others.

  Caruso, Brook Chiropractic, Integrated Chiropractic, Albis, and PDA Chiropractic, purported to

  provide and bill for chiropractic care rendered to patients treated at 717 Southern not because it

  was necessary, but pursuant to financial arrangements with Metro Pain and others. Castillo, Edcas

  Acupuncture, Kopach, and First Alternative Acupuncture purported to provide and bill for

  acupuncture treatment rendered to patients treated at 717 Southern not because it was necessary,

  but pursuant to financial arrangements with Metro Pain and others. Alon, Columbus Imaging, and

  Medaid Radiology purported to provide and bill for MRIs rendered to patients treated at 717

  Southern not because they were necessary, but pursuant to financial arrangements with Metro Pain

  and others. Moshe, Dynamic Surgery, and HealthPlus Surgery purported to provide and bill for

  services associated with Metro Pain procedures rendered to patients treated at 717 Southern not

  because they were necessary, but pursuant to financial arrangements with Metro Pain and others.

         409.    Each Defendant’s participation and role was necessary to the success of the scheme.

  No one Defendant was capable of carrying out the scheme without the participation of the other

  Defendants. The Defendants have acted with sufficient longevity to achieve their common goal

  of defrauding State Farm Mutual and State Farm Fire through fraudulent insurance claims.




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         410.    Each Defendant is or has been employed by and associated with the 717 Southern

  Fraudulent Treatment Enterprise.

         411.    Defendants have knowingly conducted and/or participated, directly or indirectly, in

  the conduct of the 717 Southern Fraudulent Treatment Enterprise’s affairs through a pattern of

  racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

  § 1341, based upon the use of United States mails to submit to State Farm Mutual and State Farm

  Fire bills and supporting documentation that are fraudulent because the records reflect: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons, including but not limited to, all bills and

  supporting documentation submitted to State Farm Mutual and State Farm Fire for claims

  referenced in Exhibits 1, 10, 17, 18D, and 22.

         412.    As part of the scheme, Defendants have sought and continue to seek to collect on

  the fraudulent insurance claims submitted to State Farm Mutual, State Farm Fire, and other

  insurance companies.




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         413.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $1.37 million based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(c) for compensatory damages, together with treble

  damages, costs and reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), plus interest, and

  any other relief the Court deems just and proper.

                             FIFTEENTH CLAIM FOR RELIEF
                RICO CONSPIRACY VIOLATION OF 18 U.S.C. § 1962(d)
  (Against Metro Pain, Shapiro, Barakat, Barakat PT, Elmandouh, Protection PT, Akl, and
      Primavera PT, Caruso, Brook Chiropractic, Integrated Chiropractic, Albis, PDA
  Chiropractic, Castillo, Edcas Acupuncture, Kopach, First Alternative Acupuncture, Alon,
  Columbus Imaging, Medaid Radiology, Moshe, Dynamic Surgery, and HealthPlus Surgery
                        Concerning Patients Treated at 717 Southern)

         414.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 and Paragraphs 407

  through 413 above.

         415.    Defendants knowingly agreed and conspired to conduct and/or participate, directly

  or indirectly, in the conduct of the 717 Southern Fraudulent Treatment Enterprise’s affairs through

  a pattern of racketeering activity consisting of repeated violations of the federal mail fraud statute,

  18 U.S.C. § 1341, based upon the use of the United States mail to submit to State Farm Mutual,

  State Farm Fire, and other insurers bills and supporting documentation that are fraudulent because

  the records reflect: (a) patients were legitimately examined to determine the true nature and extent

  of their injuries, when they were not; (b) each patient’s condition was related to an automobile

  accident and no other contributing factors, when no such conclusion was legitimately reached; (c)

  the examinations, treatment, MRIs, Supplies, and tests were performed, provided, and medically

  necessary, when they in fact were not medically necessary; and (d) the examinations, treatment,


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  MRIs, Supplies, tests, and pain management and orthopedic procedures and related services were

  reimbursable, when, in fact, they were not reimbursable, including because they were the result of

  unlawful kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons, including but not limited to, all bills and

  supporting documentation submitted to State Farm Mutual and State Farm Fire for claims

  referenced in Exhibits 1, 10, 17, 18D, and 22.

         416.    Each Defendant knew of, agreed to, and acted in furtherance of the common and

  overall objectives of the conspiracy by facilitating the submission of bills and supporting

  documentation that are fraudulent for examinations, treatment, MRIs, Supplies, tests, and pain

  management and orthopedic procedures and related services, which were medically unnecessary

  and/or not reimbursable, to State Farm Mutual, State Farm Fire, and other insurers.

         417.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $1.37 million based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(d) for compensatory damages, together with treble

  damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), plus interest, and

  any other relief the Court deems just and proper.




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                           SIXTEENTH CLAIM FOR RELIEF
                                 COMMON LAW FRAUD
    (Against Metro Pain, Shapiro, Elmansy, Sky Limit PT, Cushman, PI PT, Paller, Floral
   Park PT, Patel, AM Patel PT, Scarborough, AOT Chiropractic, Evolution Chiropractic,
      Ma, Hidden Dragon Acupuncture, Guan, Rebound Acupuncture, Alon, Columbus
  Imaging, Medaid Radiology, Moshe, Dynamic Surgery, HealthPlus Surgery, Nazarov, and
        Right Aid Medical Supply Concerning Patients Treated at 2451 E. Tremont)

         418.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         419.    Defendants, acting in concert and with a common purpose or plan, intentionally

  and knowingly made false and fraudulent statements of material fact to State Farm Mutual and

  State Farm Fire by submitting or causing to be submitted bills and supporting documentation that

  contained false representations of material fact concerning patients treated at 2451 E. Tremont.

         420.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 11, 17, 18C, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.




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         421.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         422.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         423.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $1.38 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                          SEVENTEENTH CLAIM FOR RELIEF
                            AIDING AND ABETTING FRAUD
    (Against Metro Pain, Shapiro, Elmansy, Sky Limit PT, Cushman, PI PT, Paller, Floral
   Park PT, Patel, AM Patel PT, Scarborough, AOT Chiropractic, Evolution Chiropractic,
      Ma, Hidden Dragon Acupuncture, Guan, Rebound Acupuncture, Alon, Columbus
  Imaging, Medaid Radiology, Moshe, Dynamic Surgery, HealthPlus Surgery, Nazarov, and
        Right Aid Medical Supply Concerning Patients Treated at 2451 E. Tremont)

         424.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         425.    Defendants conspired, agreed to, and acted in concert to defraud State Farm Mutual

  and State Farm Fire, and did defraud State Farm Mutual and State Farm Fire, through the

  submission of false and fraudulent statements of material fact to State Farm Mutual and State Farm

  Fire as described above in the Sixteenth Claim for Relief.

         426.    Defendants substantially assisted in defrauding State Farm Mutual and State Farm

  Fire. Defendants submitted or caused to be submitted bills and supporting documentation that




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  contained false and fraudulent misrepresentations of material fact to State Farm Mutual and State

  Farm Fire.

         427.    The false statements of material fact include the representations in each and every

  claim described in the charts attached hereto as Exhibits 1, 11, 17, 18C, and 22 that: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons.

         428.    Defendants knew the above-described misrepresentations made to State Farm

  Mutual and State Farm Fire relating to the purported examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were false and

  fraudulent when they were made.

         429.    Defendants made the above-described misrepresentations and engaged in such

  conduct to induce State Farm Mutual and State Farm Fire into relying on the misrepresentations.

         430.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $1.38 million.




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         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for compensatory damages, costs, and other such relief as this Court deems equitable,

  just, and proper.

                          EIGHTEENTH CLAIM FOR RELIEF
                                 UNJUST ENRICHMENT
    (Against Metro Pain, Shapiro, Elmansy, Sky Limit PT, Cushman, PI PT, Paller, Floral
   Park PT, Patel, AM Patel PT, Scarborough, AOT Chiropractic, Evolution Chiropractic,
      Ma, Hidden Dragon Acupuncture, Guan, Rebound Acupuncture, Alon, Columbus
  Imaging, Medaid Radiology, Moshe, Dynamic Surgery, HealthPlus Surgery, Nazarov, and
        Right Aid Medical Supply Concerning Patients Treated at 2451 E. Tremont)

         431.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         432.    State Farm Mutual and State Farm Fire conferred a benefit upon the Defendants by

  paying Defendants’ claims for services purportedly provided to patients treated at 2451 E.

  Tremont, and these Defendants voluntarily accepted and retained the benefit of those payments.

         433.    Because the Defendants knowingly billed for or received money for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable, the circumstances are such

  that it would be inequitable to allow them to retain the benefit of the monies paid.

         434.    As a direct and proximate result of the above-described conduct of Defendants,

  State Farm Mutual and State Farm Fire have been damaged and Defendants have been enriched

  by more than $1.38 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against the

  Defendants for compensatory damages, plus interest and costs, and for such other relief as the

  Court deems equitable, just, and proper.




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                           NINETEENTH CLAIM FOR RELIEF
                         RICO VIOLATION OF 18 U.S.C. § 1962(c)
    (Against Metro Pain, Shapiro, Elmansy, Sky Limit PT, Cushman, PI PT, Paller, Floral
   Park PT, Patel, AM Patel PT, Scarborough, AOT Chiropractic, Evolution Chiropractic,
      Ma, Hidden Dragon Acupuncture, Guan, Rebound Acupuncture, Alon, Columbus
  Imaging, Medaid Radiology, Moshe, Dynamic Surgery, HealthPlus Surgery, Nazarov, and
        Right Aid Medical Supply Concerning Patients Treated at 2451 E. Tremont)

         435.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         436.    Defendants constitute an association-in-fact “enterprise” (the “2451 E. Tremont

  Fraudulent Treatment Enterprise”) as that term is defined in 18 U.S.C. § 1961(4), that engages in,

  and the activities of which affect, interstate commerce. The members of the 2451 E. Tremont

  Fraudulent Treatment Enterprise are and have been joined in a common purpose, namely to

  defraud State Farm Mutual, State Farm Fire, and other insurance companies by submitting, and

  causing to be submitted, bills and supporting documentation that are fraudulent for examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services that were not medically necessary and/or not reimbursable for patients treated at 2451 E.

  Tremont.

         437.    Although different members have performed different roles at different times, they

  operated as a continuing unit with each member fulfilling a specific and necessary role to carry

  out and facilitate its common purpose — to defraud State Farm Mutual and State Farm Fire through

  fraudulent insurance claims — with sufficient longevity to accomplish that common purpose.

  Specifically, Metro Pain and Shapiro, together with others, acquired control of 2451 E. Tremont

  where patients could be treated, entered into financial arrangements with providers pursuant to

  which they would provide services to patients, purported to perform initial examinations and

  diagnostic tests as a pretext to justify unnecessary treatment and services, and concluded patients

  require treatment plans consisting of a combination of purported physical therapy, chiropractic


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  care, and acupuncture, as well as other services which could be rendered by Metro Pain and

  providers with whom Metro Pain had financial arrangements, including MRIs, Supplies, tests, pain

  management and orthopedic procedures, and ASC services rendered in connection with Metro

  Pain procedures. Alon provides Metro Pain and other Defendants with access to patients through

  the Beshert “network.” Elmansy, Sky Limit PT, Cushman, PI PT, Paller, Floral Park PT, Patel,

  and AM Patel PT purported to perform and bill for physical therapy and other services rendered

  to patients treated at 2451 E. Tremont not because it was necessary, but pursuant to financial

  arrangements with Metro Pain and others. Scarborough, AOT Chiropractic, and Evolution

  Chiropractic purported to provide and bill for chiropractic care rendered to patients treated at 2451

  E. Tremont not because it was necessary, but pursuant to financial arrangements with Metro Pain

  and others. Ma, Hidden Dragon Acupuncture, Guan, and Rebound Acupuncture purported to

  provide and bill for acupuncture treatment rendered to patients treated at 2451 E. Tremont not

  because it was necessary, but pursuant to financial arrangements with Metro Pain and others. Alon,

  Columbus Imaging, and Medaid Radiology purported to provide and bill for MRIs rendered to

  patients treated at 2451 E. Tremont not because they were necessary, but pursuant to financial

  arrangements with Metro Pain and others. Moshe, Dynamic Surgery, and HealthPlus Surgery

  purported to provide and bill for services associated with Metro Pain procedures rendered to

  patients treated at 2451 E. Tremont not because they were necessary, but pursuant to financial

  arrangements with Metro Pain and others. Nazarov and Right Aid Medical Supply purported to

  provide and bill for Supplies ordered by Metro Pain for patients treated at 2451 E. Tremont not

  because they were necessary, but pursuant to financial arrangements with Mero Pain and others.

         438.    Each Defendant’s participation and role was necessary to the success of the scheme.

  No one Defendant was capable of carrying out the scheme without the participation of the other




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  Defendants. The Defendants have acted with sufficient longevity to achieve their common goal

  of defrauding State Farm Mutual and State Farm Fire through fraudulent insurance claims.

         439.    Each Defendant is or has been employed by and associated with the 2451 E.

  Tremont Fraudulent Treatment Enterprise.

         440.    Defendants have knowingly conducted and/or participated, directly or indirectly, in

  the conduct of the 2451 E. Tremont Fraudulent Treatment Enterprise’s affairs through a pattern of

  racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

  § 1341, based upon the use of United States mails to submit to State Farm Mutual and State Farm

  Fire bills and supporting documentation that are fraudulent because the records reflect: (a) patients

  were legitimately examined to determine the true nature and extent of their injuries, when they

  were not; (b) each patient’s condition was related to an automobile accident and no other

  contributing factors, when no such conclusion was legitimately reached; (c) the examinations,

  treatment, MRIs, Supplies, and tests were performed, provided, and medically necessary, when

  they in fact were not medically necessary; and (d) the examinations, treatment, MRIs, Supplies,

  tests, and pain management and orthopedic procedures and related services were reimbursable,

  when, in fact, they were not reimbursable, including because they were the result of unlawful

  kickbacks and “pay to play” arrangements, services were rendered through independent

  contractors rather than employees, providers did not comply with licensing laws regarding the

  hiring of and supervision by medical directors, and providers did not comply with licensing laws

  because of secret ownership and control by laypersons, including but not limited to, all bills and

  supporting documentation submitted to State Farm Mutual and State Farm Fire for claims

  referenced in Exhibits 1, 11, 17, 18C, and 22.




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         441.    As part of the scheme, Defendants have sought and continue to seek to collect on

  the fraudulent insurance claims submitted to State Farm Mutual, State Farm Fire, and other

  insurance companies.

         442.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $1.38 million based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(c) for compensatory damages, together with treble

  damages, costs and reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c), plus interest, and

  any other relief the Court deems just and proper.

                           TWENTIETH CLAIM FOR RELIEF
                RICO CONSPIRACY VIOLATION OF 18 U.S.C. § 1962(d)
    (Against Metro Pain, Shapiro, Elmansy, Sky Limit PT, Cushman, PI PT, Paller, Floral
   Park PT, Patel, AM Patel PT, Scarborough, AOT Chiropractic, Evolution Chiropractic,
      Ma, Hidden Dragon Acupuncture, Guan, Rebound Acupuncture, Alon, Columbus
  Imaging, Medaid Radiology, Moshe, Dynamic Surgery, HealthPlus Surgery, Nazarov, and
        Right Aid Medical Supply Concerning Patients Treated at 2451 E. Tremont)

         443.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 and Paragraphs 436

  through 442 above.

         444.    Defendants knowingly agreed and conspired to conduct and/or participate, directly

  or indirectly, in the conduct of the 2451 E. Tremont Fraudulent Treatment Enterprise’s affairs

  through a pattern of racketeering activity consisting of repeated violations of the federal mail fraud

  statute, 18 U.S.C. § 1341, based upon the use of the United States mail to submit to State Farm

  Mutual, State Farm Fire, and other insurers bills and supporting documentation that are fraudulent

  because the records reflect: (a) patients were legitimately examined to determine the true nature

  and extent of their injuries, when they were not; (b) each patient’s condition was related to an


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  automobile accident and no other contributing factors, when no such conclusion was legitimately

  reached; (c) the examinations, treatment, MRIs, Supplies, and tests were performed, provided, and

  medically necessary, when they in fact were not medically necessary; and (d) the examinations,

  treatment, MRIs, Supplies, tests, and pain management and orthopedic procedures and related

  services were reimbursable, when, in fact, they were not reimbursable, including because they

  were the result of unlawful kickbacks and “pay to play” arrangements, services were rendered

  through independent contractors rather than employees, providers did not comply with licensing

  laws regarding the hiring of and supervision by medical directors, and providers did not comply

  with licensing laws because of secret ownership and control by laypersons, including but not

  limited to, all bills and supporting documentation submitted to State Farm Mutual and State Farm

  Fire for claims referenced in Exhibits 1, 11, 17, 18C, and 22.

         445.    Each Defendant knew of, agreed to, and acted in furtherance of the common and

  overall objectives of the conspiracy by facilitating the submission of bills and supporting

  documentation that are fraudulent for examinations, treatment, MRIs, Supplies, tests, and pain

  management and orthopedic procedures and related services, which were medically unnecessary

  and/or not reimbursable, to State Farm Mutual, State Farm Fire, and other insurers.

         446.    State Farm Mutual and State Farm Fire have been injured in their business and

  property by reason of Defendants’ above-described conduct in that they collectively have paid

  more than $1.38 million based upon the fraudulent charges.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against

  Defendants for violations of 18 U.S.C. § 1962(d) for compensatory damages, together with treble

  damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), plus interest, and

  any other relief the Court deems just and proper.




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                           TWENTY-FIRST CLAIM FOR RELIEF
                                 COMMON LAW FRAUD
              (Against Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro)

          447.   State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

          448.   Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro, acting in concert and

  with a common purpose or plan, intentionally and knowingly made false and fraudulent statements

  of material fact to State Farm Mutual and State Farm Fire by submitting or causing to be submitted

  bills and supporting documentation that contained false representations of material fact concerning

  patients treated at Dynamic Surgery and HealthPlus Surgery while Shapiro served as medical

  director.

          449.   The false statements of material fact include the representations in each and every

  claim Dynamic Surgery and HealthPlus Surgery submitted while Shapiro served as medical

  director that the services rendered in conjunction with procedures performed there were

  reimbursable, when, in fact, they were not reimbursable, including because Dynamic Surgery and

  HealthPlus Surgery did not comply with licensing laws regarding the hiring of and supervision by

  medical directors and because Shapiro did not execute the duties of medical director.

          450.   Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro knew the

  above-described misrepresentations made to State Farm Mutual and State Farm Fire relating to

  purported services rendered by Dynamic Surgery and HealthPlus Surgery were false and

  fraudulent when they were made.

          451.   Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro made the

  above-described misrepresentations and engaged in such conduct to induce State Farm Mutual and

  State Farm Fire into relying on the misrepresentations.




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            452.   As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $4.74 million.

            WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against Moshe,

  Dynamic Surgery, HealthPlus Surgery, and Shapiro for compensatory damages, costs, and other

  such relief as this Court deems equitable, just, and proper.

                          TWENTY- SECOND CLAIM FOR RELIEF
                               AIDING AND ABETTING FRAUD
               (Against Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro)

            453.   State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

            454.   Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro conspired, agreed to,

  and acted in concert to defraud State Farm Mutual and State Farm Fire, and did defraud State Farm

  Mutual and State Farm Fire, through the submission of false and fraudulent statements of material

  fact to State Farm Mutual and State Farm Fire as described above in the Twenty-First Claim for

  Relief.

            455.   Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro substantially assisted

  in defrauding State Farm Mutual and State Farm Fire. Defendants submitted or caused to be

  submitted bills and supporting documentation that contained false and fraudulent

  misrepresentations of material fact to State Farm Mutual and State Farm Fire.

            456.   The false statements of material fact include the representations in each and every

  claim Dynamic Surgery and HealthPlus Surgery submitted while Shapiro served as medical

  director that services rendered in conjunction with procedures performed there were reimbursable,

  when, in fact, they were not reimbursable, including because Dynamic Surgery and HealthPlus

  Surgery did not comply with licensing laws regarding the hiring of and supervision by medical

  directors and because Shapiro did not execute the duties of medical director.


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         457.    Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro knew the

  above-described misrepresentations made to State Farm Mutual and State Farm Fire relating to

  purported services rendered by Dynamic Surgery and HealthPlus Surgery were false and

  fraudulent when they were made.

         458.    Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro made the

  above-described misrepresentations and engaged in such conduct to induce State Farm Mutual and

  State Farm Fire into relying on the misrepresentations.

         459.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $4.74 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against Moshe,

  Dynamic Surgery, HealthPlus Surgery, and Shapiro for compensatory damages, costs, and other

  such relief as this Court deems equitable, just, and proper.

                         TWENTY-THIRD CLAIM FOR RELIEF
                                UNJUST ENRICHMENT
           (Against Moshe, Dynamic Surgery, and HealthPlus Surgery, and Shapiro)

         460.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         461.    State Farm Mutual and State Farm Fire conferred a benefit upon Moshe, Dynamic

  Surgery, HealthPlus Surgery, and Shapiro by paying Dynamic Surgery’s and HealthPlus Surgery’s

  claims for services purportedly provided to patients while Shapiro served as medical director, and

  these Defendants voluntarily accepted and retained the benefit of those payments.

         462.    Because Moshe, Dynamic Surgery, HealthPlus Surgery, and Shapiro knowingly

  billed for or received money for services that were not reimbursable, including because Dynamic

  Surgery and HealthPlus Surgery did not comply with licensing laws regarding the hiring of and

  supervision by medical directors and because Shapiro did not execute the duties of medical


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  director, the circumstances are such that it would be inequitable to allow them to retain the benefit

  of the monies paid.

         463.    As a direct and proximate result of the above-described conduct of Defendants,

  State Farm Mutual and State Farm Fire have been damaged and Defendants have been enriched

  by more than $4.74 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against Moshe,

  Dynamic Surgery, HealthPlus Surgery, and Shapiro for compensatory damages, plus interest and

  costs, and for such other relief as the Court deems equitable, just, and proper.

                           TWENTY-FOURTH CLAIM FOR RELIEF
                                    COMMON LAW FRAUD
                          (Against Moshe, Dr. Moshe, and Citimedical I)

         464.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         465.    Moshe, Dr. Moshe, and Citimedical I acting in concert and with a common purpose

  or plan, intentionally and knowingly made false and fraudulent statements of material fact to State

  Farm Mutual and State Farm Fire by submitting or causing to be submitted bills and supporting

  documentation that contained false representations of material fact concerning any and all

  treatment and services rendered to patients.

         466.    The false statements of material fact include the representations in each and every

  claim Citimedical I submitted to the State Farm Companies that the treatment and services were

  reimbursable, when, in fact, they were not reimbursable, including because Citimedical I did not

  comply with licensing laws prohibiting Moshe’s operation and control over the facility and its

  services.




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         467.    Moshe, Dr. Moshe, and Citimedical I knew the above-described misrepresentations

  made to State Farm Mutual and State Farm Fire relating to purported services rendered by

  Citimedical I were false and fraudulent when they were made.

         468.    Moshe, Dr. Moshe, and Citimedical I made the above-described misrepresentations

  and engaged in such conduct to induce State Farm Mutual and State Farm Fire into relying on the

  misrepresentations.

         469.    As a result of their justifiable reliance on Defendants’ misrepresentations, State

  Farm Mutual and State Farm Fire have incurred damages of at least $6.46 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against Moshe,

  Dr. Moshe, and Citimedical I for compensatory damages, costs, and other such relief as this Court

  deems equitable, just, and proper.

                            TWENTY-FIFTH CLAIM FOR RELIEF
                                    UNJUST ENRICHMENT
                          (Against Moshe, Dr. Moshe, and Citimedical I)

         470.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         471.    State Farm Mutual and State Farm Fire conferred a benefit upon Moshe, Dr. Moshe,

  and Citimedical I by paying Citimedical I’s claims for treatment and services purportedly provided

  to patients, and these Defendants voluntarily accepted and retained the benefit of those payments.

         472.    Because Moshe, Dr. Moshe, and Citimedical I knowingly billed for or received

  money for treatment and services that were not reimbursable, including because Citimedical I did

  not comply with licensing laws prohibiting Moshe’s operation and control over the corporation

  and its services, the circumstances are such that it would be inequitable to allow them to retain the

  benefit of the monies paid.




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         473.    As a direct and proximate result of the above-described conduct of Defendants,

  State Farm Mutual and State Farm Fire have been damaged and Defendants have been enriched

  by more than $6.46 million.

         WHEREFORE, State Farm Mutual and State Farm Fire demand judgment against Moshe,

  Dr. Moshe, and Citimedical I for compensatory damages, plus interest and costs, and for such other

  relief as the Court deems equitable, just, and proper.

                             TWENTY-SIXTH CLAIM FOR RELIEF
                                DECLARATORY JUDGMENT
                                  (Against All Defendants)

         474.    State Farm Mutual and State Farm Fire incorporate, adopt, and re-allege as though

  fully set forth herein, each and every allegation in Paragraphs 1 through 330 above.

         475.    This is an action for declaratory relief pursuant to 28 U.S.C. § 2201.

         476.    There is an actual case and controversy between State Farm Mutual and State Farm

  Fire, on the one hand, and Metro Pain, Shapiro, Hassan, Nile Rehab PT, Khallaf, Handy PT,

  Kataeva, Cityworks PT, Luna, Kings Chiropractic, Moon, SJM Acupuncture, Krupnova, LK

  Acupuncturist, Shalaby, Physical Therapy of NY, Park, All About Chiropractic, J Park

  Chiropractic, Choi, Choice Acupuncture, Choi-Go Acupuncture, Barakat, Barakat PT,

  Elmandouh, Protection PT, Akl, Primavera PT, Caruso, Brook Chiropractic, Integrated

  Chiropractic, Albis, PDA Chiropractic, Castillo, Edcas Acupuncture, Kopach, First Alternative

  Acupuncture, Elmansy, Sky Limit PT, Cushman, PI PT, Paller, Floral Park PT, Patel, AM Patel

  PT, Scarborough, AOT Chiropractic, Evolution Chiropractic, Ma, Hidden Dragon Acupuncture,

  Guan, Rebound Acupuncture, Dr. Moshe, Citimedical I, Alon, Columbus Imaging, Medaid

  Radiology, Moshe, Dynamic Surgery, HealthPlus Surgery, Nazarov, and Right Aid Medical

  Supply on the other hand, as to all charges for examinations, treatment, MRIs, Supplies, tests, and

  pain management and orthopedic procedures and related services that have not been paid to date


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  and through the pendency of this litigation. State Farm Mutual and State Farm Fire contend these

  Defendants are not entitled to reimbursement for any of these charges.

         477.    Because these Defendants have made false and fraudulent statements and otherwise

  engaged in the above-described fraudulent conduct with the intent to conceal and misrepresent

  material facts and circumstances regarding each claim submitted to State Farm Mutual and State

  Farm Fire, these Defendants are not entitled to any coverage for No-Fault Benefits for any of the

  claims at issue.

         WHEREFORE, State Farm Mutual and State Farm Fire respectfully request a judgment

  declaring Metro Pain, Shapiro, Hassan, Nile Rehab PT, Khallaf, Handy PT, Kataeva, Cityworks

  PT, Luna, Kings Chiropractic, Moon, SJM Acupuncture, Krupnova, LK Acupuncturist, Shalaby,

  Physical Therapy of NY, Park, All About Chiropractic, J Park Chiropractic, Choi, Choice

  Acupuncture, Choi-Go Acupuncture, Barakat, Barakat PT, Elmandouh, Protection PT, Akl,

  Primavera PT, Caruso, Brook Chiropractic, Integrated Chiropractic, Albis, PDA Chiropractic,

  Castillo, Edcas Acupuncture, Kopach, First Alternative Acupuncture, Elmansy, Sky Limit PT,

  Cushman, PI PT, Paller, Floral Park PT, Patel, AM Patel PT, Scarborough, AOT Chiropractic,

  Evolution Chiropractic, Ma, Hidden Dragon Acupuncture, Guan, Rebound Acupuncture,

  Dr. Moshe, Citimedical I, Alon, Columbus Imaging, Medaid Radiology, Moshe, Dynamic

  Surgery, HealthPlus Surgery, Nazarov, and Right Aid Medical Supply are not entitled to collect

  No-Fault Benefits for all charges for examinations, treatment, MRIs, Supplies, tests, and pain

  management and orthopedic procedures and related services that have not been paid to date and

  through the pendency of this litigation; and for supplementary relief, attorneys’ fees, interest, and

  costs as this Court deems equitable, just and proper.




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                                        JURY DEMAND

         Pursuant to Federal Rule of Civil Procedure 38(b), State Farm Mutual and State Farm Fire

  demand a trial by jury.

   Dated: October 5, 2021                        By: Jonathan L. Marks
                                                 Ross O. Silverman
                                                 Jonathan L. Marks
                                                 KATTEN MUCHIN ROSENMAN LLP
                                                 525 West Monroe Street
                                                 Chicago, Illinois 60661
                                                 Telephone: 312.902.5200
                                                 Facsimile: 312.902.1061
                                                 Email: ross.silverman@katten.com
                                                        jonathan.marks@katten.com

                                                 Christopher T. Cook
                                                 KATTEN MUCHIN ROSENMAN LLP
                                                 575 Madison Avenue
                                                 New York, NY 10022
                                                 Telephone: 212.940.8800
                                                 Email: christopher.cook@katten.com




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